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10
11                                  UNITED STATES DISTRICT COURT
12                                EASTERN DISTRICT OF CALIFORNIA

13
     THOMAS T. AOKI, M.D., an individual, and     Case No.: 2:11-cv-02797-TLN-CKD
14   AOKI DIABETES RESEARCH INSTIUTE,
     a California Non-Profit Corporation,         PLAINTIFFS’ [PROPOSED] STATEMENT OF
15                                                FACTS AND CONCLUSIONS OF LAW
          Plaintiffs
16                                                Trial Date: 03/25/2019
           vs.
17                                                Courtroom: 2, 15th Floor
     GREGORY FORD GILBERT, an individual;
18   et al.                                       Before United States District Judge Troy L. Nunley
19                 Defendants
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1
              Plaintiffs hereby submit their proposed Statement of Facts and Conclusions of Law:
2
     I.       SUMMARY OF THE CASE
3
              Plaintiffs sue Gregory Gilbert, the companies he controls (Trina Health, LLC, Trina Health of
4
     Newport Beach, and Bionica, Inc.) and the remaining defendants comprising various clinics allegedly
5
     licensed by Mr. Gilbert and the individual investors/owners/directors of such clinics. Plaintiffs assert
6
     against all defendants claims for patent and copyright infringement, false advertising and unfair
7
     business practices. Plaintiffs are also suing Mr. Gilbert for breach of fiduciary duty and breach of a
8
     confidential relationship based on claims he was both attorney for them and an officer, director or board
9
     member of various entities owned by Dr. Aoki, in which capacity he used confidential information
10
     received while in those positions to take positions adverse to his former clients or in violation of his
11
     duties to the entities that he purported to serve.
12
              Plaintiffs claim patent infringement based on Mr. Gilbert and his agents having stolen Dr.
13
     Aoki’s “pulsed insulin”1 diabetes treatment methods and having used them to set up over thirty clinics
14
     in the US alone, not including international clinics, each of which employs Dr. Aoki’s patented diabetes
15
     treatment. Plaintiffs also claim that Mr. Gilbert and the associated defendants have infringed on Dr.
16
     Aoki’s copyrighted slides describing the treatment as part of their marketing efforts. Finally, Gilbert is
17
     alleged to have lied to the diabetic public by claiming that he was either the inventor of the treatment he
18
     was offering, or a licensee of Dr. Aoki’s, and moreover by claiming that Medicare would pay for the
19
     treatment despite a 2009 Medicare ruling that it would not pay for the treatment.
20
              Mr. Gilbert offers the following as defenses: 1) he has license rights to the patented treatments;
21
     2) the patents are invalid; 3) he was in fact the inventor of the treatments; 4) the treatments that he and
22
     his entities are licensing to third parties are different than those patented by Dr. Aoki; and 5) the clinic
23
     defendants have unilaterally chosen the treatment methodologies being employed, and that any
24
25
              1
26              The record is replete with different names applied to the treatment. The Court has determined to use “pulsed
     insulin” as a generic descriptor for the treatment, unless the therapy name is legally significant for purposes of this decision.
27   Similarly, the Court has determined to adopt the following two versions to distinguish between Dr. Aoki’s treatment and that
     espoused by Mr. Gilbert and his related clinics, again unless the names being used in a precise time period are relevant to the
28   decision herein. So Dr. Aoki’s treatment will be referred to as “MAT®” and Mr. Gilbert’s claimed variation will be “APT.”

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1    infringement found as against them cannot be attributed to Mr. Gilbert and his entities.

2    II.    FINDINGS OF FACTS
3           A.      Mr. Gilbert’s Credibility
4           Conclusions about the underlying facts here often require the Court to choose between directly

5    opposing statements-either between Dr. Aoki and Mr. Gilbert, or between Mr. Gilbert and other

6    witnesses. The Court therefore opens its discussion of its finding of fact with its conclusion that, based

7    on his testimony and his representations and statements in his role as counsel, that Mr. Gilbert is not

8    credible in either capacity. Mr. Gilbert’s credibility is undermined by repeated statements he made during

9    trial that were contradicted by his own subsequent statements, his own prior statements (often within a

10   few minutes or hours of the statements that he is contradicting) or by witness testimony and other factors

11   that the Court finds more worthy of belief than Mr. Gilbert’s contradictory evidence. The Court has

12   therefore chosen to disregard Mr. Gilbert’s statements in favor of the contradictory testimony of either

13   Dr. Aoki or other witnesses as noted below. The Court provides the following partial list of the instances

14   in which it has concluded that Mr. Gilbert has failed to be honest in his representations with either this

15   Court, or in his testimony in prior actions.

16                  1.      Day 1- Refusal To Produce Financial Data
17          Plaintiffs’ MIL#3 sought to preclude Mr., Gilbert from introducing financial data due to his

18   refusal to produce it in discovery. He stated he didn’t produce financial documents because of concerns

19   about confidentiality and lack of a protective order. (Defs’ Reply to Plts’ MIL #3, ECF #365, ¶8.) He

20   stated to the Court that he had asked for a protective order and that it wasn’t granted. (P.34:4-6 [Gilbert,

21   Vol.1].) During the hearing, the Court reviewed the docket, and determined that in fact, a stipulated

22   protective order was in the Court’s records. (ECF #266 [Pr. Order]; ECF #261 [Min. Order].)

23          Mindful of the legal standard that “innocent mis-recollection is common,” the Court did not

24   immediately decide the issue of Mr. Gilbert’s credibility, but cites it here as only the first of a long string

25   of evidence supporting the Court’s ultimate conclusion that Mr. Gilbert was neither a credible witness or

26   a counsel observant of the strictures of Rule 11.

27          The issue of Mr. Gilbert’s failure to produce financial data continued to surface as the trial

28   continued. Mr. Gilbert continued to be evasive about financial data. He was questioned about report of
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1    a $250K franchise fee paid by a licensed Trina Health clinic, the North Sunflower Medical Hospital in

2    Mississippi. While he acknowledged that Trina Health “got money to help open this clinic” he claimed

3    not to know how much. (P.2189:10-25; P.2190:1-15 [Gilbert, Vol.13]. Mr. Gilbert also claimed that no

4    more than $5,000 in royalties total were ever received, presumably for all the 33 or so clinics that he ever

5    opened, which the Court does not find credible. (P.2203:1-24 [Gilbert, Vol.13].) Mr. Gilbert also claimed

6    not to know the aggregate amount of chair fees that Trina Health ever received from licensing the 33 or

7    more clinics that he admitted to having licensed. (P.2204:16-19 [Gilbert, Vol.13].)

8           He also refused to produce the bookkeeping records that would reflect such payments. His

9    reasons vacillated from “I don’t have them,” to refusing to check for such records, to “I’m not willing to

10   produce them at this late date” to “they’re not relevant.” (P. 2201:15-25; P. 2202:1-13 [Gilbert, Vol.13].)

11          The Court also notes the $10,355 discovery sanctions order issued against Mr. Gilbert where the

12   Magistrate Judge hearing discovery disputes found Mr. Gilbert’s failure to produce documents and

13   comply with discovery orders to be “unacceptable, and the court finds his excuses disingenuous.” (ECF

14   #271, lns. 5-6.) The order also states Mr. Gilbert’s excuses regarding an email relating to discovery issues

15   to be a “false representation to the court.” (ECF # 271, lns. 15-20.)

16                  2.      Denial Of His Connection With Clinics
17                          a.      The Trina Health Prospectus
18          The Court also finds that Mr. Gilbert’s testimony regarding who drafted the Trina Health

19   prospectus document not to be credible. Mr. Gilbert represented “we don’t have anything to do with

20   investors.” (P.690:12-14 [Gilbert, Vol.5].) However, Mr. Matt Kalifeh, an investor, testified that Mr.

21   Gilbert informed him he was the one who wrote the investor prospectus for investment in a Trina Health

22   clinic in Alabama. (P.791:7-9; P.841:15-23 [Kalifeh, Vol.5]; P.Exh.112 [Trina Prospectus, P4592-

23   4633].) There were in fact investors since Mr. Kalifeh invested $343,420.00 in a Trina Health clinic.

24   (P.Exh.112 [Kalifeh Affidavit], Bates P4490]; P.776:15-25; P.777:1-16 [Kalifeh, Vol.5].)

25          Mr. Gilbert represented he is “not listed as a manager in the Trina Health Partners, LLC, operating

26   agreement” and that “no entity that [he] know[s] of or associated with [him] has any ownership in the

27   Alabama clinics or any of their companies.” (P.1617:5-7, 14-17 [Gilbert, Vol.9].) However, the very

28   investor prospectus that he drafted states “[b]ecause Trina Health, LLC will remain a minor partner of
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1    the company, G. Ford Gilbert, the manager of Trina Health Care Partners, LLC will advise the

2    manager(s).” (P.Exh.112 [Trina Prospectus, Bates P4622].) Additionally, Mr. Gilbert subsequently

3    testified that he would approach investors or vice versa. (P.2046:14-18 [Gilbert, Vol. 12].)

4                           b.      Trina Health West Los Angeles
5           Mr. Gilbert claimed Trina Health West Los Angeles “is not part of Trina,” that it is an

6    “independent company” and that websites pertaining to Trina Health West Los Angeles was “absolutely

7    irrelevant” to the case. (P.1482:22-25 [Gilbert, Vol.9].) Later, Mr. Gilbert acknowledged Trina Health

8    West LA was a licensed Trina clinic. (P.1876:16-25; P. 1877:1-6; P.1921:18-24 [Gilbert, Vol.11].)

9                           c.      Www.diabetes.net
10          There was extensive testimony about www.Diabetes.net, a web site on which many of the clinics

11   licensed by Trina posted their site’s text. At trial, Mr. Gilbert repeatedly tried to claim that he was not

12   the owner or registrant for www.diabetes.net. (P.1455:8-10 [Gilbert, Vol.9]; P.1918:11-12; P.1925:17-

13   18 [Gilbert, Vol.11].) However, Mr. Gilbert previously told Dr. Aoki that he owned www.diabetes.net

14   and that he even told Dr. Aoki that he paid about $10K or $15K for the website. (P.1455:18-19;

15   P.1575:24-25; P.1576:1-4 [Aoki, Vol.9].) Mr. Arcangeli also testified that Mr. Gilbert informed him he

16   registered www.diabetes.net and that he paid money to register it. (P.1656:18-21; P.1657:1-6; P.1668:24-

17   25; P.1669:1-3 [Arcangeli, Vol.10].)

18          When reminded about his answers during his deposition, Mr. Gilbert quickly stated he “registered

19   it” but didn’t “register it for myself” and that he “registered for Biophile.” (P.1918:13-16 [Gilbert,

20   Vol.11].) When confronted with his deposition answers given on October 30, 2017 in response to the

21   question as to whether he owned www.diabetes.net, he acknowledged he had previously testified he was

22   the registrant for diabetes.net, without making the above referenced distinction, that www.diabetes.net

23   was his website, that he is the original registrant and has been the original registrant since its inception.

24   (P.1920: 4-16; P.1927:20-25; P.1928:1-25; P.1929:1-5 [Gilbert, Vol.11].)

25          He also acknowledged he has had the right for a long time now to control what goes on

26   www.diabetes.net. (P.1920:17-20 [Gilbert, Vol.11].) Additionally, in the 2015 Trina Prospectus which

27   Mr. Gilbert wrote, it states that “[e]ach clinic will have its own web site, and will also rely upon

28   diabetes.net for much of the marketing of APT. The website, www.Diabetes.net will help educate the
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1    public, including medical professionals and prospective patients, on the benefits of APT.” (P.791:7-9;

2    P.841:15-23 [Kalifeh, Vol.5]; P.Exh.112 [Trina Prospectus, Bates P4611].) Mr. Gilbert acknowledged

3    he allowed people to put content on diabetes.net and knew about it. (P.1929:18-21 [Gilbert, Vol. 11].)

4           The Court finds Mr. Gilbert’s testimony about www.diabetes.net disingenuous at best, and

5    directly dishonest at worst. This is particularly true given the fact that Mr. Gilbert, in his then-role as

6    counsel for Defendants, participated in several arguments about whether various clinic websites taken

7    from www.diabetes.net should be received in evidence as showing the overall advertising and control

8    scheme described above. In this context, the Court concludes that Mr. Gilbert was not being honest with

9    the Court as to the provenance or purpose of the various clinic sites appearing on www.diabetes.net.

10                  3.      Mr. Gilbert’s Relationship With Dr. Aoki / ADRI
11                          a.     Mr. Gilbert’s Testimony Re Confidentiality Agreement
12          Mr. Gilbert denied that he had entered into a confidentiality agreement when he started with Dr.

13   Aoki, stating that none of Dr. Aoki’s:

14        “[T]reatments were accompanied by confidentiality agreements, that Dr. Aoki and the ADRI and
          I were all relying on the ‘810 patents during the pre-RQ patent period to cover what we were
15
          doing. So there was never a concern about following-on patents during the time from the ‘810
16        patent until the RQ patents because we thought we were covered by the ‘810 patent. So at that
          time there were no confidentiality agreements. And when the publications that we’re going to
17        be talking about here came out, they were publications without confidentiality claims. So there
          was no claim that these patent activities that were being done before the RQ patents were
18        somehow confidential.” (P.2337:11-22 [Gilbert, Vol.14].)
19
     Yet, when confronted with exh. 245, he had to admit that he himself had drafted and signed a confidential
20
     agreement acknowledging any inventions, improvements, et. al. relating to research, development or
21
     other activities of Dr. Aoki made or conceived by him while working with Dr. Aoki belonged to Dr.
22
23   Aoki. (P.Exh.245 [Confid. Agreement]; P.2726:1-22; P.2727:1-6 [Aoki/Gilbert Vol.17].)

24
                            b.     Mr. Gilbert’s Role As Dr. Aoki / ADRI’s Attorney
25          While Mr. Gilbert acknowledges he was lawyer for ADRI, Mr. Gilbert testified he was never Dr.
26   Aoki’s counsel. (P.1784:16-18 [Gilbert, Vol.10]; ECF 192 [Answer, p. 6, para 44).) He testified “I did
27   not believe I ever – in my life I did never believe that I was his lawyer . . . I was always the lawyer for
28
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1    either the ADRI or the company.” (P.2074:14-17 [Gilbert, Vol.12].) Yet the documentary evidence

2    reflects otherwise. In fact, in 2003, Mr. Gilbert wrote an email acknowledging that Dr. Aoki “has

3    personally been my client for many, many years.” (P.Exh.61 [Gilbert Email].) Mr. Gilbert has written

4    on “Law Offices of Gregory F. Gilbert” letterhead that he has acted as counsel for “Aoki in connection

5    with the transactions contemplated by the [AMSys] Agreement.”              (P.Exh.25 [Gilbert Letter To

6    Purchasers].) In the AMSys Corporation Closing Memorandum, Mr. Gilbert represented himself to be

7    Dr. Aoki’s attorney. (P.Exh.26 [AMSys First and Second Closing Memo].)

8                   4.      License Related Mis-Statements

9           Mr. Gilbert makes several claims on behalf himself and Defendants w/regards to license rights

10   arising from the Nevada litigation which are belied by the evidence. Those contradictions and the

11   relevant factual chronology are further developed below but summarized here: (i) Mr. Gilbert’s claim

12   that the Diabetex settlement resulted in technology rights being transferred to him even though he

13   testified otherwise in the Nevada action; (ii) claiming he paid the $150K monies in satisfaction of the

14   Diabetex settlement even though he previously acknowledged it came entirely from an investor, Phil

15   Gurian; (iii) claiming he was not a party at the time of the Nevada rulings which found Dr. Aoki was

16   the owner of the technology and gave no license rights to Bionica; and (iv) claiming the appeal of the

17   Nevada preliminary injunction was dismissed due to inaction when in reality it was dismissed by the

18   appeals court for a lack of standing. (See infra II.D.2 [Discussing Diabetex settlement]; P.1634:21-25:

19   P.1635:1-2 [Gilbert, Vol.9] [Stating he paid some of the settlement monies]; P.Exh.63 [Nevada

20   Transcript, P.39-41, P.115-116]; P.Exh.46 [Gilbert email] [testifying / stating that monies came from

21   Gurian]; see also P.223:17-20 [Aoki, Vol.2]; P.1799:13-25; P.1800:1-15 [Gilbert, Vol.10] [Adopting

22   that Gurian paid the settlement monies]; P.2211:12-14; P.2233:19-25; P.2235:3-11; P.2238:5-11

23   [Gilbert, Vol.13] [Claiming Gilbert and Bionica not parties]; see infra II.F. and III.B. [Res Judicata];

24   P.2101:24-25; P.2102:1-6 [Gilbert, Vol.12]; P.2164:1-10; P.2244 [Gilbert, Vol.13] [Claiming Nevada

25   court preliminary injunction ruling was dismissed due to “nonaction by us” or that it encompassed the

26   Cross-Complaint and Nevada Court’s OSC Order]; P.Exh.238 [8-26-05 Nev. Supreme Ct. Order

27   Dismissing Appeal]; P.2164-2167 [Vol.13].)

28
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                    5.      Mr. Gilbert Testified He Had No Role In Dr. Aoki’s RQ Patent Applications
1                           But He Previously Testified He Worked On Every One Of Aoki’s Patents
2           Mr. Gilbert disclaimed any role in the filing of Dr. Aoki’s patent applications. Specifically, he

3    testified he never saw any of the initial filed patent applications. (P.1732:20-25; P.1733:6-8 [Gilbert,

4    Vol.10].) Mr. Gilbert also testified “he really wasn’t involved in the actual patenting process [of Dr.

5    Aoki’s RQ patents].” (P. 2457:14-16; P.2458:10-14 [Gilbert, Vol.14].) However, in 2004, Mr. Gilbert

6    testified under oath in the Nevada case that he allegedly provided the legal work to help Dr. Aoki write

7    these very same patent applications. (P.Exh.63 [Nevada Transcript, p.52:17-22; p.106:11-12].) In fact,

8    Mr. Gilbert testified that he "worked on every patent [Dr. Aoki has] ever had," even suggesting that he

9    had done patent litigation on behalf of Dr. Aoki and written some of those patents completely by himself.

10   (Id. at p.13:22-14:1; p.52:17-22.) At yet another point during his 2004 testimony, Mr. Gilbert very clearly

11   claimed to have done "all the patent work" as the attorney for Dr. Aoki and ADRI. (Id. at p.106:11-12.)

12                  6.      Mr. Gilbert’s Testimony That The APT Treatment Doesn’t Return to
                            Baseline Is Contradicted By His Own Patent Application Declaration
13
            Mr. Gilbert testified APT does not involve waiting for the patient’s insulin level to drop back to
14
     the baseline where it was before the treatment started. (P.2063:18-23 [Gilbert, Vol.12]; P.3060:19-20
15
     [Gilbert, Vol.18].) Yet Mr. Gilbert’s statements made under oath in his February 1, 2019 patent
16
     application distinguishing his APT treatment from Dr. Aoki’s patented methods suggest he does allow
17
     insulin to return to baseline (thereby contravening medical science, as discussed below):
18
     •   ¶20: “It is my opinion that this ‘453 application hormone stimulation boluses sized and timed to
19
         allow blood hormone levels to more or less return to baseline blood levels is significantly different
20       than the Aoki hormone stimulation bolus sequence sized and timed to establish hormone levels
         of a gradually increasing baseline during some sequence of bolus injections.
21
     •   ¶25: “To the best of my knowledge, a therapeutic goal of a rising insulin baseline is not widely
22       accepted as desirable by knowledgeable practitioners, and in fact raises a risk of a reasonable chance
23       of hypoglycemia in the patient.”

24   (P.Exh.239 [Gilbert Patent App, see also ¶¶21 and 23]; P.2224:15-19; P.2225:15-18 [Gilbert, Vol.13].)
25   In other words, Mr. Gilbert does claim that with APT, in contrast to MAT®, interpeak free insulin
26   concentration or insulin concentration returns to baseline between pulses or bursts.(P.1440:19-21;
27   P.1445:7-11; P.1446:24-25; P.1447:1-2 [Aoki, Vol.9]; P.Exh.239 [Gilbert Patent Decl., ¶20-22, 25].) But
28   if insulin pulses are given between 5 or more milliunits per kg body wt, it is physiologically imposs. for
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1    the insulin levels to return to baseline within 6 minutes. (P.1444:13-21; P.1518:17-20 [Aoki, Vol.9].) It

2    is physiologically impossible due to insulin’s half-life, i.e. insulin can only fall to its half-life within that

3    interval of time instead of returning to baseline. (P.3028:3-25; P.3029:1-7; P.3030:5-15 [Aoki, Vol.18].)

4                    7.      Mr. Gilbert’s Claim Of No Rest Period For APT Is Contradicted By The
                             Evidence
5
             Mr. Gilbert testified “[w]e don’t teach that they have to do a rest period.” (P.2342:25; P.2343:1
6
     [Gilbert, Vol. 14].) While as Mr. Gilbert acknowledged, not all the RQ patents require a rest period (i.e.
7
     see P.Exh.7 [‘191 Patent–Eye and Nerve System]), his contention that “APT” treatment doesn’t include
8
     a rest period is contradicted by multiple evidence, including the Arizona manual, the Florida protocol and
9
     witness testimonies (i.e. Natalie Pereyra, Rebecca Shaffer), all of whom or which, testified to or discusses
10
     the existence of a rest period. (P.Exh.203 [Arizona Manual, Bates P3313]; P.992:1-14 [Pereyra, Vol.6];
11
     P.Exh.228 [Florida Protocol, Bates P5-5771]; P.2542:2-4; P.2562:1-3 [Shaffer, Vol.16.].)
12
             Even the APT article authored by Mr. Gilbert states that during the treatment, patients stay in the
13
     treatment area and “continues to read, watch TV, type, compute, telephone or engaged in any other
14
     passive activity,” thereby suggesting the existence of a rest period. (P.Exh.103 [APT Article, Bates
15
     P1105].) Similarly, the prospectus Mr. Gilbert authored confirms the existence of a rest period for APT:
16
     “[T]the patient sits in a recliner chair for 3 one-hour infusions and 15 to 45 minutes of rest period between
17
     them of approximately 20minutes [sic]. . .” (P.Exh.112 [Trina Prospectus, Bates P4597].)
18
                     8.      Mr. Gilbert Deliberately Failed To Disclose The Existence Of The CI-
19                           Bionica License
20           As discussed below, infra III.B (Res Judicata), Mr. Gilbert was specifically asked in a deposition

21   approximately four months after he entered into the CI-Bionica license as to whether he or Bionica were

22   involved in any other business activities related to the delivery of diabetes treatment and he disavowed

23   any and omitted mentioning at all the existence of the CI-Bionica license, which at the time was unknown

24   to Dr. Aoki. (P.2215:15-24;P.2216:1-6; P.2219:18-24[Gilbert, Vol.13.]; P.Exh.72 [Aoki Dinucci Letter].)

25                   9.      APT Trademark
26           During trial, Mr. Gilbert perpetually attempted to disclaim any connection with various website

27   documents, even where the documents contained the APT logo with the “man” symbol that he

28   trademarked. Mr. Gilbert testified that the APT description had to be accompanied by the “little man”
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1    logo. (P.1947:1-4 [Gilbert, Vol.11].) Later, when he was questioned regarding other documents

2    containing the APT sign with the “man logo,” he testified that well, it also had to have a “zero R” on it.

3    As the Court acknowledged, “[T]he bar kind of keeps on moving. Earlier you never said that.”

4    (P.1950:22-25; P.1951:1-17 [Court, Vol.11].)

5                      10.      Artificial Pancreas “System” Vs. “Treatment”
6           In connection with his testimony regarding the website for Health Innovations, Inc.2, Mr. Gilbert

7    claims “we can prove this isn’t us because it says ‘artificial pancreas system’ instead of ‘treatment.’”

8    (P.1952: 22-24 [Gilbert, Vol.11].) And yet, in the APT article Mr. Gilbert wrote, he states the terms

9    are synonymous: “Artificial Pancreas System® and Artificial Pancreas Treatment® are based on many

10   clinical trials and human treatments, using several names including PIVIT, Metabolic Treatment,

11   CIIIT, etc.” (P.Exh.103 [APT Article, Bates P1104].) In the video interview of Mr. Gilbert by

12   Defendant Glenn Wilson, Mr. Gilbert is referred to as the founder of the “Artificial Pancreas System,”

13   which Mr. Gilbert adopts. (P.Exh.192 [Glenn Wilson Video, 0:20 time].) Ms. Pereyra, the nurse who

14   worked at the Trina Health of Miami clinic also testified Mr. Gilbert’s treatment is referred to as either

15   Artificial Pancreas “System” or “Treatment.” (P.1005:22-25 [Pereyra, Vol.6].)

16                     11.      Mr. Gilbert Is Not A Medical Doctor And Only Has a “Ph.D.” From An
                                Online Website
17
            In advertisements, Mr. Gilbert presents himself as a “doctor” and yet he has no medical degree.
18
     As Mr. Gilbert acknowledged, he has a “Ph.D.” from an “online university” which he obtained by
19
     “giv[ing] them my background, and I gave them a book that I wrote, and I did some writing and they
20
     awarded me a Ph.D. in health sciences in 2014” and that “it’s not like a Ph.D. that you go in and you go
21
     to classes all the time for.” (P.2672:6-25; P.2673:1-3 [Gilbert, Vol.16]; P.Exh.201 “Video, ‘Dr. G. Ford
22
     Gilbert on Diabetes.’”) In sum, Mr. Gilbert’s “Ph.D.” doesn’t emanate from attendance at a rigorous
23
     multi-year university program with dissertation defense as generally understood by the public but from
24
     an online outfit.       Additionally, when confronted about his LinkedIn profile listing his purported
25
     credentials, Mr. Gilbert claimed he “never used LinkedIn.” (P.2111:24 [Gilbert, Vol.12].).
26
27
            2
28              Health Innovations was the name for the Hayward clinic and is a dismissed defendant in this case.

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                    12.     Mr. Gilbert Has Pled Guilty To A Crime Of Moral Turpitude
1
            Finally, Mr. Gilbert has admitted guilty to a crime of moral turpitude, i.e. felony offense of
2
     conspiracy to bribe members of the Alabama legislature. (P.2000:11-15 [Gilbert, Vol.12].) While the
3
     Court and the parties have carefully not inquired as to the facts involved in that plea, the Court was very
4
     careful to inquire of Mr. Gilbert at every resumption of the trial whether that matter had affected his
5
     license to practice law. The Court’s conclusion was that Mr. Gilbert “hasn’t been very forthcoming with
6
     this Court.” (P.7:24-25 [Court, Vol.1].)
7
            B.      Aoki Diabetes Education, Training And Research Prior To ‘810 And RQ Patents
8
            Dr. Aoki attended U.C. Berkeley and was granted early admission to Yale Medical School, where
9
     he received his medical degree. Thereafter, he did post-graduate training at Yale New Haven Hospital.
10
     He took two years off from 1966 to 1968 to go to Japan to study the residual effects of the atomic bomb
11
     explosion in Hiroshima and Nagasaki, which prompted his interest in endocrinology, and specifically
12
     diabetes. (P.Ex.9 [Aoki resume]; P.81:6-23 [Aoki, Vol.1].) He developed an insulin assay to measure
13
     the insulin production of the Japanese diabetic, thinking that perhaps they would be similar to the
14
     diabetics in New Haven. (P.82:18-21 [Aoki, Vol.1].) However, he noticed that the insulin produced by
15
     the pancreas of the Japanese diabetic patient did not rise after a meal to a peak within one hour and fall
16
     off. Instead, the insulin level gradually rose and peaked at two hours and sometimes even later. As a
17
     result, he began to associate the fact that this fast rise within one hour was key to controlling the blood
18
     glucose level. (P.84:24-25; P.85:1-5 [Aoki, Vol.1].) Then as now, glucose control, as fostered by the
19
     NIH and American Diabetes Association, is thought to be a preeminent factor in determining whether or
20
     not a diabetic will live a long and healthy life with or without complications. (P.83:7-14 [Aoki, Vol.1].)
21
            In 1969, Dr. Aoki was invited to join the world-famous Joslin Diabetes Center by George Cahill,
22
     Harvard Professor of Medicine and Joslin’s Director, where he studied starvation metabolism and
23
     researched body tissues (i.e. liver, pancreas, kidneys, et al.) to understand what happens when a person
24
     is starving. (P.85:10-14; P.87:16-25; P.88:6-7, 22-25; P.89:1-3 [Aoki, Vol.1].). As a result, he discovered
25
     that the liver was the key to the process of metabolism. (P.89:3-4 [Aoki, Vol.1].) Around this time, Dr.
26
     Aoki started to question why at a world-famous place like the Joslin, diabetic patients with glucose control
27
     (i.e. tight control) still experienced complications. (P.90:21-25; P.91:1-11 [Aoki, Vol.1].) So around
28
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1    1975 when Dr. Aoki was starting to look into diabetes, he started with the glucose tolerance test in which

2    glucose levels are measured after one, two, and three hours after the ingestion of glucose for non-diabetics

3    vs. diabetics. (P.92:19-25; P.93:9-15; P. 94:1-7 [Aoki, Vol.1].) He discovered that 60 to 80 % of the

4    insulin production from the pancreas during a glucose tolerance test ends up sticking to the liver. (P.98:3-

5    5 [Aoki, Vol.1].) That suggested to him that the liver was the target organ of both the GI tract (from

6    drinking of glucose) and the insulin being produced by the pancreas. This was something nobody had

7    ever suggested to him and he began looking at old papers to figure out what the normal liver was doing

8    when all that glucose was coming in. (P.98:6-12 [Aoki, Vol.1].) So, Dr. Aoki came to realize that the

9    high concentrations of insulin and glucose together provided a unique signal to the liver, specifically liver

10   cells called hepatocytes. (P.98:14-21 [Aoki, Vol.1].)

11          At that time, the state-of-the-art treatment was and still is, subcutaneous insulin injections. People

12   were afraid of giving intravenous insulin because of the danger of hypoglycemia. (P.104:18-25 [Aoki,

13   Vol.1].). However, in 1978, Dr. Aoki got an artificial pancreas machine, the Biostator, which could safely

14   give insulin intravenously by constantly monitoring the glucose level and could automatically stop giving

15   insulin and start giving glucose to avoid hypoglycemia. (P.107:1-3, 24-25; P.108:2-12 [Aoki, Vol.1];

16   P.2872:17-21 [Aoki, Vol.18].) In 1978, Dr. Aoki spoke with the inventor of the machine, Tom Clemens

17   and explained his novel and unique concept of giving large amounts of insulin intravenously for days

18   with the primary purpose not of controlling the blood glucose level but to biochemically turn on the liver

19   cells. (P.108:20-25; P.109:1-13 [Aoki, Vol.1].)

20          In 1982, Dr. Aoki published the Foss paper in Diabetes, a four-day study on using an (unmodified)

21   Biostator to give square waves of insulin (as opposed to pulses of insulin) in response to any rise in

22   glucose levels. This paper documented for the first time that you could turn the liver back on. The

23   question was whether there was a faster and more efficient way of doing this. The Biostator, which could

24   only give square waves of insulin, took four days to turn on the liver. (P.116:15-17; P.130:8-10 [Aoki,

25   Vol.1]; P.2936:13-16, P.2940:10-13 [Aoki, Vol.18]; P.2923:21-23; P.2924:21-25; P.2934:3-23;

26   P.2936:11-22; P.2937:5-6: [Aoki, Vol.18].) This gave birth to the ‘810 patent. At the time, he had no

27   data that his idea would work, that it could be done more quickly. The whole goal was to improve glucose

28   control. At this point, Dr. Aoki was still focusing on glucose control. (P.117:24-25; P.118:1-6 [Aoki,
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1    Vol.1]; P.2938:13-25; P.2939:1-7 [Aoki, Vol.18].) After all, studies have shown in Type 1 and 2 diabetics

2    that good glucose control slows the progression of retinopathy, neuropathy, et al . . as compared to no

3    control. (P.118:6-10 [Aoki, Vol.1]; P.3052:6-25; P.3053:1-5 [Aoki, Vol.18].)

4           To further test his hypothesis regarding the liver, Dr. Aoki submitted proposals for NIH funding

5    grants but was told his idea was so off the wall that nobody on the study section had any experience to

6    guide them as to fund his proposal or not. (P.105:12-15; P.106:12-15 [Aoki, Vol.1].) Unsuccessful in

7    getting NIH funding, he turned to a company called American Hospital Supply (“AHS”) that was then

8    looking for potential commercial deals at Joslin and AHS became interested in his idea. (P.120:5-22

9    [Aoki, Vol.1].) However, AHS suggested he first get a patent. So on Joslin’s dime, he was referred to

10   patent attorneys at Fish & Richardson. They started writing the ‘810 patent in 1982, it was filed in 1983

11   and then issued in 1989. (P.121:8-16 [Aoki, Vol.1].) At the time he approached Fish & Richardson, Dr.

12   Aoki had not settled on a fixed method of awakening the liver and was still experimenting. (P.121:17-21

13   [Aoki, Vol.1].) In fact, one of his next experiments was using a modified Biostator which AHS created

14   that allowed him to experiment for the first time with giving actual pulses of insulin and to measure

15   resulting blood insulin. (P.2939:1-19; P.2940:1-2; P.2943:7-10 [Aoki, Vol.18].) This was to show it was

16   possible to give pulses of insulin in people. (P.2941:5-20; P.2953:22-25 [Aoki, Vol.18].)

17          Over the next ten+ years until the RQ patents were provisionally applied for beginning in 2000,

18   Dr. Aoki focused his research on turning the liver back on (i.e. cause the liver cells to make the necessary

19   enzymes so that the diabetic patient’s liver could correctly process incoming dietary glucose). But he

20   needed a simple, safe and noninvasive way (not liver biopsies) to document that the liver had indeed been

21   beneficially affected and could now oxidize (or “burn”) carbohydrate. (P.152:1-22 [Aoki, Vol.1].) A

22   basic biochemical fact is that when the liver cell burns glucose, it will release carbon dioxide and utilize

23   oxygen. (P.153:10-12 [Aoki, Vol.1]). As a result, he conceived of the idea of measuring the production

24   of CO2 to O2 consumed before and after exposing diabetic patients to his procedure. An increase in the

25   ratio of CO2 produced to O2 consumed (i.e. “RQ”) would indicate that the diabetic patients’ liver cells

26   were 1) taking up the ingested glucose and 2) “burning” or oxidizing it. (P.153:13-24 [Aoki, Vol.1].)

27          As of the 1990s, Dr. Aoki was still experimenting with use of the RQ and had not reduced it to an

28   actual treatment methodology as his focus was on improving glucose control and documenting liver
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1    function. He had not settled on the final adjustments for how often he was going to measure things like

2    RQ and how to modify the treatment if he was looking for other physiological results outside of glucose

3    control. (P.158:9-19 [Aoki, Vol.1].) However, toward the late 1990s, he noticed glucose control

4    worsened in some of his treated patients and yet some of their complications, i.e. eyes and kidney, did

5    not. (P.157:5-13 [Aoki, Vol.1].) As part of his continuing efforts to investigate this quizzical issue and

6    specifically after 1999, Dr. Aoki decided to do a baseline RQ and then aggressively and rapidly increase,

7    by increasing the size of the insulin pulses, the RQ response so that within an hour the RQ had exceeded

8    .9 and remained elevated at one, two and three hours of the procedure to insure that the metabolic milieus

9    of the new target tissues (i.e. eye, kidney) were also biochemically enhanced like that of the liver. He also

10   increased the frequency of treatment days from once a week to 2–3 times/week as appropriate. (P.165-

11   166 [Aoki, Vol.1].) And he began looking specifically to see if the complications were responding to

12   these changes, i.e. was the kidney more stable than before in response to this more aggressive

13   implementation of a different protocol, and they were. (P.166:20-25 [Aoki, Vol.1].) Unlike the original

14   ‘810 patent, the higher insulin and glucose doses reflected in the RQ patents recognize these higher doses

15   are needed to treat diabetic complications, i.e. retinopathy, et al. (P.3004:13-23 [Aoki, Vol.18].)

16          C.      Dr. Aoki Goes To UC Davis
17          In 1983 Dr. Aoki was recruited to UC Davis by UC Davis’ Chief of Medicine, Dr. Joseph Silva.

18   (P.127:16-25; P.128:1-4 [Aoki, Vol.1].) In 1984, Dr. Aoki moved to Sacramento to become Chief of the

19   Division of Endocrinology and Professor of Medicine at UC Davis. (P.128:11-12 [Aoki, Vol.1].)

20          On or around 1999, a grievance action commenced over the university requiring Dr. Aoki to do

21   more clinical work than research. (P.712:9-14; P.746:11-14; P. 751:11-12 [Aoki, Vol.5].) In connection

22   with this grievance action, on around June 1999, Dr. Aoki received a letter from Fred Meyers, chair of

23   the Department of Internal Medicine confirming that when he worked at ADRI, he was doing so as a

24   volunteer and not as an employee of the UC. (P.713:13-16 [Aoki, Vol.5]; P.1607:15-19; P.1608:1-2

25   [Aoki, Vol.9].) As such, when Dr. Aoki received the letter, he realized that whatever he did at ADRI was

26   off-limits vis a vis the university. (P. 714:24-25; P.715:1-5 [Aoki, Vol.5].)

27          At that time, Dr. Aoki had not filed for the RQ patents, which happened in 2000. (P.1608:4-7

28   [Aoki, Vol.9].) Dr. Aoki is not aware that UC Davis ever took the position that they somehow had any
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1    rights to his RQ patents because he had concealed or failed to inform them about them pursuant to any

2    existing agreement. (P.1608:8-14 [Aoki, Vol.9].) In 2002, Dr. Aoki entered into a settlement agreement

3    with UC Davis. The agreement provides, in pertinent part that, “Aoki is entitled to conduct his research

4    at the Aoki Diabetes Research Institute (ADRI) and UCDHS without interference from the University so

5    long as such research is conducted consistent with applicable University policies, including those

6    addressing outside professional activity, conflict of commitment issues and/or compensation plan

7    contributions.” It further states it “is understood and agreed that any research conducted by Aoki at

8    ADRI is being done as a volunteer and such research is not affiliated with UC or UC Davis, or done

9    under Aoki’s official status as a University employee.” (P.Exh.58, ¶4 [Davis Settlement].)

10          D.      Confidentiality Agreement And Mr. Gilbert’s Work As Dr. Aoki /ADRI’s Attorney
11          As part of Dr. Aoki’s recruitment package to UC Davis, he was allowed to form the equivalent of

12   a “Joslin West,” i.e. a nonprofit to be set up by Dr. Aoki and presumably affiliated with the university

13   where he could continue his research. (P.147:9-14 [Aoki, Vol.1].) Dr. Aoki was referred to Mr. Gilbert

14   who had a diabetic daughter, to help him set up this Joslin West. (P.147:17-24 [Aoki, Vol.1].)

15   Subsequently, Dr. Aoki met with Mr. Gilbert and he ultimately agreed to set up the non-profit, Aoki

16   Diabetes Research Institute (“ADRI”) with the hope that Dr. Aoki’s treatment would benefit his daughter.

17   (P.148:1-25 [Aoki, Vol.1].) Thus, on January 1, 1986, ADRI was incorporated in California. (P.149:5-

18   7 [Aoki, Vol.1].) As part of his work with Dr. Aoki, Mr. Gilbert drafted and voluntarily executed on

19   February 3, 1986, a confidentiality agreement agreeing to assign any inventions/improvements, et al. to

20   Dr. Aoki made or conceived by him during the time that he worked with Dr. Aoki. (P.Exh.245

21   [Confidentiality Agreement, ¶¶1 and 2]; P.2726:1-22; P.2727:1-6 [Aoki/Gilbert Vol.17].)

22                  1.     AMSys / Advanced Metabolic Systems, Inc. / Connecticut Innovations
23          On or around 1987, AMSys was formed and invested $1 million in ADRI to continue research.

24   (P.Exh.21 [AMSys Art.]; P.177:16-22 [Aoki, Vol.1].) In return, Dr. Aoki licensed his technology to

25   AMSys, which at the time consisted of just the ‘810 patent. (P.Exh.24 [AMSys-Aoki License]; P.183:8-

26   9, 21-23 [Aoki, Vol.1].) By 1993, AMSys was running out of money but AMSys CEO Dick Sandberg

27   reported that there was an opportunity to receive $1 million to continue the research through Connecticut

28   Innovations (“CI”), a state agency that provides companies with start-up funds. (P.184:5-24 [Aoki,
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1    Vol.1].) As such, AMSys and CI entered into an agreement whereby AMSys received $1 million dollars

2    from CI, and if AMSys defaulted on the repayment, CI would receive a nonexclusive license and right to

3    sublicense the therapy, provided it had Dr. Aoki’s written consent.3 (P.Exh.30 [AMSys-CI License];

4    P.185:18-22; P.186:7-9 [Aoki, Vol.1].)

5             Mr. Gilbert was the lawyer Dr. Aoki worked with in connection with the AMSys-Aoki and

6    AMSys-CI licenses, and who reviewed and/or created these licenses. (P.202:1-25 [Aoki, Vol.2].) Dr.

7    Aoki understood Mr. Gilbert was working as an attorney for both Dr. Aoki and AMSys in connection

8    with the AMSys-Aoki and AMSys-CI transactions. (P.202:10-25 [Aoki, Vol.2].) Although Baker-

9    McKenzie prepared the AMSys-Aoki license, Mr. Gilbert reviewed the entirety of this license with Dr.

10   Aoki and then AMSys CEO, Joe Marin. (P.202:6-9; P.203:1-4 [Aoki, Vol.2].) Mr. Gilbert himself

11   prepared the AMSys-CI license. (P. 201:19-25; P. 202:1-5 [Aoki, Vol.2].)

12            In a 1987 letter to potential AMSys investors, Mr. Gilbert also represented on “Law Offices of

13   Gregory Gilbert” letterhead that he has “acted as counsel for AMSys, ADRI and Aoki in connection with

14   the transactions contemplated by the Agreement” and reviewed and relied upon various relevant legal

15   documents in connection therewith. (P.Exh.25 [Gilbert Letter, Bates P105-106].) In documents titled

16   “Closing Memorandum,” Mr. Gilbert also represented he was the lawyer for AMSys and Dr. Aoki.

17   (P.Exh.26 [AMSys Corp Closing Memo].)

18                     2.       AMTech – Diabetex
19            Subsequently, Mr. Gilbert identified another group of individuals who owned a corporation called

20   Diabetex interested in purchasing Dr. Aoki’s technology to commercialize it by setting up clinics and

21   collecting reimbursement from health insurance companies. Mr. Gilbert advised on the mechanism for

22   the sale of assets from AMSys to Diabetex via another created entity, AMTech. (P.207:1-25; P.208:4-

23   12; P. 209:1-11 [Aoki, Vol.2]; P.Exh.36 [Diabetex Agreement and Plan of Reorg].)

24            Diabetex then ran out of money to commercialize the therapy, had stopped providing the promised

25   funds for patents and research and thus was in breach of the agreement. (P.215:1-13; P.217:18-21 [Aoki,

26
             3 In 1992, the 1987 AMSys-Aoki license was clarified to separate out Asia from the license and modified to allow
27
     AMSys to offer a potential license to other entities, i.e. CI in the event of a default. (P.Exh.28 [Clarification License]; P.
28   200:12-25 [Aoki, Vol.2]; P.Exh.29 [Modification License]; P.201:12-22 [Aoki, Vol.2].)

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1    Vol.2].) Mr. Gilbert led the process of terminating Diabetex’s agreement. (P.218:2-4 [Aoki, Vol.2];

2    P.Exhs.40 [7-16-01 mtg mins]; 41 [8-08-01 mtg mins]; 43 [9-17-01 mtg mins].) Ultimately Diabetex

3    agreed to relinquish Dr. Aoki’s technology in exchange for return of Dr. Aoki’s and others’ shares of

4    Diabetex and $150K. (P.223:17-20 [Aoki, Vol.2].) Phil Gurian (not Gregory Gilbert) ultimately paid

5    the $150,000 that went to Diabetex to accomplish the settlement. (P.Exh.46 [Gilbert email]; P.Exh.63

6    [Nevada Evid. Hearing Transcript, p. 39-41; p. 115-116]; P.1368:20-24 [Aoki, Vol.8].)

7           On August 28, 2001, the return of Dr. Aoki’s technology was accomplished. (P.Exh.42 [Diabetex

8    Settlement].) Although the settlement agreement provides for the return of Dr. Aoki’s technology to Mr.

9    Gilbert, Dr. Aoki was informed by Mr. Gilbert, who was acting as his personal lawyer, that he was simply

10   acting as the agent for PAT, see infra discussion of PAT. (P. 228:17-25; P.229:1-2 [Aoki, Vol.2].)

11          On June 7, 2004, Mr. Gilbert testified in the Nevada action that after the Diabetex rights were

12   terminated, they came back to Dr. Aoki and that Dr. Aoki had “everything, not only the licenses rights,

13   he [also] had the control.” (P.2096:13-24; P.2097:13-25; P.2098-2100 [Gilbert, Vol.12]; P.Exh.63

14   [Nevada Transcript, p.39:1-10; p.76:13-24; p.77:1-15].)

15          The Court finds that Mr. Gilbert’s attempt to justify the ostensible transfer of the patent rights to

16   him as part of the Diabetex settlement not credible or legally defensible.

17                  3.      Pulse Activation Therapies (“PAT”) – Metabolic Industries (“MI”)
18          Meanwhile, on or around July 1, 2001, Pulse Activation Therapies (“PAT”) was also formed and

19   Dr. Aoki licensed his technology, which was in the process of being relinquished from Diabetex, to PAT.

20   (P.Exh.39 [Aoki-PAT license].)      PAT’s name was later changed to Metabolic Industries (“MI”).

21   (P.Exh.48 [10-01-01 mtg mins].) On September 22, 2001, consistent with the return of the rights back to

22   Dr. Aoki under the Diabetex settlement agreement, he licensed the technology to MI (f/k/a PAT).

23   (P.Exh.47 [Aoki-MI license].) This agreement is signed by Dr. Aoki individually and Mr. Gilbert as

24   president of MI, indicating that Mr. Gilbert acknowledged that the rights to the technology went back to

25   Dr. Aoki following the Diabetex settlement, which Dr. Aoki then directly licensed to MI. (Id.)

26          On March 29, 2002, MI (not Gilbert) entered into a management services agreement with a Florida

27   entity, Advanced Diabetes Treatment Centers of Florida (“ADTC”) for purposes of starting clinics and

28   developing locations for providing Dr. Aoki’s metabolic activation therapy. The agreement is signed by
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1    Mr. Gilbert on behalf of MI. (P.Exh.55 [MI-ADTC Agreement].) This again is another recognition by

2    Mr. Gilbert that he had no rights to Dr. Aoki’s technology after the Diabetex settlement.

3           On July 17, 2002, ADTC, Dr. Aoki and Hamilton-May (aka Bionica, Inc.) entered into an

4    agreement assuring ADTC that in the event MI couldn’t perform under its management service agreement

5    with ADTC, Dr. Aoki would continue to license his technology to ADTC. This agreement recites that

6    Dr. Aoki designed, developed and tested MAT® and that Dr. Aoki is the owner of all patent rights that

7    pertain to MAT®. (P.Exh.57 [ADTC-Aoki Agreement, Recitals ¶A and ¶B].) This agreement is signed

8    by Mr. Gilbert on behalf of Hamilton-May4.

9           On January 24, 2002, the Resolution of Advanced Metabolic Technologies, Inc. Debt Agreement

10   was executed by Mr. Gilbert as CEO of MI acknowledging MI is the “new licensee from Thomas T.

11   Aoki, M.D. of those patents and technology related to the procedure known as ‘Hepatic Activation,’

12   ‘Chronic Intermittent Intravenous Insulin Therapy,’ and ‘Pulsatile Intravenous Insulin’. . .” (P.Exh.52

13   [AMTech Resolution].) Thus, again, after the Diabetex settlement, Mr. Gilbert acknowledged Dr. Aoki

14   as the licensor/owner of the technology.

15          Up to the execution of the Diabetex settlement agreement, Dr. Aoki never discussed with Mr.

16   Gilbert nor did he have any discussions with any members of the board of directors of the then existing

17   entity, PAT, of Mr. Gilbert personally receiving any part of the intellectual property that Diabetex was

18   releasing. (P.226:5-17 [Aoki, Vol.2].) During the subsequent Nevada litigation (see discussion below),

19   Mr. Gilbert testified under oath that the rights to the technology following the Diabetex settlement went

20   back to Dr. Aoki and then to PAT (aka MI) thereafter. (P.Exh.63 [6-7-04 Nevada Transcript, p.39:1-6].)

21          E.        The Pump – Gilbert’s Use of Company Funds To Buy Bionica Australia – Gilbert’s
                      Termination From MI
22
            Originally, Dr. Aoki gave insulin pulses using a reverse-engineered Biostator, then he used the
23
     much simpler AccuPro pump combined with Epson computer, and thereafter the Bionica pump.
24
     (P.140:24-25; P.141:1-7 [Aoki, Vol.1].) The Bionica pump was discovered when Dr. Aoki sent Mr.
25
     Gilbert to a trade show in southern California and he met Vladimir Feingold, the then president and owner
26
27
            4
28              Mr. Gilbert is the CEO of Hamilton-May. (P.280:5-25 [Aoki, Vol.2].) Hamilton-May later became Bionica, Inc.

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1    of an Australian company called Bionica, who had invented an analgesia pump which intravenously

2    infuses painkilling meds. (P.142:1-10; P.143:10-11 [Aoki, Vol.1]; P.1651:14-16, 22-23 [Arcangeli,

3    Vol.10].) The pump was approved for analgesia use, but that certification was insufficient for infusing

4    insulin. (P.142:22-25; P.143:1-3; P.144:1-4 [Aoki, Vol.1].). Dr. Aoki then met with Feingold at UC

5    Davis and told him what he needed, which was to use the same programming as the AccuPro and Epson

6    computer device. (P.144:5-14 [Aoki, Vol.1].) Dr. Aoki along with Mr. Arcangeli gave Mr. Feingold

7    detailed information as to the specifications for the programming of the Bionica pump. Dr. Aoki

8    understood that the Australian Bionica pump could be reprogrammed as to both pulse, frequency and

9    dosage for his use. (P.145:8-16 [Aoki, Vol.1]; P.1652:3-9, 19-25; P.1653:1-4 [Arcangeli, Vol.10].)

10           Around 2001 or 2002, Dr. Aoki learned from Mr. Gilbert himself that he had used $100K of MI’s

11   money to buy Bionica Australia. (P.145:22-25 [Aoki, Vol.1]; P.198:20-22; P.237:5-14 [Aoki, Vol.2];

12   P.Exh.219 [$25K check].) Mr. Gilbert’s use of MI funds to buy Bionica, concerns about MI’s financial

13   condition esp. given Mr. Gilbert’s lack of forthcoming regarding MI’s financial information, along with

14   Mr. Gilbert’s grant of a sweetheart license to his friend, Kunz, were factors that led Dr. Aoki to request

15   that Mr. Gilbert resign from MI. (P.232:3-13; P.235:9-20; P.239:10-20; P.263:11-20 [Aoki, Vol.2].) On

16   10-28-02, Mr. Gilbert resigned from MI. (P.235:11-13 [Aoki, Vol.1]; P.893:20-21 [Aoki, Vol.5].)

17           F.       The 2003 Nevada Litigation
18           On August 4, 2003, Metabolic Treatment Centers (“MTC”) sued among others, Mr. Gilbert, Dr.

19   Aoki, and MI in Nevada state court alleging breach of a term sheet. (P.Exh.62 [MTC Complaint].) The

20   term sheet summarizes the terms for an investment in MI by MTC. (P.Exh.60 [Term Sheet].) On

21   March 16, 2004, MTC dismissed Mr. Gilbert and Bionica, Inc. from their lawsuit. On December 17,

22   2003, Dr. Aoki and MI answered, countered and cross-claimed, and sought a preliminary injunction.

23   (P.Exh.65 [Order Granting PI, p. 2:19-24].)

24           On December 30, 2003, in connection with the Nevada litigation, Mr. Gilbert stated in a

25   declaration5 that: “The clinics are all using the protocols which were first instituted by Dr. Aoki, and

26
27           5
               This declaration was filed in support of MTC’s Opposition to Aoki/MI’s Motion for Preliminary Injunction. See
28   docket numbers 280 and 278, Second Judicial District Court, Washoe County, State of Nevada, Case No. CV03-04790.

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1    have been used at the ADRI for many years. These protocols have been unchanged, and to a greater or

2    lesser extent followed at most other clinics. I know of no reason to change these long standing

3    protocols, and indeed they are being used by MTC.” Mr. Gilbert testified that this statement is still true

4    to this day. (P. 2153:10-17 [Gilbert, Vol.13].)

5            On June 07, 2004, Mr. Gilbert testified in support of MTC’s opposition to the Aoki/MI

6    preliminary injunction motion, at an evidentiary hearing. In his testimony, Mr. Gilbert admitted:

7            •      Rights to technology went back to Aoki (and then PAT) after Diabetex (p. 39)
8            •      That in 2001 Aoki gave the rights to the technology to PAT (or MI) (p. 46)
             •      That Aoki was the licensor of the license that went to MI (p. 77)
9            •      And that the $150K that went to resolve the Diabetex dispute came from an investor named
                    Phil Gurian (p. 40, 116)
10
     (All page references above correspond to P.Exh.63 [Nevada Transcript].)
11
             On September 20, 2004, the Nevada Court granted Dr. Aoki’s and MI’s motion for preliminary
12
     injunction and held the term sheet was not an enforceable contract and that: “Any agreements entered
13
     into by Dr. Aoki and/or MI prior to the May 11, 2003, Term Sheet (Exhibit 1) did not alienate Dr.
14
     Aoki’s control over the use and marketing of MAT, which he developed throughout his entire
15
     career.” (P.Exh.65 [Order Granting PI, p. 7:2-5 (bold emphasis added)].)
16
             On March 16, 2005, Dr. Aoki and MI filed a second-amended cross-complaint against Gilbert
17
     and Bionica, Inc. (f/k/a Hamilton-May). (P.Exh.67 [Cross-Complaint].) Both Bionica, Inc. and Mr.
18
     Gilbert were subsequently personally served. (P.Exhs.249-252.)6
19
             On February 7, 2005, Dr. Aoki and MI filed an Application for OSC.7 On June 22, 2005, the
20
     Court granted the Application and held: (1) “Aoki developed Metabolic Activation Therapy (‘MAT’);
21
     (2) Under no circumstances can anybody have a right to MAT other than Dr. Aoki, Metabolic
22
     Industries (‘MI’) or Metabolic Treatment Centers (‘MTC’)8; and (3)This Court has previously
23
24
             6
                On March 18, 2005, Bionica, Inc. was personally served with the cross-complaint. (P.Exh.252.) On May 10,
25   2005, the Nevada court ordered service by publication on Mr. Gilbert due to his “eluding service” and the process server
     “unable to serve [him] . . . after seventeen (17) attempts” at his residence in Orangevale, California. (P.Exh.251.) On May
26   18, 2005, Mr. Gilbert was personally sub-served with the second amended cross-complaint. (P.Exh.250.) On June 17, 2005,
     Mr. Gilbert was also personally served with the second amended cross-complaint. (P.Exh.249.)
27           7
                 Presumably the OSC was necessitated by defendants’ failure to abide by the preliminary injunction order.
28           8
                 Although not relevant to this dispute, it is surmised the Court allowed some MTC clinics to continue to operate
                                                            -19-
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1    determined that Bionica does not have any rights to MAT.” (P.Exh.69 [Order Granting OSC, P.2-3].)

2         On June 7, 2006, MI dismissed Mr. Gilbert and Hamilton-May Corporation (aka Bionica, Inc.)

3    from its cross-complaint. Dr. Aoki did not dismiss Mr. Gilbert or Hamilton-May. (D.Exh.F2 (Tab

4    32).) On August 4, 2009, the Nevada court issued a Judgment and Order adopting the findings of fact

5    and conclusions of law contained in its Order Granting Preliminary Injunction and incorporated it into

6    the Judgment. (P.Exh.76 [Nevada Judgment, ¶1].)

7            G.       CI - Bionica License
8                     1.       AMSys License And Modification License

9            On November 20, 1987, Dr. Aoki licensed his technology to AMSys. (P.Exh.24 [AMSys-Aoki

10   License].) On January 22, 1992, Dr. Aoki and AMSys entered into a “Clarification of License

11   Agreement.” The license clarified Asia was excluded from the definition of territory. (P.Exh.28

12   [Clarification License, p. 2, ¶4].) On January 22, 1992, Dr. Aoki and AMSys entered into a

13   “Modification of License Agreement” to allow AMSys to enter into a development agreement with

14   Connecticut Innovations, Inc. (“CI”). (P.Exh.29 [Modification License, p. 1, third whereas recital].)

15                    2.       AMSys-CI Development Agreement
16           On March 3, 1992, AMSys and CI entered into a “Development Agreement.” (P.Exh.30 [CI

17   Dev. Agreement].) The CI Development Agreement provided AMSys with what was essentially a $1

18   million loan secured by a royalty-free, non-exclusive worldwide license (excluding Asia) only in the

19   “Event of Default” under the agreement. (P.Exh.30 [CI Dev. Agreement, p. 8, Sec. 11].)

20                    3.       CI-Bionica Development Agreement
21           On February 23, 2005, CI and Bionica entered into a Development Purchase Agreement.

22   (P.Exh.66 [CI-Bionica License].) Dr. Aoki never received written notice from CI that they considered

23   AMSys to be in default of the AMSys-CI license nor did he ever receive notice that CI intended to issue

24   a license to Bionica. (P. 286:7-13 [Aoki, Vol.2].) On June 17, 2005, Mr. Gilbert was deposed in

25   connection with a lawsuit he filed against MI in Sac. Despite questioning regarding his or Bionica’s

26   activities in the “marketing, selling or soliciting the sales of diabetic treatment” he failed to disclose the

27

28   pending entry of a permanent injunction.

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1    existence of the CI-Bionica Development Agreement which he and Bionica had entered into just four

2    months earlier in February 2005. (P.2215:15-24; P.2216:1-6; P.2219:18-24 [Gilbert, Vol. 13.])

3                      4.   Aoki Termination Letter To CI
4           After learning for the first time of the CI-Bionica license, on 1-31-07, Dr. Aoki wrote to CI

5    about the invalidity of that agreement and his lack of consent to the transaction. (P.Exh.72 [Aoki

6    Dinucci Letter].) He expressed Mr. Gilbert had used confidential information acquired in his capacity

7    as an attorney and fiduciary to himself and ADRI in order to approach CI and enter into the agreement.

8    Dr. Aoki explained CI’s agreement with Gilbert was not a mere “sublicense” but a complete sale of any

9    rights, title and interest CI may have in the AMSys-CI Development Agreement and thus subject to the

10   limitations of the licensing rights set forth in the Modification and AMSys License. (P.Exh.24

11   [AMSys-Aoki License]; P.Exh.29 [Modification License]; P.Exh.72 [Aoki Dinucci Letter].) In CI’s

12   response, it did not challenge the veracity of these statements, and agreed the AMSys-CI license had

13   been terminated, and any further issues were between Gilbert and Dr. Aoki regarding the viability of

14   any license rights it had with respect to the AMSys transaction. (P.287:1-2; P.289:16-21; P.286-289

15   [Aoki, Vol.2].)

16                     5.   The CI-Bionica License Did Not Grant Defendants A License
17          Under the terms of the Modification License, Dr. Aoki was required to be promptly notified “of

18   any default under the [CI] Development Agreement.” (P.Exh.29 [Modification License, P. 2, ¶2].)

19   This was to allow Dr. Aoki an opportunity to work with AMSys to ensure that any default was cured.

20   No such notice was ever provided to Aoki. (P. 286:7-10 [Aoki, Vol.2].)

21          Even if there had been a properly noticed and uncured default resulting in CI acquiring a license

22   to Dr. Aoki’s technology, CI could never have transferred that license to Mr. Gilbert without Dr. Aoki’s

23   advance written consent, which consent Dr. Aoki never gave and never would have given. (P.Exh.24

24   [AMSys-Aoki License, ¶11.1]; P.Exh.72 [Aoki Dinucci Letter].)

25          Additionally, CI’s wholesale assignment of Dr. Aoki’s technology to Gilbert was prohibited by

26   the terms of the agreement. Neither the Modification License nor the CI Development Agreement

27   allow for the assignment of rights. (P.Exh.29 [Modification License]; P.Exh.30 [AMSys-CI License].)

28   The AMSys License specifically prohibits any assignment without Dr. Aoki’s written consent.
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1    (P.Exh.24 [AMSys-Aoki License, ¶11.1].) Finally, the rights provided, thereunder, while allowing for a

2    transfer of license rights to CI in the event of default, only did so to the minimum extent necessary to

3    effectuate the purposes of the CI Development Agreement and could not grant rights any greater than

4    those set forth in the underlying AMSys License. (P.Exh.29 [Modification License, ¶4].) The only

5    patent then licensed under the AMSys License was the ‘810 patent, which expired March 2007. (P.Exh.

6    24 [AMSys-Aoki License, ¶1.4].) Since the only rights necessary to effectuate the “purpose” of the CI

7    Development Agreement are the technology rights found under the ‘810 patent, any license rights to

8    the subsequent RQ patents would not have transferred to CI upon a default by AMSys. In other

9    words, once AMSys defaulted on the $1 million loan, at best AMSys only lost its license to the ‘810.

10          This analysis is further supported by the use of the defined term “Patent Rights” in the CI

11   Development Agreement. That phrase is defined to mean “all now existing or hereafter created patents

12   …relating to the treatment of diabetes mellitus and licensed to or owned by [AMSys] covering”

13   products, processes and services associated with the treatment of diabetes mellitus using pumps for

14   the administration of insulin. (P.Exh.30, p. 3 [AMSys-CI License (emphasis added)].) The patent

15   rights expressed in the CI Development Agreement are, therefore, limited in scope to the ‘810 patent.

16   Paragraph 14(b) goes further to state that CII shall not receive any proprietary rights under the

17   agreement except for those rights expressly granted to it. (P.Exh.30 [AMSys-CI License, p. 17 14(b].)

18   It is hard to imagine that this clause was drafted and included in the agreement for any reason other than

19   to ensure AMSys’ preservation of rights to later acquired technology such as the RQ Patents.

20          H.      The RQ Patent Claims And Infringing Evidence
21          The RQ patents were provisionally filed beginning in 2000. (See P.Exhs.2-7 [RQ Patents].)

22   These patents were ultimately issued from between 2003 to 2005. (Id.) The RQ patents all follow the

23   same steps with the emphasis on looking at the RQs and trying to increase glucose utilization at the

24   affected or targeted tissue site. (P.312:22-24 [Aoki, Vol.2].) Each patent treats a different issue or

25   problem. (P.313:3-6 [Aoki, Vol.2].) Specifically, they treat the (i) heart (‘531 patent), (ii) wounds (‘716

26   patent), (iii) kidney (‘342 and ‘527), and (iv) eye and nerve (‘736 and ‘191). (P.Exhs.2-7 [RQ Patents].)

27                  1.      Arizona Manual And Florida Protocol

28          A summary of the claims for the RQ patents as testified to by Dr. Aoki and the infringing evidence
                                                    -22-
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1    found in both the Arizona manual and Florida protocol, with supporting citations to testimony is attached

2    hereto as Appendix A. (This chart is also referenced in the claim by claim analysis at supra, III.C.2.b.)

3           The Arizona manual (P.Exh.203) was used in administering APT in the Arizona clinic.

4    (P.1136:16-23; P.1140:11-18 [Elliott, Vol.7].) It sets forth the basic protocol of the treatment. (P.1143:7-

5    8 [Elliott, Vol.7].) It was a collaborative work from other Trina Health clinics and included contributions

6    from the Trina Health of Arizona clinic. (P.1154:11-18 [Elliott, Vol.7].) Trina Health of Arizona was a

7    licensed Trina Health clinic. (P.1863:17-23 [Gilbert, Vol.11].) Trina corporate held the copyright for

8    the manual. (P.1157:22-24 [Elliott, Vol.7].) Mr. Gilbert also wrote portions of the manual. (P.2376:4-

9    17 [Gilbert, Vol.14].)

10          The 2017 Florida protocol (P.Exh.228) was prepared by Natalie Pereyra, a nurse who worked for

11   the Trina Health of Miami clinic, a clinic licensed by Trina Health, LLC. (P.992:1-14 [Pereyra, Vol.6];

12   P. 1877:20-25; P.1878:1-5 [Gilbert, Vol.11].) The protocol is much lengthier, but this was a basic

13   standing order between herself and the physician for purposes of administering the treatment, called

14   Artificial Pancreas Treatment or Artificial Pancreas System, that was submitted to the Florida State Board

15   of Nursing. (P.992:16-20; P.1000:6-8; P.1005:22-25 [Pereyra, Vol.6].) There was a training manual in

16   the very beginning that was left for them during the training. (P.1011:8-10 [Pereyra, Vol.6].) The training

17   manual was brought by administrators from Trina Health of Sacramento to the Miami location to set up

18   the clinic. (P.1011:8-25; P.1012:1-5 [Pereyra, Vol.6].) Ms. Pereyra first met Mr. Gilbert in June 2014

19   during her job interview for the Trina Health of Miami clinic. (P.1005:15-21 [Pereyra, Vol.6].)

20                  2.        Witness Testimonies - Infringing Evidence
21                            a.    Rebecca Shaffer
22          Ms. Shaffer was a patient at both the St. Louis (aka Chesterfield), Missouri and Scottsdale,

23   Arizona Trina Health clinics. (P.2538:19-25; P.2539:4-8 [Shaffer, Vol.16].) Not only was she a patient,

24   she also became employed as a sales representative at the Missouri clinic. (P.2541:17-25; P.2583:1-15

25   [Shaffer, Vol.16].) She also had a background working in the fitness industry and understood the efficacy

26   and uses for measuring VCO2 alone versus production of VCO2 as a ratio to consumption of VO2, also

27   known as RQ. (P.2554:17-20; P.2602:17-25: P.2603:1-3 [Shaffer, Vol.16].)

28          On or around November 2017, Ms. Shaffer attended a presentation in Missouri where Mr. Gilbert
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1    gave a presentation about the APT treatment. She attended partly because she was being groomed to be

2    hired to work at the Missouri clinic. (P.2598:19-25; P.2599:1-9 [Shaffer, Vol.16].) At the presentation,

3    Mr. Gilbert explained the APT treatment and the use of RQ in connection with the treatment, and how

4    there’s only way one to really show that you are metabolizing carbohydrate, which is to use the VacuMed

5    machine to measure a person’s CO2 and O2, with the result being an respiratory quotient. (P.2599:14-

6    24; P.2601:1-15 [Shaffer, Vol.16].) Mr. Gilbert described the resultant RQ from the VacuMed machine

7    as a way of determining proper carbohydrate metabolism. (P.2602:6-12 [Shaffer, Vol.16].) Ms. Shaffer

8    also testified that given the importance of RQ, the patients at the clinic even held a competition amongst

9    themselves to see who could get to the RQ goal of over .90, i.e. to “100 or 1.” (P.2609:23-25; P.2610:1-

10   2 [Shaffer, Vol.16].)

11          She testified that it was pointless to measure VCO2 alone for purposes of determining

12   carbohydrate metabolism. (P.2610:7-11 [Shaffer, Vol.16].) It would be difficult to have an accurate

13   measurement of carbohydrate metabolism without taking into account oxygen consumption. (P.2613:2-

14   10 [Shaffer, Vol.16].) In the fitness industry, which she’s familiar with, she’s not aware of measuring

15   anybody’s VCO2 while they’re sitting in a chair consuming dextrose. (P.2615:20-23 [Shaffer, Vol.16].)

16   In fact, she’s had her VCO2 measured while resting as part of her work in the fitness industry but she

17   wasn’t consuming anything and that situation is different from the present context. (P.2615:23-25

18   [Shaffer, Vol.16].) What is most relevant for purposes of the treatment is not a person’s maximum VCO2

19   – after, this isn’t a case of measuring an athlete’s fitness, it’s about testing diabetics, whom we already

20   know aren’t fit– we’re trying to see if they are in fact metabolizing carbohydrate relative to the treatment.

21   (P.2602:20-25; P.2603:1-3 [Shaffer, Vol.16].)

22          It was her understanding that the clinics were using the respiratory quotient as a way of

23   determining that a patient was responding to the treatment. (P.2556:4-25 [Shaffer, Vol.16].) Her own

24   patient records reflect that the Trina Health clinics were using respiratory quotient and in fact recorded

25   her RQ. (See P.Exh.244A, Bates P5856 – reflecting a VO2 reading of 214 and VCO2 reading to be 149.

26   The ratio of 149 (VCO2) / 214 (VO2) =.70 is the RQ, which number is recorded on her chart.) The rising

27   RQ values reflected her body’s response to the treatment. (P.2582:16-23[Shaffer, Vol.16].)

28                           b.     Michael Arcangeli
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1            Michael Arcangeli, who was involved early on with the MAT® treatment, working with Dr. Aoki

2    while at Joslin, UC Davis and then for AMSYs and MI, testified that on numerous of Mr. Gilbert’s

3    websites as well as Mr. Gilbert’s diabetes.net website that specified the APT protocol, it stated exactly

4    how they treat a patient when they come into the clinic including giving them “10 pulses of insulin over

5    an hour, checking their blood sugar every 30 minutes or whatever, and measuring their RQs.” (P.1649:7-

6    25; P.1650:1-14; P.1656:20-25; P.1657:1-16; P.1668:11-25; P.1669:1-3 [Arcangeli, Vol.10].]

7                              c.       Gregory Gilbert
8            Mr. Gilbert himself testified that a lot of the clinics he licensed had a VacuMed machine that

9    could measure the RQ, which would be an indicator of the type of metabolism, i.e. fats, lipids, carbs.

10   (P.2036:8-13; P.2037:1-9 [Gilbert, Vol.12].) He also testified that Trina Health didn’t bill for multiple

11   RQ “except if the doctor required it”– suggesting the clinics did use RQ at least in some instances.

12   (P.2362:1-4 [Gilbert, Vol.14].)

13                    3.       The License Agreements Reference Dr. Aoki’s Technology Under The CI-
                               Bionica License And Call Out Use Of A Metabolic Measurement Cart
14
             The license agreements specifically refer to the patented technology that Defendants claim under
15
     the “Development Agreement between Bionica and Connecticut Innovations, Inc.,” which can only mean
16
     the rights to Dr. Aoki’s patented technology. (See definitions of Subject Technology, Patents, et al. in
17
     license agreements at P.Exh.94 [2013 Texas License, p.1, Recitals, p. 5, ¶1(x)]; P.Exh.95 [2013 Arizona
18
     License, p.1, Recitals, p. 2, 1(a)]; P.Exh.98 [2014 Smart Medical License, p.1, Recitals, p. 5 ¶1(v)];
19
     P.Exh.99 [2014 CP Homes License, p. 1, Recitals, p. 2, ¶1(a) & (u)9]; P.Exh.104 [2014 Trina Health
20
     Kansas License, p.5-6, ¶1(v) & (w)]; P.Exh.105 [2016 Animo Health License, p.5-6, ¶1(u) & (w)];
21
     P.Exh.108 [2016 Healthy Foods License, p. 5-6¶1(u) & (v)]; P.Exh.109 [2016 New Albany License, p.
22
     5-6, ¶1(u) & (v)]; P.Exh.229 [2012 Life Pulse Health, LLC License, p.1, Recitals, p.2 ¶1(a), p.5 ¶ (u)].)
23
     (In some instances, the license agreements refer specifically to Dr. Aoki and the Aoki Diabetes Research
24
     Institute, see e.g. P.Exh.104 [Trina Health Kansas License, ¶1(c)].)
25
             The license agreements refer to or call out a definition of Metabolic Measurement Cart as the
26
27           9
                See also p. 11, ¶12(a) referencing royalty stream payable to “Connecticut Innovations (State of Connecticut)
28   pursuant to the Development Agreement” of P.Exh.99 [CP Homes License].

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1    “measurement cart necessary for the proper utilization of the Artificial Pancreas Treatment” or similar

2    language. (P.Exh.94 [2013 Texas License, p.4, ¶1(q)]; P.Exh.98 [2014 Smart Medical License, p.4,

3    ¶1(q)]; P.Exh.99 [2014 CP Homes License, ¶1(r)]; P.Exh.104 [2014 Trina Health Kansas License, p.4,

4    ¶1(r)]; P.Exh.105 [2016 Animo Health License, p.4, ¶1(q)]; P.Exh.108 [2016 Healthy Foods License,

5    ¶1(q)]; P.Exh.109 [2016 New Albany License, p. 4, ¶1(q)]; P.Exh.229 [2012 Life Pulse Health, LLC

6    License, p.2, Recitals, p.3, ¶1(g), p.4, ¶1(r), p.5, ¶1(v)].) The metabolic measurement is determined using

7    a VacuMed or similar machine, which automatically prints out respiratory quotient readings. (P.154:9-

8    14 [Aoki, Vol.1]; P.314:20-24 [Aoki, Vol.2].) Measuring the “volume of carbon dioxide produced by

9    the patient before and after each treatment does not tell you if the therapy is working. It only tells you

10   that the CO2 production has or has not increased or has stayed the same.” It is not a scientifically

11   acceptable measurement. (P.1493:1-4 [Aoki, Vol.9]; see also P.2811:3-9; P.2812:2-25 [Aoki, Vol.17].)

12   Nurse Pereyra who worked at the Trina Health of Miami clinic testified that they used a VacuMed

13   machine to determine ratio of “inhaled oxygen” to “exhaled carbon dioxide” to determine “if the patient

14   was processing carbs or if they were processing other forms of energy.” (P.1004:6-24 [Pereyra, Vol.6].)

15   Ms. Shaffer, a patient of the Trina Health clinics in Arizona and Missouri testified that both clinics

16   measured her RQ for purposes of determining carbohydrate metabolism. (P.2552:1-25; P.2553:22-25;

17   P.2556:22-25; P.2557:6-8; P.2579:17-25 [Shaffer, Vol.15]; P.Exh.244A (Trina Health Treatment

18   Records – shows recording of RQ of .70 as result of 149 (VCO2) divided by 214 (VO2).) Mr. Gilbert

19   also acknowledged that sometimes the Trina Health clinics billed for RQ. (P.2362:1-4 [Gilbert, Vol.14].)

20                  4.      The License Agreements Explicitly Cite Dr. Aoki’s RQ Patents
21          The license agreement entered into between Defendant Life Pulse Health, LLC, Mr. Gilbert,

22   Trina Health, LLC and Bionica, Inc. explicitly references Dr. Aoki’s RQ patents as the basis of the

23   subject technology that would be licensed as part of administering APT. (P.Exh.229 [Life Pulse Health

24   License, p.5 ¶u, p.20-Patent List.) It mentions that this technology was pursuant to the Development

25   Purchase Agreement entered into between Bionica and CI. (Id. at p.1, Recitals, p.2 ¶(1)a, p.5 (1)¶u.)

26                  5.      Other Evidence Of Infringement And/Or Use of RQ
27                          a.     Cellular Activation Therapy Presentation

28          Cellular Activation Therapy (“CAT”) is the first name that Mr. Gilbert used to “clone” MAT®.
                                                    -26-
                                       PLAINTIFFS’ [PROPOSED] CONCLUSIONS OF FACT AND LAW
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1    (P.366:6-23 [Aoki, Vol. 2]; P.Exh.11 [CAT presentation].) Mr. Gilbert himself set up Cellular Activation

2    Therapy Clinics and later changed its name to Trina Health. Both are essentially the same company.

3    (P.2043:7-25; P.2044:5-14 [Gilbert, Vol.12].) In the CAT presentation, under “Equipment Overview,”

4    it mentions the treatment uses the “Metabolic Measurement (RQ) machine to monitor metabolism” and

5    goes on to list the steps of the treatment, which steps not only mirror MAT® but also explicitly include

6    use of RQ to assess metabolism:

7           (1) “Measure weight and blood pressure
8           (2) Check blood sugar level
            (3) Medical information reviewed and dosage determined for programming Bionica pump
9           (4) Small IV inserted in arm or hand
            (5) Breathe into RQ machine to measure resting metabolism
10
            (6) Start 1 hour treatment session
11          (7) Blood sugar level checked and Glucola given as needed
            (8) Breathe into RQ machine to measure metabolism levels
12          (9) Steps 5 – 8 repeated two more times equals 6 hour”
13
     (P.Exh.11, Bates P1026-1027 [CAT Presentation].)
14
                                b.        The Trina Health Prospectus
15
            The April 1, 2015 Trina Health prospectus given to Alabama clinic investors states, “Metabolic
16
     Measurement Carts (made by others are used to determine the metabolic changes (respiratory
17
     measurements) of patients under therapy. These Carts are also acquired through Bionica, and are used
18
     in the clinic.” (P.Exh.112 [Trina Prospectus, Bates P4615].)
19
                                c.        Diabetes.Net Printout
20
            The April 11, 2013 printout from www.diabetes.net10 references an “Artificial Pancreas
21
     Treatment Device,” stating: “The FDA approved devices include the Bionica pump and the VacuMed
22
     Metabolic Measurement System.” (P.Exh.126, Bates P1439 [diabetes.net printout].) (This statement is
23
     also a misrepresentation as the Bionica pump is FDA cleared as opposed to FDA approved. (P.2388:8-
24
     10 [Gilbert, Vol.14]; P.578:9-10 [Aoki, Vol.3]; P.2688:24-25; P.2689:1-4 [Gilbert, Vol.16].)
25
                                d.        APT Slides Use Dr. Aoki’s MAT® Research
26
27
            10
28               See infra II.M.4 regarding discussion of Mr. Gilbert’s status as registrant of and control of diabetes.net.

                                                           -27-
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1            The 2017 or 2018 APT presentation which Dr. Aoki downloaded from www.trinahealth.com

2    includes Dr. Aoki’s copyrighted slides from his MAT® presentation.                  (P.1471-73 [Aoki, Vol.9];

3    P.Exh.10(A) [MAT Presentation, Bates P6-5840].) In particular, it uses Dr. Aoki’s rising insulin chart

4    of MAT® insulin pulses and attributes it to the APT treatment. (P.1473:17-24 [Aoki, Vol.9].) In fact,

5    the caption for APT is inserted below Dr. Aoki’s slide and reads “[a]s shown, the APS [Artificial Pancreas

6    System] pump delivers extremely precise bursts of insulin at pressure. This special delivery stimulates

7    the liver and reawakens dormant metabolism.” (P.Exh.12 [APT Presentation, Bates P2683].) This same

8    MAT® chart (as well as other copyrighted slides) is used in numerous other places to demonstrate APT.

9    (See 2017 CMS Presentation (D.Exh.T4-Tab 98, Bates D4448); 2015 Trina Health Presentation

10   (P.Exh.112, Bates P4525); 2017 Dr. G. Ford Gilbert South Bronx Video (P.Exh.201, Video Link).)

11                           e.      APT Article By Mr. Gilbert
12           The 2015 Trina Health “Introduction to Artificial Pancreas Treatment” of which Mr. Gilbert wrote

13   “every word” also evidences infringement (as well as misrepresentations). (P.2124:1-24; P.2125:1-3

14   [Gilbert, Vol. 12]; P.Exh.103 [APT Article].) It states:

15           “APT is the only US FDA cleared safe and effective way to stop the progression of diabetes and
             in most ways reverse the chronic complications of diabetes . . . APT is the only treatment which
16
             address this core problem [of improper metabolism], and does so by mimicking the natural way
17           that a pancreas signals a liver to cause proper metabolism.”

18   (P.Exh.103 [APT Article, Bates P1103].) This statement suggests that APT is MAT® as it unequivocally

19   states it is the only diabetic treatment that treats improper metabolism. Additionally, it states that the

20   treatment is “FDA cleared” although the evidence demonstrates only the pump is FDA cleared as opposed

21   to the treatment. (P.2388:8-10 [Gilbert, Vol.14]; P.578:9-10 [Aoki, Vol.3].)

22           The article also states: “Artificial Pancreas System® and Artificial Pancreas Treatment® are

23   based on many clinical trials and human treatments, using several names including PIVIT, Metabolic

24   Treatment, CIIIT, etc.” (P.Exh.103 [APT Article, Bates P1104 (emphasis added)]; see also P.Exh.16

25   [Diab Innov Printout, Bates P238811].) Yet Mr. Gilbert testified that MAT® is also PIVIT, suggesting

26
             11
27             States “CAT has been known by a number of names during its clinical trials and early development, such
     as PIVIT, Metabolic Treatment, and Hepatic Treatment etc. They are all the same treatment, developed and owned by
28   CATC and Bionic Inc. . . . .” (P.Exh.176 [CAT Presentation, Bates P2388 (bold emphasis added)].)

                                                       -28-
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1    he is equating APT with MAT®. (P.2531:4-5 [Gilbert, Vol.15].)

2           The article also states that “APT was developed and then tested in a number of university and

3    centers of excellence including Harvard (Joselin) [sic], University of California Davis, University of

4    Arizona, Scripps, Temple University, and the May Clinic just to name a few.” (P.Exh.103 [APT Article,

5    Bates P1105].) This statement references clinical studies done using Dr. Aoki’s MAT® protocol at

6    Joslin, UC Davis, Florida, et al. (P.2048:9-25; P.2049:1-11 [Gilbert, Vol.12]; (see also above discussion

7    of Aoki credentials).) Moreover, Mr. Gilbert suggests in his testimony he has never done an IRB clinical

8    trial post-Aoki. (P.2047:2-4; P.2048:3-13 [Gilbert, Vol. 12].) As such, the APT developed in the studies

9    referenced above cannot be APT and are clearly MAT®.

10          The article also describes the treatment as follows: “Patients treat for 4-5 hours in the clinic once

11   a week for a few weeks, then a [sic] most treat once every two to even three weeks. . . During a treatment

12   day, three infusions are given with the patient sitting in a recliner chair but still able to walk around etc.

13   During the treatments, carbohydrates and intravenous insulin are administered using the Bionica

14   programmed infusion device. The patient stays in the treatment area, and continues to . . . engage in any

15   other passive activity.” (P.Exh.103 [APT Article, Bates P1105].) The treatment steps mirror the MAT®

16   protocol suggesting at least three treatment sessions at least once a week with IV insulin infusion using a

17   pump and rest periods where the patient can engage in passive activity. (See claims, supra, at II.I.1.)

18          I.      Direct Admissions Of Infringement
19                  1.      2013 Gilbert Supplemental MSJ Declaration
20          On July 03, 2013, Mr. Gilbert admitted in a declaration filed in connection with Defendants’

21   Motion for Summary Judgment in this case that he and the Defendants in this case have been using Dr.

22   Aoki’s technology with no modifications since at least 2005:

23   “¶a. Both Bionica Inc. and I (Gregory Ford Gilbert) have continued, without interruption, to
     market and open clinics using the Subject Technology for much longer than from just 2003 or 2005,
24
     the period of the prior lawsuit and its dismissal.
25
     ¶d. All of the clinics we have continued to open are under the same umbrella of sublicense of the Subject
26   Technology from both Bionica and myself (Gilbert), and are thus defended by Bionica, Gilbert and Trina
     Health. Therefore, they have no independent actions or uses of the technology or the Bionica pump, and
27   are not independently operating, they are operating under the Bionica and Gilbert Licenses. If they were
     operating without a sublicense by Bionica and Gilbert, that could be different, but they are not, they are
28
                                                     -29-
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     all operating under such licenses.
1
     ¶e. While there has not been any, changes to the pump or even the treatment would be irrelevant
2
     to this case since all modifications and improvements are included in the License. The Licenses from
3    Bionica and Gilbert to all of the clinics specifically cover their actions as they are indeed operating and
     treating in the way by which we have developed the Subject Technology for more than 20 years.
4
     ¶f. It is illogical to claim that there is some new change, as people are being treated with the exactly same
5    equipment for over 20 years. This has been personally known by Plaintiffs since my daughter, Trina was
     in the home treatment program of Plaintiffs until 2011 after they filed the above entitled action and
6
     realized that their own claims were ludicrous in light of her treatment. Such treatment was also unchanged
7    for her for over 12 years. If this treatment were dangerous or changed, why was Trina being treated under
     the Plaintiff’s home treatment protocol in the same way for over 12 years? The claims of change, and the
8    claims of the treatment being dangerous are totally false and outrageous as they are purported made under
     penalty of perjury. But even were there any changes, they would be included in the definition of the
9    subject licensed technology.”
10
     (P.Exh.93 [Gilbert Supplemental Declaration (emphasis added)].)
11
                    2.      2017 Gilbert Email
12
            On July 22, 2017, Mr. Gilbert further admitted in an email to counsel that “we have a rough road
13   with Medicare, and now one place is clearly infringing on the patents which legally can only be enforce
14   against others.” (P.Exh.111 [Gilbert email (emphasis added)].) Mr. Gilbert claimed the email concerned
15   “settlement negotiations” (P.1808:8-9 [Gilbert, Vol.10]) but a simple cursory review of the email chain
16   reveals no settlement negotiations whatsoever, just deposition scheduling. Subsequently, Mr. Gilbert
17   claimed it’s “not one of our clinics” (P.1809:6-9 [Gilbert, Vol.10]) yet prior to that, Mr. Gilbert testified
18   that the only people who used the name Trina “in the medical sense or medical area would be people that
19   we had some contractual relationship with.” (P.1718:19-21 [Gilbert, Vol.10].) In fact, Mr. Gilbert later
20   suggests he was referencing a clinic licensed by Trina Health, the Texas, West Houston clinic. (P.1895-
21   1896 [Gilbert, Vol.11]; see also P.Exh.127 [2014 Diabetes.net Printout, stating “The Trina Health West
22   Houston clinic is already at capacity on some days. . .” Bates P2512].)
23
                    3.      Hayward Clinic Stipulation, Consent Judgment, Permanent Inj, and Order
24          The Hayward clinic defendants comprised of defendants (i) Health Innovations, LP (ii) ACSRC,
25   LLC, (iii) Shuyuan “Sherry” Tang and (iv) Cheng Shao admitted as follows:
26
     @ ¶3: “The Hayward Clinic Defendants admit that Plaintiff Dr. Aoki is the owner of all right, title and
27   interest in and to the 531 patent, the 716 patent, the 342 patent, the 736 patent, the 527 patent, the 191
     patent, and the 351 patent.”
28
                                                       -30-
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1    @ ¶5: “During the operation of their Hayward Clinic, the Hayward Clinic Defendants admit that
     they made, used, sold, or offered for sale the MAT® Treatment technology described in the 531
2
     patent, the 716 patent, the 342 patent, the 736 patent, the 527 patent, the 191 patent, and the 351
3    patent.” (P.Exh.100 [Hayward Clinic Stipulation (emphasis added)]; ECF 187.)

4           Mr. Kevin Buckman who was the medical director of the Trina Health Hayward, Roseville and

5    Sacramento clinics, testified that all three clinics used the same treatment methodology and the source

6    of that treatment methodology were training manuals from Trina Health, such as the Arizona manual.

7    (P.950:24-25; P.951:1-13; P.952:22-25; P.953:1; P.960:8-17; P.961:22-25; P.962:1-9 [Buckman,

8    Vol.6]; P.Exh.203 [Arizona manual].) He also testified that an RQ value was derived and recorded for

9    the patients. (P.949:6-8 [Buckman, Vol.6].]

10          J.         Mr. Gilbert’s Claim That He Invented A “Different” Treatment Is Not Credible
                       And Contradicted By His Own Statements In This Case And In the Nevada Case
11
            Mr. Gilbert testified that his invention of “APT” originated from an “epiphany” he had following
12
     a lecture and that the MTC12 clinics subsequently came to perform his APT method. (P.2085:15-25;
13
     P.2086:1-25; P.2087:1-5 [Gilbert, Vol.12].).             Mr. Gilbert testified that MTC clinics were essentially
14
     performing the APT method as far back as 2003 or 2004 when MTC was setting up clinics based on its
15
     belief that it had a contract with MI. (P.2144:19-25; P.2145:1-3 [Gilbert, Vol.13].) In fact, in his 2017
16
     declaration submitted in support of Defendants’ MSJ in this case, Mr. Gilbert stated:
17
     “Prior to the [2003] dispute [with Dr. Aoki], I was giving a lecture about diabetes in Utah on the AOKI
18   Patent, and the way that the MAT@ TREATMENT was being given to my daughter among others. I
     came to the realization that the AOKI approach, i.e., the MAT® TREATMENT, was not what was being
19   delivered by the Bionica Microdose, and even more importantly, that the MAT@ TREATMENT in its
20   basic design was not physiologically correct. . . I then, in early 2002 1created a new protocol which is
     distinct and different from the MAT@ TREATMENT in that it does not use Respiratory Quotient
21   (RQ) to determine insulin amount, does not use an ever increasing baseline of insulin, does not have
     a 100 mg/dl rise and 50 mg/dl fall, and does not adjust insulin on an ad hoc basis, nor does it use a
22   set amount of glucose rather than an ad lib response to blood glucose.”
23   (P.Exh.118 [Gilbert Decl., ¶10 (emphasis added)]; ECF 175-2.)
24          Yet, Mr. Gilbert’s statements above are contradicted both by his 2013 declaration in this case
25   where he states that he and the Defendants have been using Dr. Aoki’s technology since 2005 pursuant
26   to a license and that the technology has been unchanged. This repeats his post-termination 2003
27
            12
28               See supra, II.E. regarding 2003 Nevada litigation as a point of reference regarding MTC clinics.

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1    declaration that he filed in support of MTC’s Opposition to Motion for Preliminary Injunction, which

2    he testified in this action to be “all true to this day still” (P.2153:10-17 [Gilbert, Vol.13])

3    that as 2003, the MTC clinics were using Dr. Aoki’s technology:

4    "From and after May 11th, 2003, MTC began and has continued the process of commencing the
     commercial rollout of the Metabolic Activation Therapy . . . This process is working well, and new people
5
     are being treated every day as a result of the work of MTC. The clinics are all using the protocols which
6    were first instituted by Dr. Aoki and have been used at the ADRI for many years. These protocols
     have been unchanged, and to a greater or lesser extent followed at most other sites. I know of no reason
7    to change these longstanding protocols and, indeed, they are being used by MTC." (P.2153:21-25;
     P.2154:1-17 [Gilbert, Vol.13]; P.Exh.93 [Gilbert 2013 Suppl Decl., ¶3 (emphasis added)].)
8
             The Court therefore finds that Mr. Gilbert’s current testimony is directly contradicted by his
9
     earlier sworn declarations, and thus not believable. On the one hand, as of 2017 and during trial, Mr.
10
     Gilbert claims he invented APT back in 2002, which invention was used in the MTC chartered clinics.
11
     On the other hand, in 2013 and in 2003, Mr. Gilbert declared under penalty of perjury that at all times he
12
     and Defendants have been using MAT® and that the MTC clinics used MAT®.
13
             K.      Use of Slides – Copyright Infringement
14
             On 8-23-11, Dr. Aoki obtained copyright registration of his MAT presentation. (P.Exh.81
15
     [Copyright Catalog]; P.Exh.10A [MAT Presentation].) Around 2002, this presentation was given to Mr.
16
     Gilbert for the sole purpose of Mr. Gilbert’s education, with instructions not to distribute and Mr. Gilbert
17
     agreed to those conditions. (P.360:2-25; P.361:1-25; P.362:1 [Aoki, Vol.2].) Mr. Gilbert acknowledged
18
     receiving these slides although he disputes the purpose for which received them. (P.2647:5-7 [Gilbert,
19
     Vol.16].) This presentation contains slides of material created by Dr. Aoki from his MAT® research, i.e.
20
     photos of patients Dr. Aoki treated (P.400:15-23; P.401:13-25; P.402:1-6,13-22; P.507:10-15 [Aoki,
21
     Vol.3]), pictorial/graphic representations of the results of his MAT® research, and material obtained from
22
     other publications used as part of a presentation. (P. Exh.10A, P.359:16-21 [Aoki, Vol.2].) The MAT®
23
     slides used by Defendants subsequent to Dr. Aoki obtaining copyright registration in 2011 are referenced
24
     at Appendix B. Mr. Gilbert also admits that many of the slides used in the video clips were slides from
25
     Dr. Aoki’s slide deck. (P.2131:12-25; P.2132:1-11 [Gilbert, Vol.12].)
26
             L.      False Or Misleading Misrepresentations
27
                     1.      Defendants Falsely Attribute To APT Statements And Research That
28                           Belong To MAT®
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1           A plethora of evidence demonstrate that Mr. Gilbert’s statements about APT (or its precursor

2    name, CAT) are entirely about or derived from MAT®. They fall into these categories:

3           Using research conducted on MAT® to support claims about APT (see below). The evidence

4    demonstrates that the clinical trials referenced below conducted at Joslin, UC, et al. . . were conducted

5    on MAT® (not APT). (P. 2048:9-25; P.2049:1-11 [Gilbert, Vol. 12].) The CalPERS decision referenced

6    below was entirely about Dr. Aoki’s MAT® procedure and had nothing to do with APT. (See P.Exh.50

7    [CalPERS decision]; P.2966:15-21 [Aoki, Vol.18].)

8    •   “APT has been tested with Clinical Trials in a number of university and centers of excellent including
9        Harvard (Joslin), University of California, University of Arizona, Scripps, Temple University,
         and the Mayo Clinic, just to name a few . . . Following years of clinical studies . . . judges have ruled
10       that the treatment is no longer experimental, is not investigational, and is medically necessary for the
         patients treated. A landmark lawsuit against CalPERS achieved the same result. (P.Exh.112
11
         [2015 Trina Prospectus, Bates P4597 (bold emphasis added)].)
12
            Using Dr. Aoki’s MAT® slides and attributing them to APT, including the rising insulin chart
13
     (see P.Exh.10A, Bates P6-5840) and various other copyrighted slides. (See P.Exh.11 [CAT Presentation,
14
     see Bates P1028 (Rising Insulin Baseline Chart); P1040 (Fuel Oxidation – Oral 100G Glucose Test Slide);
15
     P1041 (Fuel Oxidation – Lunch Test Meal Study Slide); P1043 (Fuel Oxidation – Exercise Slide); P1045
16
     (Normal Man Slide); P1046 (Type 1 Diabetes Mellitus Slide); P1049 (Results – Glycemic Control Slide);
17
     P1051 (Creatinine Clearance Chart)]; P.Exh.112 [2015 Trina Presentation, see Bates P4525 (Using Dr.
18
     Aoki’s Rising Insulin Chart)].) All of these are Dr. Aoki’s copyrighted slides. (See P.Exh.10A.)
19
            Using photos of Dr. Aoki’s patients who were treated with his MAT® therapy and which photos
20
     he took (P.400:15-23; P.401:13-25; P.402:1-6, 13-22; P.507:10-15 [Aoki, Vol.3]) for the false claim that
21
     the patient was treated with APT. (See these exhibits which reflect using Dr. Aoki’s slides of his patients’
22
     foot wounds: P.Exh.11 [CAT Presentation, see Bates P1053-1054; P.Exh.12 [2017 APT Presentation,
23
     see Bates P2707-2710; P.Exh.112 [2015 Trina Presentation, P4551-4554].)
24
            Claim that Mr. Gilbert’s daughter, Trina was initially and for over 20 years treated with APT
25
     when she actually was treated by Dr. Aoki with MAT® initially at UC Davis J-Lab and continuing until
26
     at least 2011 at ADRI. (P.2264:5-8; P.2269:24-25; P.2270:1-17 [Lambertson, Vol.13].) (See P.Exh.12
27
     [2017 APT Presentation, Bates P2700; P.Exh.112 [2015 Trina Presentation, Bates P4544] [stating Trina
28
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1    has “been on the treatment for 24 years”]; P.Exh.126 [2013 Diabetes.Net Printout, Bates P1449] [stating

2    Trina “was 2 when diagnosed. . . The youngest patient when she stared [sic], she has been on CAT for

3    over 20 years.”].)

4           Claim that APT is the ONLY existing treatment of pulsatile insulin and thereby falsely suggesting

5    that MAT® is subsumed within APT:

6    •   “Cellular Activation Therapy. The ONLY treatment proven to stop, retard, and/or reverse the chronic
7        complications of diabetes.” (P.Exh.11 [CAT Presentation, Bates P1013 (emphasis in original)].)

8    •   “Cellular Activation Therapy provides the only proven way to impede, stop or reverse the chronic
         complications of diabetes.” (P.Exh.11 [CAT Presentation, Bates P1017].)
9
10   •   “Prior to Cellular Activation Therapy, there was never any treatment better than tight control.”
         (P.Exh.11 [CAT Presentation, Bates P1032].)
11
12   •   “The Artificial Pancreas Treatment® uniquely restores proper resting metabolism, the only treatment
         that ever has.” (P.Exh.112 [2015 Trina Presentation, Bates P4531 [underline emphasis in original].)
13
14   •   “The Artificial Pancreas Treatment® . . . is the only clinically proven safe and effective way to treat
         all of the complications of diabetes.” (P.Exh.112 [2015 Trina Prospectus, Bates P4596].)
15
     •   “There is no other treatment which mimics normal stimulation of the liver and produces the necessary
16
         enzymes to cause all the cells of the body to become more metabolically normal. (P.Exh.112 [2015
17       Trina Health Prospectus, Bates P4606].)

18   •   “There is no other diabetic treatment, procedure, drug or personal regimen that has been able to
19       demonstrate the slowing, stopping and reversing of diabetic complications found in patients on APT.”
         (P.Exh.112 [2015 Trina Health Prospectus, Bates P4609].)
20
21          Claim that the APT treatment has been around for over 20 years although in 2013 Mr. Gilbert

22   admits in his declaration filed in this case (P.Exh.93 [Gilbert Suppl. Decl.]) that Defendants have been

23   using Dr. Aoki’s MAT® since before 2005 up to that time; to the extent Mr. Gilbert changed his story in

24   2017 to claim that he invented the APT treatment in 2002 (see P.Exh.118 [Gilbert MSJ Decl.]), this is

25   not only contradicted by other statements, i.e. P.Exh.93, but even then, APT could not have been in

26   existence for over 20 years at the time the below statements were made, such that the treatment Mr.

27   Gilbert is actually referring to is MAT® and not APT. (See exhibits stating (a) “The Artificial Pancreas

28   System is FDA approved, totally unique and has been in continuous use for almost 22 years.” P.Exh.126
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1    [2013 Diabetes.Net Printout, Bates P1436]; (b) “It has taken over 20 years to finally bring this technology

2    to market. And it is still the ‘best kept secret’ in the treatment of diabetes.” P.Exh.126 [2013 Diabetes.Net

3    Printout, Bates P1465]; see also P.Exh.127 [2014 Diabetes.Net Printout, Bates P2525]; (c) “For the last

4    20 years the Artificial Pancreas Treatment and Artificial Pancreas System have been in development, but

5    the problem has always been that the cost of delivering the treatment is too high for the average diabetic

6    patient.” P.Exh.127 [2014 Diabetes.Net Printout, Bates P2505].)

7                   2.      Defendants Falsely Claim That APT Is Covered By Medicare
8           In 2009, Medicare issued a national coverage determination that outpatient intravenous insulin

9    treatment (“OIVIT”) would not be covered by Medicare. (P.Exh.77 [Medicare Decision].) The decision

10   states that OIVIT consists of an outpatient regimen of “pulsatile or continuous intravenous infusion of

11   insulin via any means, guided by the results of: (i) measurement of respiratory quotient . . . and/or (iii)

12   measurement of arterial, venous or capillary glucose; . . performed in scheduled recurring intermittent

13   episodes.” (Id., Bates P218.) The decision noted that this regimen is also “sometimes termed Cellular

14   Activation Therapy (CAT), Chronic Intermittent Intravenous Insulin Therapy (CIIIT) . . Metabolic

15   Activation Therapy (MAT®), Pulsatile Intravenous Insulin Treatment (PIVIT), Pulse Insulin Therapy

16   (PIT) and Pulsatile Therapy (PT).” (P.Exh.77 [Medicare Decision, Bates P218 (emphasis added)].)

17          “Cellular Activation Therapy” was the first name Mr. Gilbert used to “clone” MAT®. (P.366:6-

18   23 [Aoki, Vol. 2]; P.Exh.11 [CAT presentation].) (Mr. Gilbert has also referred to CIIIT as the precursor

19   to APT. (See P.Exh.126 [2013 Diabetes.Net Printout, Bates P1450 - Photo of Mr. Gilbert with “CIIT”

20   sign underneath APT description on his website, www.diabetes.net].) Mr. Gilbert has also claimed that

21   CAT is the same as PIVIT, which Mr. Gilbert acknowledged is the prior name for MAT®. (P.2531:4-5

22   [Gilbert, Vol.15]; P.Exh.103 [APT Article, Bates P1104]; P.Exh.176 [CAT Presentation, Bates P2388].)

23   Mr. Gilbert set up Cellular Activation Therapy Clinics and later changed its name to Trina Health. Both

24   are essentially the same company. (P.2043:7-25; P.2044:5-14 [Gilbert, Vol.12].)

25          Pursuant to the 2009 Medicare decision, entities using any form of outpatient intravenous insulin

26   treatment are required to bill using a specific Medicare assigned G code to enable Medicare to detect and

27   reject payment. (P.1063:2-3 [Aoki, Vol.6]; P.1381:12-19; P.1382:1-25; P.1383:1-5 [Aoki, Vol.8];

28   P.1659:3-7 [Arcangeli, Vol.10].) Despite the decision, Mr. Gilbert continued to tout to the public that
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1    APT is covered by Medicare. This is reflected in the 2015 Trina Health Prospectus which Mr. Gilbert

2    wrote to entice others to invest in a Trina Health clinic in Alabama. (P.791;7-9; P.841:15-23 [Kalifeh,

3    Vol.5].) The prospectus states at various places that (1) Medicare is currently reimbursing for the

4    treatment under its existing codes; (2) Trina Health is currently receiving payment from Medicare as well

5    as other insurance companies and in the past has received reimbursements; (3) Medicare has paid at a

6    rate of $650 and private insurance up to $800; and (4) that a Medicare provider number is required to bill

7    Medicare. (P.Exh.112 [Trina Prospectus, at Bates P4597, P4619, P4620, P4588, and P4621]. 13)

8            Despite the 2009 Decision, Trina Health investors were not made aware of Medicare

9    reimbursement issues. (P.794:9-11 [Kalifeh, Vol.5]. Mr. Kalifeh testified Mr. Gilbert stated Medicare

10   was paying for it at the time. (P.794:12-14 [Kalifeh, Vol.5].) Mr. Elliott, owner of the Trina Health of

11   Arizona clinic, testified it was represented to him that they would bill Medicare for the treatment.

12   (P.1144:1-2 [Elliott, Vol.7].) Ms. Shaffer, a patient/employee of the Trina clinics in MI and AZ testified

13   “[t]he biggest problem was that the clinics opened with the understanding that there was Medicare

14   coverage for patients” although there was no such coverage. (P.2623:7-12 [Shaffer, Vol.16].)

15           Rather, Trina Health offered services where the clinics would send their bills to Trina Health and

16   they would then bill it through to Medicare. (P.1708:24-25; P.1709:1-5 [Miller, Vol.10]; P.1144:16-18

17   [Elliott, Vol.7].) In other instances, the clinics would bill Medicare directly. (P. 2192:12-15 [Gilbert,

18   Vol. 13].) Instead of using the required G code, Trina Health was billing individual steps. (P.1659:3-

19   11,19-25; P.1660:1-21 [Arcangeli, Vol.10.]; P.1145:18-24 [Elliott, Vol.7].) Eventually, Medicare caught

20   on and stopped paying. (P.1145:25; P.1146:1-3 [Elliott, Vol.7]; P.1710:7-14, [Miller, Vol.10]; P.Exh.111

21   [Gilbert Email To Duyen]; P.1158:16-25; P.1159:1-12 [Elliott, Vol.7]). As a result, many of the clinics

22   closed because of the lack of Medicare reimbursement. (See e.g., P.1145:25; P.1146:1-8 [Elliott, Vol.11];

23   P.1866:1-8; P.1877:1-6; P.1878:1-8; P.1885:16-20; P.1886:1-14 [Gilbert, Vol.11].)

24           Thus, Mr. Gilbert falsely misrepresented to the public that his method of pulsatile insulin therapy

25   was covered by Medicare. First, Mr. Gilbert changed the name of Dr. Aoki’s MAT® treatment from

26
             13
27              In his 2016 letter to the AL Ins. Commissioner, Mr. Gilbert also stated, “The Artificial Pancreas Treatment® is
     FDA cleared, Safe and Effective, paid for by Medicare and other insurance companies, other than Alabama’s BCBSAL.”
28   (P.Exh.112 [Gilbert Letter, P4697].)

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1    “Cellular Activation Therapy” to “Artificial Pancreas treatment,” presumably to circumvent the language

2    of the 2009 Medicare Noncoverage Decision. It is also clear that under the decision’s language, whether

3    termed “CAT” or “APT,” no coverage is afforded for any type of outpatient intravenous insulin therapy

4    guided by the results of the use of respiratory quotient or glucose measurements. (P.Exh.77 [Medicare

5    Decision].) APT administers pulses of insulin using RQ. (See supra, II.H.) Even if Defendants claim

6    they don’t use RQ, at minimum their treatment is guided by the results of glucose measurements.

7    (P.2183:6 [Gilbert, Vol.13]; see also e.g., P.Exh.203 [Arizona Manual, Bates P3403].)

8                   3.      Defendants Falsely Claim That There Has Never Been Adverse Reactions
                            To APT
9
            In various forms of advertisements, including print and videos, Defendants claim there has never
10
     been any adverse reaction to APT. (Exh.126 [2013 Diabetes.Net Printout, Bates P1453]; see also
11
     P.Exh.192 [2012 Glenn Wilson Interview, “No single incident of an adverse reaction” @6:09]; P.Exh.112
12
     [2015 Trina Presentation: “there has never been an adverse reaction.” Bates P4538.)
13
            Plaintiffs contend that Defendants directly infringe on Dr. Aoki’s patents by performing MAT®
14
     under the guise of “APT” or under the most recent incarnation, Microburst Insulin Infusion or “MII.”
15
     (P.2555:2-5 [Shaffer, Vol.16].) To the extent Defendants attempt to circumvent Dr. Aoki’s patents by
16
     altering one or two steps of the procedure, these variances result in patients experiencing adverse
17
     reactions. Ms. Shaffer, a patient at the Trina Health clinics in Missouri and Arizona, testified that the
18
     change from the typical three-hour treatment sessions to a two-hour treatment session at the Arizona
19
     clinic led to fatigue, vision changes, and less than optimal laboratory tests results (i.e. kidney readings).
20
     (P.2572:20-25; P.2573:1-12 [Shaffer, Vol.16].) These are adverse reactions which should have been
21
     reported to the FDA. (P.2632:19-24 [Shaffer, Vol.16].)
22
            When she subsequently became an employee at the Missouri clinic tasked with revamping their
23
     marketing materials, she re-wrote the clinic’s brochures to eliminate statements claiming “no adverse
24
     effects to the treatment” which statements she believed to be false given her experience. (P.2631:21-
25
     25; P.2632-1-6 [Shaffer, Vol.16].) Ms. Shaffer’s experience echo and validate Dr. Aoki’s concerns
26
     about patient health when clinics are allowed to run awry. Indeed, prior to this lawsuit and in
27
     connection with sending out cease and desist letters to unauthorized clinics who were using his
28
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1    treatment, Dr. Aoki invariably learned of problems with patients. (P.1587:12-24 [Aoki, Vol.9].)

2             M.       Thirty-Three Clinics And Calculation Of Damages
3             Mr. Gilbert confirmed the existence of at least 33 clinics. (P.1856-1899 [Gilbert, Vol.11];

4    P.2197:12-14 [Gilbert, Vol.13]; P.2378:8-9 [Gilbert, Vol.14].)14 He also testified that the number of

5    chairs in these clinics ranged as high as 15 to as low as 2. (P.2196:22-25; P.2208:21-24 [Gilbert, Vol.13].)

6    The Trina Offering Memorandum which Mr. Gilbert wrote, stated that “[c]linics start with a minimum of

7    8 to 12 chairs and can expand to 18 or more depending upon the available space.” (P.Exh.112 [Trina

8    Prospectus, Bates P4598 (emphasis added)]; P.791:7-9; P.841:15-23 [Kalifeh, Vol.5].)

9             The license agreements reflect these clinics paid at minimum a (i) $20K per chair license fee

10   (going as high as $22,500 – see P.Exh.105 [Animo Health License] in chart – and in at least one instance,

11   a $100K per clinic fee – see P.Exh.108 [Newco License]), (ii) a one-time $10K training fee, (iii) a one-

12   time $500 oversight fee, and (iv) a royalty fee / cooperation fee ranging from 5 to 13% of gross revenue.

13   A chart of these license agreements and their relevant license provisions is attached at Appendix C.

14            Defendants failed to produce their financials. (See, infra, at section II.M.1; P.34:4-6 [Gilbert,

15   Vol.1]). But using an average of 10 chairs per clinic, the Court can reasonably deduce the following as

16   a basis for damages:
             33 clinics x 10 chairs x $20,000 = $6,600,000
17           33 clinics x $10K training fee = $330,000
             33 clinics x $500 oversight fee = $16,500
18
     Total: $6,946,500. Additionally, the license agreements required that clinic licensees purchase a Bionica
19
     pump to administer the patented treatment, defining each clinic to be one pump per chair. (See infra,
20
     Appendix C.) Based on an average of 10 chairs per clinic, the Court estimates each clinic purchased on
21
     average 5 pumps at a unit price of $8,750 (P.1150:12-13 [Elliott, Vol.7]; P.1904:12-15 [Gilbert, Vol.11];
22
     P.2026:18-22 [Gilbert, Vol.12]) to administer the patented treatment, totaling $1,443,750 for 33 clinics.15
23
24            14
                 These clinics are located in: Alabama (Birmingham, Foley, and Fairhope), Arizona (Scottsdale), California
25   (Hayward, Newport Beach, Roseville, Sacramento, San Diego, Santa Barbara, West Los Angeles), Florida (Miami,
     Kendall), Kansas (Wichita), Louisiana (Shreveport), Louisiana (Trina Health of Lake Charles), Mississippi (North
26   Sunflower Medical Hospital, Boonville, and New Albany), Missouri (Chesterfield), Montana, Nevada (Las Vegas), New
     Jersey, North Carolina, New York (Bronx), Oklahoma (Oklahoma City), Tennessee (Memphis), Texas (Dallas, Fort Worth
27   aka North Texas, West Houston and Tyler), Virginia (Pounding Mill) and Virginia (Grundy). (Id.)
              15
                 The Court notes the Trina presentation as well as Trina prospectus which Mr. Gilbert wrote states in various
28   places the approximate payments from insurance companies, including that payments range from “$800” to
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1            N.       Involvement Of The Other Defendants
2                     1.       The Remaining Defendants
3            Mr. Buckman was the medical director of the Trina Health clinics in Hayward, Roseville, and

4    Sacramento and oversaw the administration of the APT treatment at these clinics. (P.952:22-25;

5    P.953:1; P.960:8-17; P.961:22-25; P.962:1-9 [Buckman, Vol.6].)

6            Melanie Kunz is a nurse practitioner and was involved with training the clinics on the treatment.

7    Ms. Kunz is the president and CEO of Mededco, LLC. Mededco was the medical training and

8    oversight company for Trina clinics, including Diabetic Innovations, LLC. (P.1959:21-25; P.1960:1

9    [Gilbert, Vol.11]; P.Exh.175 [Diab Innov Printout, Bates P2385-2386].) Ms. Kunz was a nurse

10   practitioner in the Trina Health of Arizona clinic. (P.1128:11-13 [Elliott, Vol.7].) Ms. Kunz through

11   Trina Health taught the treatment to the Arizona clinic. (P.1971:19-22 [Gilbert, Vol.11].)

12           Diabetic Innovations, LLC16 was a Texas entity formed to set up clinics to provide APT

13   (formerly Cellular Activation Therapy). Its management team comprised of Ms. Kunz and Gilbert.

14   (P.Exh.172 [Tx Sec. of State]; P.Exh.175 [Diab Innov Printout, Bates P2385]; P.Exh.176 [CAT Prsn].)

15           Marc R. Rose17 and Michael McCarthy were among the first ones who did business as a

16   licensed Trina Health clinic (Costa Mesa). (P. 1714:1-12 [Gilbert, Vol.10].) They treated patients using

17   Dr. Aoki’s patented technology. (P.2968:24-25, P.2969:1-4 [Aoki, Vol.18].)

18           Faising Chui was the manager and organizer of Diabetic Life Pulse of Louisiana, LLC, a Trina

19   Health licensed clinic in Shreveport, Louisiana that operated for three to four years. Limi Management,

20   Inc. along with Faising Chui are managers and/or members of this Trina Health clinic. (P.Exh.162

21   [Articles of Org, Bates P1324, 1329]; P.1880:16-25; P.1881:1-17 [Gilbert, Vol.11].)

22           John Mullen, Richard Girard and Glenn Wilson are principals of a Santa Barbara entity called

23
24   “$1,000/treatment day.” See e.g., P.Exh.112 [2015 Trina Presentation, Bates P4588; Prospectus, Bates P4598]. However,
     the Court finds license fees and pump sales are a more reliable and appropriate basis for determining damages.
25           16
                Defendant Diabetic Innovations, LLC is a Texas entity and distinct from the Trina Health of Arizona clinic, also
26   called Diabetic Innovations, LLC, which had a license agreement with Trina Health / Bionica (see P.Exh.95 [Diabetic
     Innovations, LLC license].). Only the former is a defendant in this case. During trial, lead counsel confused the two.
27           17
               Mr. Rose was an ophthalmologist who surrendered his license in 2016. This info is available via the CA
     Medical Board https://search.dca.ca.gov/details/8002/C/37054/57c0d216cb2951468ed4a75abf50afd0
28
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1    Life Pulse Health, LLC. Life Pulse Health, LLC is also a defendant, albeit has a suspended corporate

2    status. (See infra, II.N.2.) Life Pulse Health, LLC entered into a license agreement with Trina Health

3    to provide APT. (P.Exh.229 [Life Pulse Health License, Bates P3-5882].) The agreement was signed

4    by John Mullen on behalf of Life Pulse Health and Mr. Gilbert on behalf of Trina Health, LLC and

5    Bionica, Inc. (Id. at Bates P3-5881].) This license agreement specifically references as an exhibit

6    and incorporates all of Dr. Aoki’s patents. (Id. at Bates P3-5867 ¶(1)u, P3-5882.)

7             Timothy Tight was another licensee of MAT® through Mr. Gilbert and his entities and was

8    attempting to start clinics using MAT®. Around the time Mr. Gilbert changed his company from

9    Cellular Activation Therapy to Trina Health18, Mr. Tight became the manager of a Trina Health clinic,

10   i.e. Trina Health of West LA. (P.1494:17-25; P.1495:1-4; P.1496:20-25; P.1497:1-22 [Aoki, Vol.9].)

11                     2.       Default Is Entered Against These Defendants
12            At the start of trial, the following corporate defendants had a suspended and/or forfeited status

13   with the California Secretary of State: (1) Life Pulse Health, LLC; (2) Bionica International, Inc.19;

14   and (3) Diabetic Life Pulse, Inc. Additionally, the following out-of-state entity, Diabetic Life Pulse of

15   Louisiana, LLC, has a revoked corporate status Louisiana.20

16   III.     CONCLUSIONS OF LAW
17            A.       Judicial Admissions
18                     1.       Legal Standard
19            Admissions made in the course of litigation are generally treated as “judicial admissions,” i.e.,

20   they are more than mere evidence of the facts admitted—they conclusively establish the matter.

21   Several forms of “judicial admission” are recognized under federal law, including statements in briefs

22   filed with the court. Fed. Civ. Trials and Evid., §8:980, The Rutter Group, 2019. Judicial admissions

23
24            18
                With respect to the transition from CAT to APT, see P.366:6-23 [Aoki, Vol. 2]; P.Exh.11 [CAT presentation];
     P.2043:7-25; P.2044:5-14 [Gilbert, Vol.12].
25
              19
                 During trial, Mr. Gilbert claimed that Bionica International, Inc. converted to a general partnership. (P.63:8-13,
26   [Gilbert, Vol.1].) No supporting evidence was proffered. In any event, as reflected on the CA Secretary of State’s website,
     Bionica International, Inc. has a suspended corporate status. See https://businesssearch.sos.ca.gov/CBS/Detail
27            20
                The first page of the document shows an “inactive” status but the reason for the “inactive” state is referenced on
28   the second page, which shows a revoked corporate status as of August 15, 2018.

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1    are more than evidentiary admissions. They have the effect of removing the admitted fact from issue

2    and wholly dispensing with the necessity for proof of the fact. Id. at §8:982, citing American Title Ins.

3    Co. v. Lacelaw Corp. 861 F.2d 224, 226 (9th Cir. 1988); Barnes v. Owens-Corning Fierglas Corp.,

4    201 F.3d 815, 829 (6th Cir. 2000). Judicial admissions are binding on the parties for purposes of the

5    case in which the admissions are made, including appeals. Id. at §8:984, citing Ferguson v.

6    Neighborhood Housing Services of Cleveland, Inc., 780 F.2d 549, 551 (6th Cir. 1986); see Rojas v.

7    Roman Catholic Diocese of Rochester, 660 F.3d 98, 106 (per curiam) (2nd Cir. 2011). A court has

8    discretion to treat factual statements by counsel in briefs filed as binding judicial admissions. See

9    Gospel Missions of America v. City of Los Angeles, 328 F.3d 548, 556-557 (9th Cir. 2003) –trial and

10   appellate briefs; Holman v. Kemna, 212 F.3d 413, 417-48 (8th Cir. 2000).

11                  2.      Defendants Have Admitted In Briefs Filed With The Court That Their APT
                            Treatment Is The Same As Dr. Aoki’s MAT® Treatment.
12
            On December 6, 2011, Defendants filed a Motion To Dismiss / MSJ on the basis that they have
13
     been using Dr. Aoki’s MAT® treatment under the moniker, APT through a purported exclusive license
14
     that they claim they received from Dr. Aoki for over a decade now. (ECF 11.) These facts were re-
15
     asserted when Defendants filed a similar motion nearly 1.5 years later on April 17, 2013. (ECF 139.)
16
     Nowhere in either of these motions do Defendants claim in the alternative that the “APT” treatment as
17
     they’ve called it, which is subject to this purported license received from Dr. Aoki is somehow different
18
     from Dr. Aoki’s MAT® treatment. In fact, Defendants have admitted otherwise:
19
20   •   “Moving Defendants variously provide treatment to diabetes patients using Defendant Bionic, Inc.’s
         medical infusion pump. The pump is the only device cleared (“approved”) by the U.S. Federal and
21       Drug Administration (“FDA”) to deliver the pulsatile intravenous insulin therapy at issue in the
         First Amended Complaint (the “FAC”). This therapy is referred to in the FAC as metabolic
22
         activation therapy (the “technology”). Thousands of patients have been successfully treated
23       through out-patient facilities operated by Moving Defendants under licenses from Defendant(s)
         Gilbert and/or Bionica.” (MPA ISO Motion to Dismiss, ECF 11, p. 1:7-13.; MPA ISO Motion to
24       Dismiss, ECF 139, p. 1:6-13.) (Bold emphasis added.)
25
     •   “As a matter of written record, Gilbert and Bionica hold exclusive grants from Plaintiff Aoki of
26       the right to use the technology, with Plaintiffs retaining a royalty on Defendants’ efforts and
         certain research and development rights.” (MPA ISO Motion to Dismiss, ECF 139, p. 1:14-2:4; see
27
         also MPA ISO Motion to Dismiss, ECF 11, p. 1:14-19.) (Bold emphasis added.)
28
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     •   “For more than eight years before this action was filed, Defendant Gilbert has operated and
1        sublicensed to others. . . . . This technology is licensed to Gilbert and Bionica . . .” (MPA ISO
2        Motion to Dismiss, ECF 139, p. 2: 8-14.) (Bold emphasis added.)

3    •   “The gravamen of the FAC, and a necessary element of each of the claims for relief, is that Moving
         Defendants do not have the right to use the technology. This contention is barred as a matter of
4
         law by the 2001 Settlement Agreement License and the 2005 License purchased from CII,
5        both of which independently give Moving Defendants the right to use the technology. Sep.
         Statement ¶¶ 1, 2, respectively. As set forth therein, the Licenses grant Defendants Gilbert and
6        Bionica the exclusive rights to the technology. In turn the remaining Defendants operate
7        under sublicenses from Gilbert and Bionica. . . (MPA ISO Motion for Motion to Dismiss, ECF
         139, p. 7:20-8:12.) (Bold emphasis added.)
8
                       3.        Defendants Admit Under Oath That They Are Using Dr. Aoki’s MAT®
9                                Treatment.

10          In Mr. Gilbert’s declaration submitted in support of motions to dismiss, Mr. Gilbert who was

11   then a lawyer representing himself and all the Defendants in this action unequivocally admitted that he

12   and Defendants have been using Dr. Aoki’s technology pursuant to a purported license and have been

13   doing so since at least “2003 or 2005.” (P.Exh.93 [Gilbert Supplemental Decl., ¶¶a-f]; ECF 165.21) He

14   further declares there has been no changes to the treatment and that even if there were, it would be

15   “irrelevant” because such modifications / improvements are captured by the purported license from Dr.

16   Aoki. (Id.) The Court finds that such admissions are binding on Mr. Gilbert and Defendants.

17          B.         Res Judicata

18                     1.        Legal Standard

19          Factual or legal issues necessarily and finally adjudicated in an earlier action or proceeding may

20   be entitled to preclusive effect in a later lawsuit on a different claim. The effect may be to bar

21   relitigation of those issues, if not the entire claim. Arizona v. California, 530 U.S. 392, 414 (2000);

22   Rest.2d Judgments §27 (1982). If the former judgment is a state court judgment, federal courts must

23   apply the res judicata and collateral estoppel rules of the state that rendered the underlying judgment.

24   Migra v. Warren City School Dist. Bd. Of Ed., 465 U.S. 75, 81 (1984); Holcombe v. Hosmer, 477 F.3d

25   1094, 1097 (9th Cir. 2007). The Nevada Supreme Court has held that the “following factors are

26   necessary for application of issue preclusion: ‘(1) the issue decided in the prior litigation must be

27
            21
28               See also full text at supra, II.H.1.

                                                             -42-
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1    identical to the issue presented in the current action; (2) the initial ruling must have been on the merits

2    and have become final; (3) the party against whom the judgment is asserted must have been a party or

3    in privity with a party to the prior litigation’; and (4) the issue was actually and necessarily litigated.”

4    Five Star Capital Corporation v. Michael W. Ruby, 124 Nev. 1048, 1055 (2008).

5                   2.      Relevant Factual Events
6           On August 28, 2001, the Diabetex Settlement Agreement was inked, transferring Dr. Aoki’s

7    rights back to him, not Mr. Gilbert. (P.Exh.42 [Diabetex Settlement]; see supra, II.D.2.)

8           On August 4, 2003, MTC filed a complaint in Nevada court against Dr. Aoki, MI, Mr. Gilbert,

9    and Hamilton-May (aka Bionica, Inc.), claiming breach of the Term Sheet that Mr. Gilbert had

10   attempted to negotiate as part of a deal to license Dr. Aoki’s technology to MTC. (P.Exh.62

11   [Complaint]; P.Exh.60 [Term Sheet].)

12          On March 16, 2004, MTC dismissed Mr. Gilbert and Bionica, Inc. from their lawsuit.

13          On June 7, 2004, Mr. Gilbert testified in the Nevada action that the technology rights went back

14   to Dr. Aoki from Diabetex. (See supra, II.D.2.) Mr. Gilbert does not claim on behalf of himself or

15   Bionica, the rights to Dr. Aoki’s technology at all.

16          On September 20, 2004, the Nevada court granted Dr. Aoki and MI’s motion for preliminary

17   injunction, finding “[a]ny agreements entered into by Dr. Aoki and/or MI prior to the May 11, 2003,

18   Term Sheet (Exhibit 1) did not alienate Dr. Aoki’s control over the use and marketing of MAT, which

19   he developed throughout his entire career.” (P.Exh.65 [Prel. Inj., Bates P3737, ¶1].)

20          On February 23, 2005, unbeknownst to Dr. Aoki, Mr. Gilbert and Bionica enter into the CI-

21   Bionica license which would purport to transfer Dr. Aoki’s technology to Bionica. (P.Exh.66 [CI-

22   Bionica License]; P.Exh.72 [Aoki Dinucci Letter].)

23          On March 16, 2005, Dr. Aoki and MI filed a Second Amended Cross-Complaint against Bionica

24   (f/k/a Hamilton-May) and Mr. Gilbert. (P.Exh.67 [Cross-Complaint].)

25          On June 17, 2005, Mr. Gilbert is deposed in Sacramento in a separate lawsuit and questioned

26   regarding Bionica’s business activities related to the sale or marketing of diabetes treatment and he fails

27   to disclose the existence of the CI-Bionica license, entered into just four short months ago. (P.2215:15-

28   24; P.2216:1-6; P.2219:18-24 [Gilbert, Vol.13.])
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1           On June 22, 2005, the Nevada court granted Dr. Aoki and MI’s Application for an Order to

2    Show Cause, finding that (i) Dr. Aoki developed MAT®; (ii) Under no circumstances can anybody

3    have a right to MAT® other than Dr. Aoki, MI or MTC22; and (iii) The Court previously determined

4    that Bionica does not have any rights to MAT®. (P.Exh.6923 [OSC, ¶¶1, 3, and 4].) As of the date the

5    OSC was granted, both Mr. Gilbert and Bionica were cross-defendants in the case. (See supra, II.F.)

6           On June 7, 2006, MI dismissed Mr. Gilbert and Bionica (f/k/a Hamilton-May) from the lawsuit.

7    (D.Exh.F2-Tab 32.) However, Dr. Aoki did not dismiss either of them. (Id.)

8           On August 4, 2009, the Nevada Court issued a permanent injunction adopting the findings of

9    fact of the September 20, 2004 preliminary injunction. (P.Exh.76 [Nevada Judgment and Order].)

10                     3.       Analysis
11          The Court finds that the Nevada Court has previously determined that no one has rights to the

12   MAT® technology but Dr. Aoki. (P.Exh.65 [Prel. Inj.]; P.Exh.69 [OSC Order].) This is the same issue

13   litigated in this action. These rulings were on the merits and became final as a result of the final 2009

14   Judgment and Order. (P.Exh.76].) The parties in the Nevada case were either the same parties or in

15   privity with the parties in this action. At the time the preliminary injunction was issued, although MTC

16   had dismissed Mr. Gilbert and Bionica as defendants, their interests were certainly in privity with MTC

17   with respect to the license rights to Dr. Aoki’s technology. And yet, at the preliminary injunction

18   evidentiary hearing, Mr. Gilbert testified that the technology rights transferred back to Dr. Aoki after

19   the Diabetex settlement. (P.2096:13-24; P.2097:13-25; P.2098-2100 [Gilbert, Vol.12]; P.Exh.63

20   [Nevada Transcript, p.39:1-10; p.76:13-24; p.77:1-15].)

21          Subsequently and during the Nevada action, Mr. Gilbert/Bionica, Inc. entered into the license

22   with CI which Defendants now claim gave them a license to Dr. Aoki’s technology. (P.Exh.66 [CI-

23   Bionica License]; ECF 11 and 139 [Defendants’ MSJs].) A few weeks after entering into this license,

24   both Mr. Gilbert and Bionica became cross-defendants in the Nevada action. (P.Exh.67 [Second Cross-

25   Complaint].) Yet at no time thereafter did Mr. Gilbert or Bionica ever assert rights to Dr. Aoki’s

26
            22
27               MTC was allowed to operate clinics until final resolution of the preliminary injunction.
            23
28               The Application For Order To Show Cause is attached as Exhibit B to the Nevada Court’s June 22, 2005 ruling.

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1    technology under the CI-Bionica license. In fact, at Mr. Gilbert’s deposition (in a separate but related

2    case) just a few months after being brought back as a cross-defendant in the Nevada action and after

3    entering into the CI-Bionica license, Mr. Gilbert was asked about and failed to disclose the existence of

4    this license. (See supra, II.G.3; P.2215:15-24; P.2216:1-6; P.2219:18-24 [Gilbert, Vol.13.].) Five days

5    after the deposition, the Court issued the 2005 OSC Order (P.Exh.69), affirming that nobody but Dr.

6    Aoki had rights to MAT®. At the time of the issuance of this 2005 OSC Order, both Mr. Gilbert and

7    Bionica were cross-defendants in the case and had every opportunity to raise the issue as to their rights

8    under the CI-Bionica license but did not.

9           C.      Patent Infringement
10                  1.      Generally
11          Patent infringement is a question of fact. See, e.g., i4i Ltd. v. Microsoft Corp., 598 F.3d 831,

12   849 (Fed. Cir. 2010). Infringement must be proven by a preponderance of the evidence. Duncan

13   Parking Technologies, Inc. v. IPS Group, Inc., 914 F.3d 1347, 1360 (Fed. Cir. 2019).

14                  2.      Direct Infringement
15                          a.     Legal Standard
16          “[W]hoever without authority makes, uses, offers to sell, or sells any patented invention, within

17   the United States or imports into the United States any patented invention during the term of the patent

18   therefor, infringes the patent.” 35 U.S.C. §271(a). “[I]nfringement and validity analyses must be

19   performed on a claim-by-claim basis.” Amazon.com, Inc. v. BarnesandNoble.com, Inc., 239 F.3d 1343,

20   1350 (Fed. Cir. 2001). “An infringement analysis involves the two-step process of ‘construing the

21   claims and comparing the properly construed claims to the accused product.’” Tinnus Enterprises, LLC

22   v. Telebrands Corp., 846 F.3d 1190, 1203 (Fed. Cir. 2017). A patent owner “can employ any method

23   of analysis that is probative of the fact of infringement.” Forest Laboratories, Inc. v. Abbott

24   Laboratories, 239 F.3d 1305, 1312 (Fed. Cir. 2001). A patent owner may rely on appropriate

25   inferences, circumstantial evidence, and admissions. Liquid Dynamics Corp. v. Vaughan Company,

26
27

28
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1    Inc., 449 F.3d 1209, 1219 (Fed. Cir. 2006). An accused infringer may, expressly or implicitly, admit

2    infringement. E.g., Toro Co. v. Deere & Co., 355 F.3d 1313, 1322 (Fed. Cir. 2004)24.

3                               b.       Analysis
4             The evidence supporting direct patent infringement are set forth above. (See e.g. supra, II.H.

5    and I.) They include reference to the (i) Arizona clinic manual, (ii) the Florida protocol, (iii) witness

6    testimonies, (iv) the numerous Trina Health license agreements, including specifically the Life Pulse

7    Health, LLC license which explicitly references Dr. Aoki’s RQ patents as the basis of the subject

8    technology to be performed for administering APT; (v) the various APT/CAT presentations or slides,

9    prospectus, websites, and APT article written by Mr. Gilbert; and (vi) video clips.

10                                       (1)      Mr. Gilbert And Defendants Admit To Infringement
11            Mr. Gilbert admitted on behalf of himself and all Defendants whom he was then representing

12   that he and they have been using Dr. Aoki’s MAT® technology pursuant to a purported license. (See

13   supra, II.I.1) Mr. Gilbert also admitted in an email to counsel that at least one of his clinics was

14   infringing on the patents. (See, supra, II.I.2.) The Defendants who were licensees of the Hayward

15   clinic admitted that they were using Dr. Aoki’s patented technology at their clinic and Mr. Buckman,

16   the medical director for the Trina Hayward, Roseville and Sacramento clinics testified that he oversaw

17   the same procedure at each of these clinics and that the source of that procedure was from Trina Health,

18   including the manual referenced herein as the Arizona manual. (P.950:24-25; P.951:1-13; P.952:22-25;

19   P.953:1; P.960:8-17; P.961:22-25; P.962:1-9 [Buckman, Vol.6]; P.Exh.203 [Arizona manual].)

20                                       (2)      Claim By Claim Analysis
21            An exemplar claim by claim analysis of an at-issue patent, the ‘736 patent, a system and method

22   patent for treating eye and nerve disease is set forth below. Additional exemplar claims chart analysis

23   are attached hereto at Appendices D1 and D2.
                    Claim                                                 Infringing Evidence
24    (1) A method for treating eye and          See supra II.H.1 and Appendix A, chart of infringing evidence discussing
25
              24
26                A district court’s grant of summary judgment of literal infringement of a patent claim was proper even though a
     district court erred by not construing the claim: “Where [an accused infringer’s] employees, [its] counsel, and the designer
27   of the [accused device] all acknowledged infringement, and where [the accused infringer] does not dispute that the accused
     device is in all material respects a [patent] embodiment, the district court properly determined that [the accused infringer]
28   infringed [the patent] claim . . . as a matter of law.”

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     nerve disease associated with a         various tissues and complications (last row after step 9).
1    diminution in glucose oxidation in
     patients through an intravenous site    See also supra II.L.1 citing P.Exh.112 [2015 Trina Prospectus, Bates
2    administering a pulse of insulin to a   P4596] which states APT “is the only clinically proven safe and effective
     patient comprising the steps of:        way to treat all of the complications of diabetes;” see also P.Exh.112 at
3                                            Bates 4609; P.Exh.11 [CAT Presentation, Bates P1013, 1017]).
     a) determining a respiratory            See supra II.H.1 and Appendix A, chart of infringing evidence discussing
4
     quotient of the patient,                use of RQ at step 1.
5
                                            See also supra II.H.2, 3, 4 and 5 discussing evidence of use of RQ.
6    b) having the patient consume a        See supra II.H.1 and Appendix A, chart of infringing evidence discussing
     liquid or food containing glucose,     administration of oral glucose at step 5.
7    c) administering intravenously the     Ms. Shaffer testified that patients at the Trina clinics held a competition
     pulse of insulin at a regular interval to see who could get to an RQ goal of over .90, i.e. 100 or 1. (P.2609:23-
8    of time until the respiratory quotient 25; P2610:1-2 [Shaffer, Vol.16].)
     is 0.90 or greater,
9    d) providing the patient a rest        See supra II.H.1 and Appendix A, chart of infringing evidence discussing
     period, and                            rest period at step 7.
10   e) repeating the steps a-d three       See supra II.H.1 and Appendix A, chart of infringing evidence discussing
     times,                                 three cycles of treatment at step 8.
11   (2) The method of claim 1, wherein See supra II.H.1 and Appendix A, chart of infringing evidence discussing
     the intravenous site further           IV access and pump/syringe at steps 2 and 3.
12
     comprises a needle or catheter
13   located in the patient's body, hand
     or forearm.
14   (3) The method of claim 1, wherein See supra II.H.1 and Appendix A, chart of infringing evidence discussing
     the liquid or food contains 60 to      administration of oral glucose at step 5. Specifically, page 79 of the
15   100 grams of glucose.                  manual mentions giving the patient 75 grams of glucose (dextrose).
     (4) The method of claim 1, wherein See supra II.H.1 and Appendix A, chart of infringing evidence discussing
16   the pulse of insulin is administered   use of pump or syringe at step 3.
     by an intravenous infusion device.
17   (5) The method of claim 1, wherein See supra II.H.1 and Appendix A, chart of infringing evidence discussing
     the interval of time is about 6 mins. insulin pulses at 6 minute intervals at step 4.
18   (6) The method of claim 1, wherein See supra II.H.1 and Appendix A, chart of infringing evidence discussing
     the pulse of insulin is tailored to    various tissues and complications including retinopathy (last row after
19   achieve increased retinal and          step 9).
     glucose oxidation by enhanced
20
     pyruvate dehydrogenase complex         See also supra II.L.1 citing P.Exh.112 [2015 Trina Prospectus, Bates
21   activity.                              P4596] which states APT “is the only clinically proven safe and effective
                                            way to treat all of the complications of diabetes;” see also P.Exh.112 at
22                                          Bates 4609; P.Exh.11 [CAT Presentation, Bates P1013, 1017]).

23                                           See supra II.L.1 citing P.Exh.112 [2015 Trina Prospectus, Bates P4606]
                                             stating APT “mimics normal stimulation of the liver and produces the
24                                           necessary enzymes to cause all the cells of the body to become more
                                             metabolically normal;” see also P.Exh.112, Bates P4531.
25
                                             See also supra II.K. citing MAT® slides used in APT presentations
26                                           pertaining to fuel oxidation, i.e. P.Exh.112 [2015 Trina Presentations,
                                             Bates 4533], P.Exh.195 [Trina Health Transforming Metabolism2 Video],
27                                           P.Exh.12 [2017 APT Presentation, Bates 2683; P.1457:16-20 [Aoki,
                                             Vol.9].)
28
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      (7) The method of claim 1, wherein       See supra II.H.1, chart of infringing evidence discussing IV access at step
1     the intravenous site is converted to     2, use of a pump or syringe at step 3 and rest period at step 7.
      a heparin or a saline lock during the
2     rest period.                             See also supra II.A.7 (citing P.Exh.103 [APT Article, Bates P1105],
                                               P.Exh.112 [Trina Prospectus, Bates P4597]), discussing activities patients
3                                              can do during rest period. This leads to the inference that during rest
                                               periods, patients are disconnected from the pump and the IV "stoppered"
4                                              (essentially converted to a saline lock) or else blood would come out of
                                               the catheter.
5
      (8) The method of claim 1, wherein       See supra II.H.1, chart of infringing evidence discussing rest period of up
6     the rest period is one hour.             to one hour at step 7.
      (9) The method of claim 1, wherein       See supra II.H.1, chart of infringing evidence discussing administration
7     said steps a-e are repeated at least     of treatment once a week or more than once a week at step 9.
      once a week.
8     (10) The method of claim 9,              See supra II.H.1, chart of infringing evidence discussing administration
      wherein said steps a-e are repeated      of treatment once a week or more than once a week at step 9.
9     three or more times a week.
                                               See also P. 84 of Arizona Manual (P.Exh.203) ("There will be some
10                                             interpretation required as a single session showing a continued ability to
                                               maintain good metabolism may not be enough, and no fewer than 3
11                                             consecutive days of Metabolic ability are needed to then transition into a
                                               10 day or 2 week schedule.")
12

13                   3.      Doctrine of Equivalence

14                           a.       Legal Standard
             “Even when an accused product does not meet each and every claim element literally, it may
15
     nevertheless be found to infringe the claim ‘if there is ‘equivalence’ between the elements of the
16
     accused product or process and the claimed elements of the patented invention.’” Intendis GMBH v.
17
     Glenmark Pharmaceuticals Inc., USA, 822 F.3d 1355, 1360 (Fed. Cir. 2016) (quoting Warner–
18
     Jenkinson Co. v. Hilton Davis Chem. Co., 520 U.S. 17, 21 (1997)). “Infringement under the doctrine of
19
     equivalents is a question of fact that [the Federal Circuit] review[s] for clear error after a bench trial.”
20
     Intendis GMBH, supra, 822 F.3d at 1360 (Fed. Cir. 2016).
21
             “A finding of infringement under the doctrine of equivalents requires a showing that the
22
     difference between the claimed invention and the accused product was insubstantial. Graver Tank &
23
     Mfg. Co. v. Linde Air Prods. Co., 339 U.S. 605, 608 (1950). One way of doing so is by showing on a
24
     limitation by limitation basis that the accused product performs substantially the same function in
25
     substantially the same way with substantially the same result as each claim limitation of the patented
26
     product.” Crown Packaging Technology, Inc. v. Rexam Beverage Can Co., 559 F.3d 1308, 1312 (Fed.
27
     Cir. 2009) (citing Warner-Jenkinson v. Hilton Davis Chem. Co., 520 U.S. 17, 39-40 (1997)). This is
28
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1    known as the “function-way-result” test. See Id. “Each prong of the function-way-test is a factual

2    determination.” Intendis GMBH v. Glenmark Pharmaceuticals Inc., USA, 822 F.3d 1355, 1361 (Fed.

3    Cir. 2016). A second way of showing insubstantial difference between the claimed invention and the

4    accused process is the “insubstantial differences” test. UCB, Inc. V. Watson Laboratories Inc., Case

5    Nos. 2018-1397 & 2018-1453, 2019 WL 2571401, at *5 (Fed. Cir. June 24, 2019); Voda v. Cordis

6    Corp., 536 F.3d 1311, 1326 (Fed. Cir. 2008). “Under the insubstantial differences test, ‘[a]n element in

7    the accused device is equivalent to a claim limitation if the only differences between the two are

8    insubstantial.” Voda, 536 F.3d at 1326.

9                              b.       Analysis
10           Plaintiffs have proven direct infringement on a claim by claim analysis whether via direct,

11   circumstantial or inferential evidence. (See supra III.C.2.) To the extent Defendants can credibly claim

12   differences between the treatments, the Court finds these differences are without distinction. Under

13   either the “function-way-result” or “insubstantial differences” test, APT infringes upon all the claims of

14   the MAT® treatment. APT performs substantially the same function (activation of liver to improve

15   metabolic processing) using substantially the same way (high pulses of insulin concomitant with

16   glucose meal) to achieve substantially the same result (improved diabetic complications, i.e. eye,

17   wounds, kidney, heart, et al.). (See supra, II.H., I, K, L and appendices25.)

18           Given the analysis above, the Court finds it unnecessary to engage in a similar claim by claim

19   analysis under the doctrine of equivalence. However, by way of illustration, with reference to claim

20   1(b) of the ‘736 patent, to the extent Defendants claim they use dextrose instead of glucose (P.1842:19-

21   22 [Gilbert, Vol.10]), both dextrose and glucose are the same. (P.1417:3-6, [Aoki, Vol.8]; P.2911:17-

22   25, [Aoki, Vol.18].) In fact, Mr. Gilbert used the two interchangeably during his testimony.

23   (P.2060:19-25 [Gilbert, Vol.12]; P.2790:13-14 [Gilbert, Vol.17]; see also P.2912:5-6 [Gilbert, Vol.18].)

24   With reference to claim 10 of the ‘736 patent regarding repetition of the treatment three times a week or

25
26           25
                 References to factual sections also include the accompanying Appendices as well. For example, reference to
27   II.G. (RQ Patent Claims And Infringing Evidence) includes reference to Appendix A (Chart Of Infringing Evidence),
     reference to II.J (Use Of Slides – Copyright Infringement) includes reference to Appendix B (Chart Of Copyrighted Slides
28   That Were Copied), reference to II.L (Damages) includes reference to Appendix C (License Agreements), et al.

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1    more, the Court finds that insubstantial from repetition of the treatment from one to two times a week or

2    more. (See supra, II.H.1 and Appendix A, at step 9.) The function-way-result would be the same.

3           To the extent Defendants claim they varied the treatment, the Court finds those claims not to be

4    credible. (See e.g. (i) Mr. Gilbert’s claims about no rest periods that is contradicted by the evidence at

5    supra, II.A.7 or evidence reflecting use of RQ at supra, II.H, I and Appendix A), (ii) Ms. Shaffer’s

6    testimony regarding reduction from three hour to two hour session treatments at supra, II.L.3 or (iii)

7    Mr. Gilbert’s statement under oath that APT allows insulin to go back to baseline in-between pulse

8    intervals despite this being physiologically impossible due to the half-life of insulin, at supra, II.A.6.).

9                   4.      Indirect Infringement: Inducement of Infringement
10          Plaintiffs allege Mr. Gilbert and the entities he controlled, i.e. Bionica, Inc., Trina Health, LLC

11   and Trina Health of Newport Beach induced defendants Kevin Buckman, Melanie Kunz, Mededco,

12   LLC, Diabetic Innovations, LLC, Marc Rose, Michael McCarthy, Faising Chui, Limi Management,

13   Inc., John Mullen, Richard Girard, Glenn Wilson and Timothy Tight to infringe upon the patents.

14                          a.      Legal Standard
15          “Whoever actively induces infringement of a patent shall be liable as an infringer.” 35 U.S.C.

16   §271(b). “To prove inducement, the patentee must show direct infringement, and that the alleged

17   infringer ‘knowingly induced infringement and possessed specific intent to encourage another’s

18   infringement.’” i4i Ltd. v. Microsoft Corp., 598 F.3d 831, 851 (Fed. Cir. 2010).

19                          b.      Analysis
20                                  (1)     Mr. Gilbert And His Entities Had Knowledge Of The Patents
21          Given the decades-long relationship between Mr. Gilbert and Dr. Aoki (see, supra II.D) and Mr.

22   Gilbert’s involvement with Dr. Aoki’s patent applications (see, supra II.A.5), Mr. Gilbert and therefore

23   his companies knew of Dr. Aoki’s patents, but proceeded with the specific intent to induce infringement

24   by the downstream licensees. (See supra, II.N.)

25                                  (2)     Mr. Gilbert And His Entities Acted With Specific Intent To
                                            Encourage Infringement Of The Patents
26
            Direct infringement is demonstrated as discussed above. (See also, supra, II.H., I and Appendix
27
     A.) Extensive evidence demonstrates that Mr. Gilbert and his entities acted with specific intent to
28
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1    induce infringement of the patents. Mr. Gilbert and his entities initially claimed that they had a license

2    to use MAT®. As the effect of the Nevada court’s rulings became clear, they shifted their ground and

3    tried to claim that they were doing something different - “APT,” even though the treatments are clearly

4    the same. (See ECFs 11 and 139 [Defs’ MSJ]; supra, II.I.1. and II.B. [Res Judicata discussion].)

5           Mr. Gilbert’s current claims that he in fact invented a new treatment around 2002 is not

6    credible. (See supra, II.J.). Mr. Gilbert is also a not medical doctor and does not have a medical

7    background. (See supra A.11.) The license agreements that were entered into specifically reference Dr.

8    Aoki’s patent as the subject technology to be used while failing to disclose Dr. Aoki as the actual owner

9    of these patents. (See supra, II.H.3). Mr. Gilbert attempted to solicit investors and patients for the APT

10   treatment using Dr. Aoki’s work on MAT® and his MAT® slides and falsely attributing it to APT.

11   (See, supra, II.K., L. and A.2.c.)

12                  5.      Remedies (Patent Infringement)

13          Upon a finding of patent infringement, “the court shall award the claimant damages adequate to

14   compensate for the infringement, but in no event less than a reasonable royalty for the use made of the

15   invention by the infringer, together with interest and costs as fixed by the court.” 35 U.S.C. §284.

16                          a.      Reasonable Royalty
17          Plaintiffs are entitled to a reasonable royalty to compensate for Defendants’ infringement. 35

18   U.S.C. §284. A “reasonable royalty may ‘be based upon an established royalty, if there is one, or if not,

19   upon the supposed result of hypothetical negotiations between the plaintiff and defendant.’” Minks v.

20   Polaris Industries, Inc., 546 F.3d 1364, 1372 (Fed. Cir. 2008). This approach typically includes

21   consideration of the “Georgia-Pacific factors,” a set of factors set forth in Georgia-Pacific Corp. v.

22   U.S. Plywood Corp., 318 F. Supp. 116, 1120 (S.D.N.Y. 1970) and numerous subsequent patent cases.

23   See, e.g., Lucent Technologies v. Gateway, 580 F.3d 1301, 609 F.3d 1301,1324 (Fed. Cir. 2009); Rite

24   Hite Corp. v. Kelley Co., 56 F.3d 1538, 1554 n.13 (Fed. Cir. 1995). It must be understood that “any

25   reasonable royalty analysis ‘necessarily involves an element of approximation and uncertainty.’”

26   Lucent, 609 F.3d at 1325.

27          There is evidence of license agreements that actually specify the royalties received by Mr.

28   Gilbert and his entities comprising chair license fees, oversight fees, and training fees which were
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1    collected. (See supra, II.M. and Appendix C [licenses chart].) APT is simply the patented invention

2    disguised under another name. (See supra, II.H.I.J.K.L and appendices.) These royalty payments to

3    defendants for the purported right to practice the claimed invention are the best evidence of an

4    appropriate royalty. See Whitserve, LLC v. Computer Packages, Inc. 694 F.3d 10, 27, n.11 (Fed. Cir

5    2012) (listing factors (1) and (2) that consider other royalty rates paid); Minks, 546 F.3d at 1372

6    (holding that a reasonable royalty “may be based on an established royalty”).

7           The evidence establishes that licensees pay at minimum a $20K chair license fee, a $500

8    oversight fee and a $10K training fee for the right to set up APT clinics. (See supra, II.M.) As such,

9    the minimum applicable royalty rate comprised of a royalty base of chair license fee, oversight fee, and

10   training fee is $30,500 for each license. Mr. Gilbert confirmed the existence of at least 33 clinic

11   licensees, none of which predate the filing of this lawsuit by later than two years. As such, a $30,500

12   license fee for each of the 33 clinics infringing the patents-in-suit result in damages of $6,946,500.

13                          b.      Willfulness And Enhanced Damages
14          “[T]he court may increase the damages up to three times the amount found or assessed.” 35

15   U.S.C. §284. “The sort of conduct warranting enhanced damages has been variously described . . . as

16   willful, wanton, malicious, bad-faith, deliberate, consciously wrongful, flagrant, or—indeed—

17   characteristic of a pirate.” Halo Electronics, Inc. v. Pulse Electronics, Inc., 136 S. Ct. 1923, 1932

18   (2016). The Supreme Court has rejected any “rigid formula for awarding enhanced damages under

19   §284, leaving the determination to the discretion of the district court. Id. at 1934. “A patentee need

20   only show by a preponderance of the evidence that the facts support a finding of willful infringement.”

21   SRI International, Inc. v. Cisco Sys., Inc., 918 F3d 1368, 1380 (Fed. Cir. 2019).

22          The evidence demonstrates that Defendants acted willfully in infringing Dr. Aoki’s patents.

23   Defendants initially claimed entitlement to Dr. Aoki’s patents pursuant to a license, based on the CI-

24   Bionica and Diabetex transactions. (ECFs 11 and 139 [MSJs]; P.Exh.66 [CI-Bionica License];

25   P.Exh.42 [Diabetex Settlement].) Mr. Gilbert withheld the existence of the CI-Bionica license from Dr.

26   Aoki. (See supra, II.A.8.) The CI-Bionica license did not transfer any rights to the RQ patents. (See

27   supra, II.G.5.) Mr. Gilbert previously testified that the Diabetex Settlement reverted the technology

28   back to Dr. Aoki (not to himself). (See supra, II.D.2.) Mr. Gilbert also signed documents
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1    acknowledging Dr. Aoki’s ownership of his technology subsequent to the Diabetex settlement. (See

2    supra, II.D.3. citing Exh.47 [Aoki-MI License]; P.Exh.55 [MI-ADTC Agreement]; P.Exh.57 [ADTC-

3    Aoki Agreement, Recitals ¶A and ¶B]; Exh.52 [AMTech Resolution].) Later, when Mr.

4    Gilbert/Bionica/Trina Health proceeded to license Dr. Aoki’s technology to others, these downstream

5    licenses reference Dr. Aoki’s technology and patents. (See supra, II.H.4., II.M and Appendix C.) The

6    advertisements, investor prospectus, et al . . . reference Dr. Aoki’s work and research and even falsely

7    claim that patients that were actually treated with MAT® to have been treated with APT. (See supra,

8    II.H.5 and L; see also P.400:15-23; P.401:13-25; P.402:1-6, 13-22; P.507:10-15 [Aoki, Vol.3].)

9                           c.      Fees
10          “The court in exceptional cases may award reasonable attorney fees to the prevailing party.” 35

11   U.S.C. §285. An exceptional case is one that “stands out from others with respect to the substantive

12   strength of a party’s litigating position (considering both the governing law and the facts of the case) or

13   the unreasonable manner in which the case was litigated.” Octane Fitness, LLC v. ICON Health &

14   Fitness, Inc., 572 U.S. 545 (2014). This is an exceptional case meriting an award of attorney fees.

15   Defendants admitted to infringing Dr. Aoki’s patents early on in this case. (See, e.g., supra, II.I.) The

16   subsequent downstream licenses even explicitly reference Dr. Aoki’s patents and Dr. Aoki’s technology

17   as the source of the APT technology. (See, e.g. supra, II.H.4.) The evidence demonstrates that

18   advertisements, video clips, and investor prospectus used to promote APT are entirely about or derived

19   from MAT®. (See e.g., supra II.H. and L.). Defendants’ subsequent reversal of position that APT is

20   not MAT® is not credible given the conflicting explanations, contravention to medical science, patient

21   testimonial of the ineffectiveness of any purported changes, not to mention Mr. Gilbert’s lack of

22   medical credentials in claiming invention of a new treatment, i.e. APT. (See supra, II.H.2.a., II.J and

23   A.6, 7, and 12.) Defendants’ refusal to produce any financial documents also support a finding of

24   exceptional circumstances. (See supra, II.A.1.)

25                          d.      Injunctive Relief
26          Courts may grant injunctions in patent cases under 35 U.S.C. §283. The Supreme Court has set

27   forth a four-factor test for determining when an injunction is proper in a patent case:

28
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             According to well-established principles of equity, a plaintiff seeking a permanent
1            injunction must satisfy a four-factor test before a court may grant such relief. A plaintiff
             must demonstrate: (1) that it has suffered an irreparable injury; (2) that remedies
2
             available at law, such as monetary damages, are inadequate to compensate for that
3            injury; (3) that, considering the balance of hardships between the plaintiff and defendant,
             a remedy in equity is warranted; and (4) that the public interest would not be disserved
4            by a permanent injunction.
5    eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391 (2006). “The decision to award or deny
6    permanent injunctive relief lies within the equitable discretion of the district court….” Apple Inc. v.
7    Samsung Electronics Co., Ltd., 809 F.3d 633, 639 (Fed. Cir. 2015). “Historically, ‘courts have granted
8    injunctive relief upon a finding of infringement in the vast majority of cases.’” Nichia Corp. v.
9    Everlight Americas, Inc., 855 F.3d 1329, 1341 (Fed. Cir. 2017). Reduction in options for medical
10   treatments is not sufficient to show that the public interested would suffer a disservice. See Amgen Inc.
11   v. Sanofi, 872 F.3d 1367, 1381 (Fed. Cir. 2017) (ruling that “eliminating a choice of drugs is not, by
12   itself, sufficient to disservice the public interest”).
13           The Court finds that injunctive relief is warranted. Defendants’ use of Dr. Aoki’s MAT®

14   treatment under the guise of a different name has caused irreparable injury to Dr. Aoki and that monetary

15   damages are insufficient. Dr. Aoki is the inventor of the MAT® treatment, for which he spent his entire

16   career developing. (See supra, II.F and III.B, discussing Nevada rulings.) There is no distinction between

17   APT and MAT® or if there are, the distinctions are insubstantial.(See supra III.C.3) Patients and investors

18   were lulled into falsely believing that APT was invented by Mr. Gilbert and paid for by Medicare. (See

19   e.g. supra, II.H. and L.) A lack of proper oversight led to clinics to modify the treatment, creating a “wild

20   west of medicine” atmosphere resulting in adverse consequences to patients. (See supra, II.L.3;

21   P.2625:15-21 [Shaffer, Vol.16].) Despite the Medicare decision, Trina Health or the clinics themselves

22   would bill Medicare for the treatment in distinct steps as opposed to the required uniform G code. (See

23   supra II.L.2) Clinics would shut down after paying upfront license fees once the Medicare issue was

24   unveiled.    (See e.g., P.1145:25; P.1146:1-8 [Elliott, Vol.11]; P.1866:1-8; P.1877:1-6; P.1878:1-8;

25   P.1885:16-20; P.1886:1-14 [Gilbert, Vol.11]; P.2660:2-5 [Gilbert, Vol.16]; see also supra, II.L.2.) Mr.

26   Gilbert’s implication in a criminal scheme to bribe the Alabama state legislature to pass a law requiring

27   Blue Cross of Alabama to cover the treatment and other false representations made in this case (see supra,

28   II.L) and during trial (see supra II.A) also suggests questionable ethics which would cause harm to the
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1    public if he were allowed to continue to operate and/or license clinics. Under these circumstances, public

2    interest would be served with injunctive relief. Moreover, injunctive relief would not result in eliminating

3    a treatment choice as Dr. Aoki and ADRI continue to offer the treatment to patients.

4           D.      Copyright Infringement
5                   1.      Legal Standard (Copyright Infringement)
6           The Copyright Act grants the copyright owner the exclusive right to reproduce a copyrighted

7    work, to distribute copies of the work, and to authorize reproduction or distribution. See 17 U.S.C.

8    §106(1)-(3). Plaintiff must prove: (1) ownership of a valid copyright and (2) that the defendant violated

9    at least one exclusive right granted to plaintiff under 17 U.S.C. §106. A & M Records, Inc. v. Napster,

10   Inc., 239 F.3d 1004, 1013 (9th Cir. 2001). Dr. Aoki is the owner of a valid copyright in the MAT®

11   slides. This copyright is registered with the Copyright Office, number TXu0017772019, dated August

12   23, 2011, and is titled “Metabolic Activation Therapy – History and Current Protocol.” (P.Exh.10A

13   [MAT Presentation]; P.Exh.81 [Copyright Printout].) Defendants have copied and distributed a

14   significant amount of these MAT® slides without authorization. Defendants continued to use these

15   slides even after this lawsuit was filed in 2011 and therefore knew of the allegations of copyright

16   infringement. (See supra, at II.K. and copyright chart, citing exhibits that used Dr. Aoki’s slides.)

17                  2.      Remedies (Copyright Infringement)
18                          a.      Statutory Damages
19          The Copyright Act authorizes statutory damages of up to $30,000 per infringed work. 17 U.S.C.

20   §504(c)(1). Where the copyright owner proves infringement was willful, the Act authorizes enhanced

21   statutory damages of up to $150,000 per infringed work. Id. §504(c)(2). Willfulness may be found where

22   the defendant’s infringing actions are undertaken either with knowledge that the conduct constitutes

23   infringement or with reckless disregard for the copyright owner’s rights. See In re Barboza, 545 F.3d

24   702, 707-08 (9th Cir. 2008). The court has broad discretion to determine the amount of statutory

25   damages. Peer Intern. Corp. v. Pausa Records, Inc., 909 F.2d 1332, 1336 (9th Cir. 1990).

26          The evidence demonstrates that this is not a situation of isolated, innocent instances of

27   infringement, but multiple instances of willful unauthorized uses. Even after this lawsuit was filed in

28   2011, Defendants continued to use Dr. Aoki’s copyrighted slides in promoting APT. They used numerous
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1    of Dr. Aoki’s slides in their 2017 presentation to CMS (D.Exh.T4-Tab 98), in their 2015 presentation to

2    investors in the Alabama clinic (P.Exh.112), and in multiple videos on youtube promoting APT

3    (P.Exhs.194, 195, and 201). (See supra, at section II.K.) Most glaringly, they used the foot wound photos

4    of Dr. Aoki’s patient whom he treated with MAT® and which photos he copyrighted, to claim that the

5    patient was treated with APT rather than MAT®. (Id.) These facts demonstrate Defendants knew their

6    conduct was unlawful or at minimum engaged in reckless conduct sufficient to support a finding of

7    willfulness. As such, the maximum statutory damages for willful infringement is appropriate.

8                           b.      Injunctive Relief

9           The Copyright Act authorizes a permanent injunction to prevent future infringement where

10   plaintiff has demonstrated: “(1) that it has suffered an irreparable injury; (2) that remedies available at

11   law, such as monetary damages, are inadequate to compensate for that injury; (3) that, considering the

12   balance of hardships between the plaintiff and defendant, a remedy in equity is warranted; and (4) that

13   the public interest would not be disserved by a permanent injunction.” eBay Inc. v. MercExchange, L.L.C.,

14   547 U.S. 388, 391 (2006). Each of these four factors here support granting a permanent injunction. With

15   regard to the first two factors, copyright infringement is generally presumed to give rise to irreparable

16   harm for which there is no adequate remedy at law. Cadence Design Systems, Inc. v. Avant! Corp., 125

17   F.3d 824, 826–27 (9th Cir. 1997). As to the third factor, while Dr. Aoki will be harmed by continued

18   infringement, there is no potential harm to Defendants as an injunction would simply require them to

19   comply with the Copyright Act. As to the fourth factor, a permanent injunction would likely serve the

20   public interest by reducing consumer confusion, see Internet Specialties West, Inc. v. Milon–DiGiorgio

21   Enterprises, Inc., 559 F.3d 985, 993 (9th Cir. 2009), and by “upholding” the rights that “Congress has

22   elected to grant ... to the owner of a copyright in a protected work.”

23                          c.      Attorneys’ Fees
24          The Copyright Act permits a court to award full costs and reasonable attorneys’ fees to a

25   prevailing party. 17 U.S.C. §505. As Defendants have not only infringed Dr. Aoki’s copyright, but also

26   done so willfully, an award of costs and reasonable attorney’s fees is appropriate.

27          E.      False And Misleading Advertising (15 USC §1125(a)(1), Lanham Act)

28                  1.      Legal Standard (Lanham Act – False and Misleading Advertising)
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1            The elements are: (1) a false statement of fact by the defendant in a commercial advertisement

2    about its own or another’s product; (2) the statement actually deceived or has the tendency to deceive a

3    substantial segment of its audience; (3) the deception is material, in that it is likely to influence the

4    consumer’s purchasing decision; (4) the defendant causes its false statement to enter interstate commerce;

5    and (5) the plaintiff has been or is likely to be injured as a result of the false statement, either by a direct

6    derivation of sales from itself to defendant or by a lessening of the good will associated with its products.

7    Southland Sod Farms v. Stover Seed Co., 108 F.3d 1134, 1139 (9th Cir. 1997). The Act distinguishes

8    between advertisements that are literally false and those that are literally true, but misleading. When the

9    advertising is literally false, a court may grant relief without reference to the advertisements’ impact on

10   the buying public. In re Century 21 RE/MAX Advert. Claims Litig., 882 F.Supp.915, 922 (C.D. Cal.

11   1994). Where a statement is not literally false, but is only misleading in context, proof that the advertising

12   actually conveyed the implied message and thereby deceived a significant portion of the consuming

13   public is required. William H. Morris Co. v. Group W, Inc., 66 F.3d 255, 258 (9th Cir. 1995). The only

14   exception to this proof requirement arises when the plaintiff intentionally deceives consumers. Harper

15   House, Inc. v. Thomas Nelson, Inc., 889 F.2d 197, 209 (9th Cir. 1989).

16                   2.      Remedies (Lanham Act – False and Misleading Advertising)
17                           a.      Defendants’ Profits And Any Damages Sustained By Plaintiff
18           A plaintiff who establishes a violation of Section 43(a) of the Lanham Act is entitled to recover,

19   “ (1) defendant’s profits, (2) any damages sustained by the plaintiff, and (3) the costs of the action. . . In

20   assessing profits, the plaintiff shall be required to prove defendant’s sales only; defendant must

21   prove all elements of cost or deduction claimed.” 15 U.S.C. §1117(a) (emphasis added).

22                           b.      Trebling
23           “In assessing damages the court may enter judgment, according to the circumstances of the case,

24   for any sum above the amount found as actual damages, not exceeding three times such amount. If the

25   court shall find that the amount of the recovery based on the profits is either inadequate or excessive the

26   court may in its discretion enter judgment for such sum as the court shall find to be just, according to the

27   circumstances of the case.” 15 U.S.C. §1117(a). The only limit on this award is that the award “shall

28   constitute compensation and not a penalty.” Id. Treble damages are appropriate in the event that
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1    compensatory damages are inadequate to deter future infringing conduct. PepsiCo. v. Triunfo-Mex, Inc.,

2    189 F.R.D. 431, 431 (C.D. Cal. 1999). Where damages have been increased, it is usually premised on

3    some sort of willful or knowing infringement. In U-Haul Intern., Inc. v. Jartran, Inc., 601 F.Supp. 1140

4    (D.Az. 1984), aff’d in part, rev’d in part, modified in part, the court doubled a $20 million damage award

5    where the court found that the defendant had engaged in willful and malicious false advertising.

6                           c.      Costs of the Action
7           Unlike an award of attorneys’ fees, the Lanham Act does not limit taxable costs to “exceptional

8    cases,” but makes costs “one of the routine elements of a prevailing plaintiff’s recovery.” Bowmar

9    Instrument Corp. v. Continental Microsystems, Inc., 497 Supp. 947, 961 (S.D.N.Y. 1980).

10                          d.      Injunctive Relief
11          A plaintiff does not need to prove the element of injury when seeking injunctive relief.

12   Southland Sod Farms, supra, 108 F.3d at 1145 (9th Cir. 1997). Rather, injunctive relief is available

13   under the Lanham Act provided the plaintiff can demonstrate that the advertisement has mislead,

14   confused or deceived the consuming public. Id. at 1140.

15                          e.      Attorneys’ Fees
16          “The court in exceptional cases may award reasonable attorney fees to the prevailing party.” 15

17   U.S.C. §1117(a). “A case is considered exceptional ‘when the infringement is malicious, fraudulent,

18   deliberate or willful.’ Egregious conduct is not required. Nor is bad faith.” Fifty-Six Hope Road Music,

19   Ltd. v. A.V.E.L.A., Inc., 778 F.3d 1059, 1078 (9th Cir. 2015) (citations omitted) (Affirming district court’s

20   grant of attorneys’ fees in case involving false endorsement based on finding that despite uncertainty of

21   law, defendants nevertheless acted willfully). Additionally, a party need not succeed in all of its claims

22   to be the prevailing party. Fifty-Six Hope Road Music, supra, 778 F.3d at 1708 (9th Cir. 2015).

23                  3.      Analysis (Lanham Act – False and Misleading Advertising)
24          The evidence demonstrates that Defendants made the following false statements: (i) APT is

25   covered by Medicare when it is not. In fact, when Medicare caught on that Trina and its clinics were

26   billing for outpatient pulsatile insulin therapy in individual steps as opposed to the required unified G

27   code, it stopped paying and the clinics closed; (ii) APT is an FDA-approved treatment when it is not.

28   Only the Bionica pump (not the treatment itself) is FDA cleared (as opposed to approved); (iii)
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1    Attributing clinical research conducted regarding MAT® to APT; (iv) claiming that the CalPERS

2    decision deeming MAT® to be medically necessary as opposed to experimental concerned APT when it

3    had nothing to do with APT and was entirely about MAT®; (v) claiming that research slides developed

4    by Dr. Aoki in support of MAT® were about APT; (vi) using patient outcomes from MAT® to claim

5    that the patient was treated with APT; (vii) claiming that Trina Gilbert was initially treated with APT

6    when she was actually treated by Dr. Aoki with MAT® and under his guise for at least 25 years from

7    1986 to 2011; (viii) claiming APT is the only extant pulsatile insulin treatment and that Mr. Gilbert was

8    the inventor of the treatment when APT is simply a moniker for APT and Dr. Aoki is the real inventor;

9    (ix) claiming APT has no adverse reactions when in fact, there are adverse reactions, especially when the

10   treatment was varied from the MAT® steps. These statements are both facially false and/or misleading.

11   They had the effect of deceiving patients in seeking treatment or inducing members of the public to invest

12   in opening clinics. (See supra, II.L.; see e.g., P.2572:20-25; P.2573:1-12; P.2623:7-12; P.2631:21-25;

13   P.2632-1-6 [Shaffer, Vol.16]; P.Exh.112 [Kalifeh Affidavit, Bates P4490]; P.776:15-25; P.777:1-16;

14   P.791:7-9; P.841:15-23; [Kalifeh, Vol.5].)

15            Mr. Gilbert and his cohorts made these statements knowing they were untrue and did so with the

16   intent of deceiving the unsuspecting public, including patients and investors. As such, an award of

17   treble damages is appropriate for Defendants’ intentional conduct and to deter future conduct. Such

18   willful conduct also warrants attorneys’ fees. Although Defendants refused to produce their financial

19   information (supra, II.A.1), Plaintiffs have demonstrated a reasonable basis of claiming Defendants

20   profited at least $6,946,500 in chair license fees, training fees, and oversight fees and $1,443,750 in

21   pump sales stemming from their false advertising.26 (See supra, section II.M.) These amounts shall be

22   trebled for a total of $25,170,500 along with attorneys’ fees and costs and injunctive relief. Glover v.

23   BIC Corp., 6 F.3d 1318, 1329 (9th Cir.1993) (A factfinder may “drawn an adverse inference from the

24   destruction or spoliation” of evidence against the party responsible for that behavior.). Spoliation

25
26            26
                 Defendants claim they made no profit (despite failing to produce any financial data). Nevertheless, it is irrelevant
27   if Defendants as a whole failed to turn a profit during the period of the advertising as the amount to be awarded is the
     financial benefit defendant received because of the advertising. U-Haul Intern., Inc. v. Jartran, Inc., supra, 793 F.2d at
28   1034 (D.Az. 1984) (affirming award of profits even though defendant’s overall operations were unprofitable).

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1    includes nonproduction of relevant evidence. See Fed. R. Civ. P. 37 Advisory Committee Notes (1993)

2    (treating nonproduction like spoliation).

3           F.      False And Misleading Advertising (Cal. Bus. & Prof. Code §17500)
4                   1.      Legal Standard (B&P §17500 – False And Misleading Advertising)
5           California's False Advertising Law (“FAL”) prohibits the dissemination of false or misleading

6    statements in connection with advertising. Cal. Bus. & Prof. §17500. “Section 17500 has been broadly

7    construed to proscribe ‘not only advertising which is false, but also advertising which [,] although true,

8    is either actually misleading or which has a capacity, likelihood or tendency to deceive or confuse the

9    public.’” Colgan v. Leatherman Tool Group, Inc., 135 Cal.App.4th at 679 (quoting Kasky v. Nike, Inc.,

10   27 Cal.4th 939, 951 (2002)) (internal quotation marks omitted). Thus, to state a claim under either the

11   UCL or the false advertising law, based on false advertising or promotional practices, “’it is necessary

12   only to show that ‘members of the public are likely to be deceived.’” Ibid. (citation omitted).) A violation

13   of the FAL also constitutes a violation of the UCL. Kasky, supra, 27 Cal.4th at 949–50.

14          “Actual reliance, or causation, is inferred from the misrepresentation of a material fact.”

15   Chapman v. Skype, Inc., 220 Cal.App.4th 217, 229 (citing In re Tobacco II Cases, 46 Cal.4th 298, 327

16   (2009) (2013). “A misrepresentation is judged to be ‘material’ if ‘a reasonable man would attach

17   importance to its existence or nonexistence in determining his choice of action in the transaction in

18   question’ . . . In the alternative, it may also be material if ‘the maker of the representation knows or has

19   reason to know that its recipient regards or is likely to regard the matter as important in determining his

20   choice of action, although a reasonable man would not so regard it.’” Kwikset Corp., supra, 51 Cal.4th at

21   332-333 (citations omitted).

22                  2.      Remedies (B&P §17500 – False And Misleading Advertising)
23          A court may award injunctive relief and restitution for false advertising that violates §17500. See

24   Ca. Bus. and Prof. Code §17535; Fletcher v. Security Pacific National Bank, 23 Cal.3d 442, 452 (1979).

25                          a.      Restitution
26          Restitution is not “limited only to the return of money or property that was once in the possession

27   of that person” but is “broad enough to allow a plaintiff to recover money or property which he or she

28   has a vested interest.” Korea Supply Co. v. Lockheed Martin Corp., 29 Cal.4th 1134, 1149 (2003).
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1    “Typically, profits earned from unfair business practices do not constitute money taken directly from the

2    plaintiff, nor money in which a plaintiff has a vested interest.” Innovation Ventures, LLC v. Pittsburg

3    Wholesale Grocers, Inc., Case No. C12-05523 WHA, 2013 WL 1007666, at *8. However, in Innovation

4    Ventures, LLC, “each challenged sale involved a product allegedly embodying plaintiffs' intellectual

5    property” and using the framework of Korea Supply and Cortez, the Court there held that:

6            “the ‘work’ done by the trademark is identifying the origin and quality of a product in the eyes of
             a consumer. In that sense, a counterfeiter profits from the ‘work’ performed by the trademark
7
             owner's property. The sale of a counterfeit is also analogous to the sale of a res. By selling the
8            counterfeits, an alleged infringer is both selling the trademark owners' property, and damaging
             the owner's property interest in its accumulated goodwill by putting inferior products in the stream
9            of commerce. Just as a copyright owner acquires an equitable interest in an infringing work as
             soon as it is made, and which attaches to any profits from its exploitation, cf. Los Angeles News.
10           Serv. v. Reuters Television. Int'l, Ltd., 149 F.3d 987, 991 (9th Cir.1998), so too does a trademark
             owner acquire an equitable interest in a counterfeit product.”
11
     See also Adobe Systems Incorporated v. Alghazzy, No. 15-cv-01443-BLF, 2015 WL 9478230, at *2
12
     (N.D.Cal. Dec. 29, 2015) (Plaintiff’s factual allegations support its request for restitution and injunctive
13
     relief insofar as Plaintiff’s claim for restitution is based on recovery of Defendant’s ill-gotten gains related
14
     to Defendant’s alleged sale of products that infringe Plaintiff’s trademark rights.); Colgan v. Leatherman
15
     Tool Group, Inc., supra, 135 Cal.App.4th at 699 (2006) (a plaintiff can seek money or property as
16
     restitution where such “money or property identified as belonging in good conscience to the plaintiff
17
     could clearly be traced to particular funds or property in the defendant’s possession”). In calculating
18
     restitution damages, exact proof is not necessary. California law “requires only that some reasonable
19
     basis of computation of damages be used, and the damages may be computed even if the result reached
20
     is an approximation.” Pulaski & Middleman, LLC v. Google, Inc., 802 F.3d, 979, 989 (9th Cir. 2015).
21
22                           b.      Injunctive Relief
             Plaintiff cannot receive an injunction for past conduct unless he shows that the conduct will
23
     probably recur. Sun Microsystems v. Microsoft Corp., 188 F.3d 1115, 1123 (9th Cir. 1999) (citing People
24
     v. Toomey, 157 Cal.App.3d 1, 20 (1984).
25
26                   3.      Analysis (B&P §17500 – False And Misleading Advertising)
             See supra, at section III.E. regarding false advertising under the Lanham Act which also applies
27
     here to the equivalent state cause of action. The false statements discussed above are those that a
28
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1    reasonable person would attach importance to in determining whether to proceed with the treatment or

2    invest in Trina clinics and did indeed mislead, deceive or confuse the public. (See supra, III.E. and

3    II.L.) Plaintiffs have a vested interest in Defendants’ profits which were ill-gotten using Dr. Aoki’s

4    MAT® technology (supra, II.H.), which they simply rebranded as “APT,” calculated to be

5    approximately $6,946,500 from license chair fees, oversight fees, and training fees alone and

6    $1,443,750 for pump sales totaling $8,101,500. (See supra, II.M. and Appendix C.)

7             G.       Breach Of Fiduciary Duty – Against Defendant Gilbert Only
8                      1.       Legal Standard (Breach of Fiduciary Duty)

9             The elements of a claim for breach of fiduciary duty are the existence of a fiduciary relationship,

10   breach of fiduciary duty, and damages. Oasis West Realty, LLC v. Goldman, 51 Cal.4th 811, 820 (2011).

11   Among those fiduciary obligations are the duties of loyalty and confidentiality, which continue in force

12   even after the representation ends. Id.27

13                     2.       Remedies (Breach of Fiduciary Duty)
14                              a.        Unjust Enrichment
15            Recovery for damages based upon breach of fiduciary duty is controlled by Civil Code §3333, the

16   traditional tort recovery. Michelson v. Hamada, 29 Cal.App.4th 1566, 1582 (1994); Civil Code §3333.

17   In cases of breach of fiduciary duty, disgorgement based on unjust enrichment is the appropriate remedy

18   regardless of whether the principal suffers any damage. American Master Lease LLC v. Idanta Partners,

19   Ltd., 225 Cal.App.4th 1451, 1483 (2014).                   There are two types of disgorgement: restitutionary

20   disgorgement, which focuses on the plaintiff's loss, and nonrestitutionary disgorgement, which focuses

21   on the defendant's unjust enrichment.28 A claimant “’has the burden of producing evidence from which

22
              27
23               As the California Supreme Court has explained, “‘[A]n attorney is forbidden to do either of two things after
     severing [the] relationship with a former client. [The attorney] may not do anything which will injuriously affect [the]
24   former client in any matter in which [the attorney] formerly represented [the client] nor may [the attorney] at any time use
     against [the] former client knowledge or information acquired by virtue of the previous relationship.” Id. at 821 (citations
25   omitted).
              28
                  “Typically, the defendant's benefit and the plaintiff's loss are the same, and restitution requires the defendant to
26   restore the plaintiff to his or her original position. However, many instances of liability based on unjust enrichment ... do not
     involve the restoration of anything the claimant previously possessed ... including cases involving the disgorgement of
27   profits ... wrongfully obtained....’ The public policy of this state does not permit one to “take advantage of his own wrong”
     regardless of whether the other party suffers actual damage. Where ‘a benefit has been received by the defendant but the
28   plaintiff has not suffered a corresponding loss or, in some cases, any loss, but nevertheless the enrichment of the defendant
                                                            -62-
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1    the court may make at least a reasonable approximation of the defendant's unjust enrichment,’ and ‘the

2    defendant is then free (there is no need to speak of “’burden shifting’”) to introduce evidence tending to

3    show that the true extent of unjust enrichment is something less.’ Thus, ‘[a]s a general rule, the defendant

4    is entitled to a deduction for all marginal costs incurred in producing the revenues that are subject to

5    disgorgement.’” Id. at 1487-1488, citing Uzyel v. Kadisha, 188 Cal.App.4th 866, 894 (2010).

6                               b.       Punitive Damages
7             Punitive damages are appropriate for a breach of fiduciary duty. Michelson v. Hamada, supra,

8    29 Cal.App.4th at 1582 (1994). Under California Civil Code section 3294, punitive damages may be

9    recovered where “oppression, fraud, or malice” is proven by clear and convincing evidence. §3294(a).

10                     3.       Analysis (Breach of Fiduciary Duty)
11            From around 1986 to 2002, Mr. Gilbert worked closely with Dr. Aoki and ADRI both as an

12   attorney and in a business capacity. In anticipation of the fact that Mr. Gilbert would acquire confidential

13   information about his treatment as a result of working together, Mr. Gilbert drafted and signed a

14   confidentiality agreement assigning to Dr. Aoki any inventions he conceived during their time together

15   that related to Dr. Aoki’s work. (P.Exh.245 [1986 Confid. Agreement]; P.2726:1-22; P.2727:1-6

16   [Aoki/Gilbert Vol.17].) Mr. Gilbert claims he was at ADRI frequently, while treatments were given, and

17   thereby gained in-depth knowledge regarding Dr. Aoki’s technology. (P.2803:8-14 [Gilbert, Vol.17].)

18   Mr. Gilbert advised on the formation of a number of business entities to commercialize Dr. Aoki’s

19   technology and drafted and reviewed documents in connection with that enterprise, spanning multiple

20   business entities. (See supra, II.D, II.A.3.b and A.5.) In the course of Mr. Gilbert’s marketing of MAT®,

21   Dr. Aoki lent to Mr. Gilbert a copy of his MAT® slides to further educate him on the treatment, with

22   strict instructions not to disseminate. (P.361:4-14 [Aoki, Vol.2]).

23            Around 2002, things changed. At the time, the existing entity was Metabolic Industries (“MI”),

24   which had been formed with money from investor Phil Gurian, some of it which was used to pay off

25   Diabetex for the return of Dr. Aoki’s technology back to him which he then licensed to MI. (See supra,

26
27
     would be unjust ... the defendant may be under a duty to give to the plaintiff the amount by which [the defendant] has been
28   enriched.’” Id. at 1482 (internal citations and quote marks omitted).

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1    II.D.2 and 3.) Around this time, Dr. Aoki learned of unsavory conduct and Mr. Gilbert was asked to

2    resign and did resign from MI. (See supra, II.E.) Meanwhile, Mr. Gilbert had been negotiating with two

3    other investors, John Duffell and Max McCombs who had set up MTC with the anticipation of a licensing

4    deal from MI of Dr. Aoki’s technology. The MI board conducted due diligence into these potential

5    investors. They learned Duffell had a felony background and McCombs didn’t have the purported $10

6    million. Therefore, the MTC negotiations ceased. (P.888:14-16; P.889:22-25; P.890:1-7 [Aoki, Vol.5];

7    P.Exh.60 [MTC Term Sheet].) This spawned the 2003 MTC Nevada lawsuit and multiple other litigation.

8    (P.Exh.62 [MTC Complaint]; P.Exh.67 [Cross-Complaint].)

9            In 2005, unbeknownst to Dr. Aoki, Mr. Gilbert entered into the Bionica-CI licensing deal.

10   (P.Exh.66 [2005 Bionica-CI license].)         That license attempted to transfer to Bionica/Gilbert the

11   technology rights which Dr. Aoki had licensed to AMSys which he allowed to be licensed to CI. Mr.

12   Gilbert had intimate knowledge of the terms of the underlying AMSys-CI deal because he had previously

13   helped engineer it and thereby was in a position to get CI to surreptitiously transfer those rights to him.

14   (P.Exh.72 [Aoki Dinucci Letter].) Mr. Gilbert must have known Dr. Aoki would not have allowed the

15   rights to his technology to go to his former counsel, especially given the events leading up to 2002, and

16   indeed took steps to conceal it. In 2005, when questioned at his deposition about his or Bionica’s business

17   activities relating to diabetes, Mr. Gilbert failed to disclose the existence of that deal. (See supra, II.A.8.)

18   Thereafter, he began opening clinics using Dr. Aoki’s technology, first under the name “Cellular

19   Activation Therapy” and later, “Artificial Pancreas Therapy.” (See supra, II.H.5.)

20           Early on in this case in 2013, Mr. Gilbert attested that at all times he and the Defendants have

21   been using Dr. Aoki’s technology, unchanged since at least 2005 pursuant to the CI-Bionica license.

22   (P.Exh.93 [Gilbert Suppl. Decl., ¶3].) At trial and in his 2017 MSJ declaration, Mr. Gilbert claims that

23   in 2002 he had an “epiphany” leading to the invention of APT and that the MTC clinics subsequently

24   came to perform his APT method. (P.Exh.118 [MSJ Declaration, ¶10]; P.2085:15-25; P.2086:1-25;

25   P2087:1-5 [Gilbert, Vol.12].) But Mr. Gilbert doesn’t have a medical degree and presented no evidence

26   regarding his medical background. (See, supra, II.A.11.) (In fact, some of his medical claims are suspect,

27   see infra.). In contrast, there was extensive testimony of Dr. Aoki’s 30+ year research efforts, beginning

28   with his work as a physician working with diabetic patients in Hiroshima and Nagasaki to studies on
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1    starvation and diabetes metabolism at the world renowned Joslin Diabetes Center to his recruitment as

2    head of the endocrinology department at UC Davis. (See supra, II.B and C.)

3           Even Mr. Gilbert’s explanation of his “APT” treatment is suspect. He claims APT doesn’t use

4    RQ as a measurement of the treatment’s efficacy, but the evidence demonstrates otherwise. Patient and

5    personnel testimony from his clinics state they were either trained by him or attended lectures by him

6    where he explicitly discussed the use of RQ for the APT treatment or had their RQ measurements taken

7    when treated with APT at his clinics. (See supra, II.H.) Mr. Gilbert claims the clinics use the VacuMed

8    machine just to measure carbon dioxide volume. But Ms. Shaffer, a patient of his clinics with a

9    background in fitness, testified to the irrelevance of such measurement alone for purposes of assessing

10   treatment efficacy. (See supra, II.H.2.a.) Dr. Aoki also testified that measuring the volume of carbon

11   dioxide produced by the patient before and after each treatment does not tell you if the therapy is working.

12   (P.1492:23-25; P.1493, 1-4 [Aoki, Vol.9].) In an attempt to distinguish APT from MAT®, Mr. Gilbert

13   declared under oath that his treatment allows insulin levels to fall back to baseline in-between pulse

14   intervals. (See supra, II.A.6.) And yet, he testified emphatically that “no one does this.” Dr. Aoki

15   concurred that this is physiologically impossible. (Id.)

16          As discussed above, a comparison of the APT and MAT® treatment shows an exact match of the

17   treatment. (See supra, II.H.) In fact, Mr. Gilbert used slides, research, patient outcomes, case decision,

18   et al. pertaining to MAT® to make claims about APT. (See supra, II.L.) In sum, Mr. Gilbert used

19   information and knowledge gained from his decades-long relationship with ADRI and Aoki to his former

20   clients’ detriment. As such, the Court finds that the ill-gotten gains of approximately $8,390,250

21   comprising license fees and pump sales should be disgorged and that punitive damages are appropriate.

22   (See supra, II.M. and Appendix C.)

23          H.      Breach Of Confidential Relationship – Against Defendant Gilbert Only
24                  1.      Legal Standard (Breach of Confidential Relationship)
25          A confidential relation exists between two persons “when one has gained the confidence of the

26   other and purports to act or advise with the other’s interest in mind” and “may exist although there is no

27   fiduciary relation” and “is particularly likely to exist where there is a family relationship or one of

28   friendship . . .” Davies v. Krasna, 14 Cal.3d 502, 510 (1975). A “confidential relationship exists when
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1    trust and confidence are reposed by one person in the integrity and fidelity of another.” Estate of Sanders,

2    40 Cal.3d 607 (1985) (citations omitted). It is not necessary that “there be an extended period of business

3    or accommodation transactions or dealings between persons in order for a confidential relationship to be

4    established between them.” Id. (citations omitted); see also Richelle L. v. Roman Catholic Archbishop,

5    106 Cal.App.4th 257, 271 (2003) (citations omitted) (“Technically, a fiduciary relationship is a

6    recognized legal relationship such as . . . attorney and client, whereas a confidential relationship may be

7    founded on a moral, social, domestic, or merely personal relationship as well as on a legal relationship.”)

8                   2.      Remedies (Breach of Confidential Relationship)

9                           a.      Compensatory And Punitive Damages
10          Compensatory and punitive damages exist for breach of a confidential relationship. See Clark v.

11   Bunker, 453 F.2d 1006, 1011-1012 (9th Cir. 1972) (In a breach of confidential relationship matter,

12   holding that the plaintiff/appellee “should not be restricted to defendant’s actual profits from his improper

13   uses of the secret,” but that the plaintiff is “entitled to the profit he would have made had his secret not

14   been unlawfully used, but not less than the monetary gain which the defendant reaped from his improper

15   acts” and that the Court is also empowered to award punitive damages.).

16                          b.      Attorneys’ Fees
17          Attorneys’ fees are also permissible for breach of a confidential relationship. Radiator Specialty

18   Company v. Micek, 327 F.2d 554 (9th Cir. 1964) (Awarding reasonable attorneys’ fees to patentee whose

19   valid patent was infringed and was damaged by breach of confidential relationship.).

20                  3.      Analysis (Breach of Confidential Relationship)
21          See discussion, supra at section III.G. regarding breach of fiduciary duty which equally applies

22   here, entitling Plaintiffs to compensatory, punitive damages, and attorneys’ fees for Mr. Gilbert’s breach.

23          I.      Unfair Competition (15 USC §1125(a), Lanham Act)
24                  1.      Legal Standard (Lanham Act – Unfair Competition)
25          The Ninth Circuit has consistently held that state common law claims of unfair competition and

26   actions pursuant to California Business and Professions Code 17200 are “substantially congruent” to

27   claims made under the Lanham Act. See Academy of Motion Picture Arts & Sciences v. Creative House

28   Promotions, Inc., 944 F.2d 1446, 1457 (9th Cir. 1991).
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1                    2.      Remedies (Lanham Act – Unfair Competition)
2            Under the Lanham Act, the remedies for acts of unfair competition are the same as for false and

3    misleading advertising. (See supra, section III.E – Lanham Act – False and Misleading Advertising; 15

4    U.S.C. §1117(a) [defendants’ profits, any damages sustained by plaintiffs, and costs of the action and

5    reasonable attorney fees in exceptional cases to the prevailing party] and §1116(a) [injunctive relief]).)

6                    3.      Analysis (Lanham Act – Unfair Competition)
7            See discussion, infra, at section III.J. for analysis regarding acts of unfair competition under

8    California state law which applies equally to the federal law.

9            J.      Unfair Competition (Cal. Bus. & Prof. Code §17200)
10                   1.      Legal Standard (Cal. Bus. & Prof. Code §17200)
11           §17200 defines “unfair competition” to include “any unlawful, unfair or fraudulent business act

12   or practice” and “unfair, deceptive, untrue or misleading advertising” and any act that violates

13   California’s false advertising law, Business and Profs Code §17500 et seq. Thus, §17200 enumerates

14   five theories of liability: (1) unlawful business acts or practices; (2) unfair business acts or practices; (3)

15   fraudulent business acts or practices; (4) unfair, deceptive, untrue or misleading advertising; and (5)

16   false advertising and related practices covered by §17500. Cel-Tech Communications, Inc. v. Los

17   Angeles Cellular Telephone Co., 20 Cal.4th 163, 180 (1999). §17200 is a strict-liability statute and

18   proof of intent is not required. South Bay Chevrolet v. General Motors Acceptance Corp., 72

19   Cal.App.4th 861, 877 (1999). Private plaintiffs must “(1) establish a loss or deprivation of money or

20   property sufficient to qualify as injury in fact, i.e., economic injury, and (2) show that that economic

21   injury was the result of, i.e., caused by, the unfair business practice or false advertising that is the

22   gravamen of the claim.” Kwikset Corp. v. Superior Court, 51 Cal.4th 310, 322 (2011).

23                   2.      Remedies (Cal. Bus. & Prof. Code §17200)
24                           a.      Restitution
25           Courts may “make such orders or judgment . . . as may be necessary to restore any person in

26   interest any money or property, real or personal, which may have been acquired by means of such unfair

27   competition.” Cal. Bus. & Prof. Code §17203. The California Supreme Court has defined an order for

28   such restitution as an order “’compelling a UCL defendant to return money obtained through an unfair
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1    business practice to those persons in interest from whom the property was taken.’” An aggrieved plaintiff

2    may recover profits unfairly obtained to the extent those profits represent monies given to a defendant or

3    benefits in which a plaintiff as an ownership interest. Korea Supply, 29 Cal. 4th at 1150. See also Cortez

4    v. Purolator Air Filtration Products Co., 23 Cal.4th 163, 178 (2000) (Plaintiffs could recover earned

5    overtime wages as restitution because they had a “vested interest” in their earned wages, and “equity

6    regards that which ought have been don as done, and thus recognizes equitable conversion.”)

7                           b.        Injunctive Relief
8           Under §17203, courts have broad discretion to exercise all powers inherent in a court of equity.

9    People v. Superior Court of Los Angeles County, 9 Cal.3d 283, 286-87 n. 1 (1973). Injunctive relief is

10   appropriate where the acts of unfair competition are likely to be repeated in the future. Colgan v.

11   Leatherman Toll Group, Inc., supra, 135 Cal.App.4th at 702 (2006).

12                          c.        Attorneys’ Fees And Costs

13          While the UCL does not expressly provide for recovery of attorneys’ fees and costs in private

14   action, if a UCL action is successful and results in the enforcement of an important right affecting the

15   public interest, a private plaintiff may able to recover attorneys’ fees pursuant to CA C.C.P. §1021.5.

16                  3.      Analysis (Cal. Bus. & Prof. Code §17200)
17          The acts enumerated above (see supra, e.g., II.H., K., L. and N.) including patent infringement,

18   copyright infringement, false and misleading advertising constitute acts prohibited by §17200.

19   Defendants used Dr. Aoki’s MAT® technology, rebranded as “APT” to induce clinic owners to enter

20   into licensing agreements and pay up-front fees for the rights to the technology. (Id.) As a result of

21   Defendants’ prohibited conduct, Plaintiffs were deprived of the profits they would have been entitled to

22   but for Defendants’ inequitable conduct. Plaintiffs have a vested interest in the profits that were ill-

23   gotten as a result of Defendants use of Dr. Aoki’s technology, research work, slides, et al . . . in

24   promoting and selling APT. Plaintiffs have established those profits totaled at least $8,390,250. (See

25   supra, II.M.) Defendants failed to produce any financial documents (see supra, II.A.1.) and have

26   produced no evidence of off-setting expenses. Clemente v. State of Cal., 40 Cal.3d 202, 219 (1985) (“If

27   plaintiff’s inability to prove his damages with certainty is due to defendant’s actions, the law does not

28   generally require such proof.)
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1           K.      Patent Invalidity
2                   1.      Legal Standard
3            “A patent is presumed valid, 35 U.S.C. §282, and this presumption is based in part on the

4    expertise of patent examiners presumed to have done their job.” Brooktree Corp. v. Advanced Micro

5    Devices, Inc. 977 F.2d 1555, 1574 (Fed. Cir. 1992); see also Norian Corp. v. Stryker Corp., 363 F.3d

6    1321, 1329 (Fed. Cir. 2004) (noting that the presumption renders inquiry into the examiner’s

7    understanding, competence or gullibility inappropriate). Moreover, the Federal Circuit has observed

8    that the “statutory presumption [of validity in §282] derives in part from the recognition of the

9    technological expertise of the patent examiners.” Interconnect Planning Corp. v. Feil, 774 F.2d 1132,

10   1139 (Fed. Cir. 1985). In light of the presumption of validity, a party must show invalidity by “clear

11   and convincing evidence.” Core Wireless Licensing S.A.R.L. v. LG Electronics, Inc., 880 F.3d 1356,

12   1364 (Fed. Cir. 2018). As discussed below, Defendants have failed to meet their burden of proof.

13                  2.      Prior Public Use / On Sale Bar
14          A person is not entitled to a patent if “the claimed invention was patented, described in a printed

15   publication, or in public use, on sale, or otherwise available to the public before the effective filing date

16   of the claimed invention.” 35 U.S.C. §102(a)(1). Under Section 102(b) the invention may be sold up to

17   one year before the filing of the patent application; if “on sale” more than one year before the filing of

18   an application for a patent on the governing claims, any issued patent is invalid.” Medicines Company

19   v. Hospira, Inc., 827 F.3d 1363, 1365 (Fed. Cir. 2016).

20          For determining whether the on-sale bar applies, the Supreme Court had adopted a two-prong

21   test. Pfaff v. Wells Electronics, Inc., 525 U.S. 55, 67-68 (1998). First, the claimed invention must be

22   the subject of a commercial offer for sale and, second, the claimed invention was ready for patenting.

23   Helsinn Healthcare S.A. v. Teva Pharmaceuticals USA, Inc., 855 F.3d 1356, 1363 Fed. Cir. 2017);

24   Medicines Company v. Hospira, Inc., 827 F.3d 1363, 1368 (Fed. Cir. 2016). “[E]xperimental use

25   negates applicability of the on-sale bar….” Barry v. Medtronic, Inc., 914 F.3d 1310, 1321 (Fed. Cir.

26   2019); see also id., at 1337 (dissenting opinion noting that “Even if a patent challenger makes out a

27   prima facie case of the on-sale bar, a patentee may negate the bar's application with evidence that the

28   sale was primarily for experimental purposes.”). “A use may be experimental if its purpose is: ‘(1) [to]
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1    test claimed features of the invention or (2) to determine whether an invention will work for its intended

2    purpose—itself a requirement of patentability.’ Clock Spring, L.P. v. Wrapmaster, Inc., 560 F.3d 1317,

3    1327 (Fed. Cir. 2009).” Polara Engineering Inc. v. Campbell Co., 894 F.3d 1339, 1349 (Fed. Cir.

4    2018). “Whether the on-sale bar applies is a question of law based on underlying factual findings.”

5    Medicines Company v. Hospira, Inc., 827 F.3d 1363, 1365 (Fed. Cir. 2016).

6           Defendants have failed to establish by clear and convincing evidence patent invalidity under 35

7    U.S.C. §102(a). At trial, Defendants designated approximately 30 documents which they contend

8    establish their defense of “prior art” for purposes of invalidating Dr. Aoki’s patents. Prior art however

9    is a broad term that encompasses prior public use, anticipation and obviousness. Of the 30 documents,

10   11 were admitted. They comprise these defense exhibits: (See Appendix E for chart). Defendants

11   claim Dr. Aoki’s RQ patents have been in commercial use or “on sale” more than a year prior to filing

12   of the patents. Defendants attempted to establish that Dr. Aoki’s therapy was used for the commercial

13   treatment of the various diabetic complications for which the patents were ultimately issued and that

14   use of RQ, one of the distinguishing features of the subsequent patents from the ‘810, was already in

15   use. The documents referenced above, and testimony however do not support these conclusions.

16          As discussed above (see supra, II.B.), Dr. Aoki testified that as of the 1990s, he was indeed

17   using the RQ, but on an experimental basis. He had not yet reduced it to an actual treatment

18   methodology as his focus was on improving glucose control. He had not settled on the final

19   adjustments for how often he was going to measure RQ and how to address the treatment if he was

20   looking for other physiological results outside of glucose control. (P.158:9-19 [Aoki, Vol.1].) It was

21   only later during the late 1990s did he noticed that despite glucose control getting worse, some of the

22   complications he was studying, i.e. eyes and kidneys, stayed stabilize, that he started to investigate this

23   quizzical issue further. (P.157:5-13 [Aoki, Vol.1].) Dr. Aoki testified that specifically after 1999, he

24   decided to do a baseline RQ followed by after one, two and three hours for a total of four RQs to ferret

25   out the metabolic milieus surrounding the tissues in question as well as increased the amount of pulsed

26   insulin and frequency of treatment days. (P.165:7-24 [Aoki, Vol.1].) He began looking to see if the

27   complications were responding to these, i.e. was the kidney more stable than before in response to this

28   more aggressive implementation of a different protocol and they were. (P.167:7-24 [Aoki, Vol.1].)
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1    Prior to 1999, his focus was on improving glucose control. (P.3046:25; P.3047:1-7; P.3048:1-9 [Aoki,

2    Vol.18].) Prior to applying for the RQ patents, Dr. Aoki also did not charge for the treatment of

3    diabetic complications. He only charged for out-of-control diabetes. (P.2751:3-10 [Aoki, Vol.17];

4    P.3045:20-24 [Aoki, Vol.18].)

5           Indeed, even the “prior art” documents that Defendants rely upon support Dr. Aoki’s testimony.

6    The 1990 letter from Dr. Bell to Dr. Aoki referencing a patient who had been on an “experimental

7    program with [Dr. Aoki] involving insulin and glucose control” noted improvement in the patient’s

8    retinopathy. In the letter, Dr. Bell noted that “it is well known that of course, that improvement in

9    background diabetic retinopathy may occur under certain conditions, especially improvement in

10   diabetic glucose control.” (D.Exh.P2 (Tab 42) [Bell Letter, Bates D1204 (emphasis added)].) The

11   AMSys Hepatic Activation Program document notes that “studies are in progress to assess using

12   Hepatic Activation therapy to treat a number of complications of diabetes including: 1) retinopathy; 2)

13   hypertension; 3) nephropathy; 4) autonomic neuropathy.” (D.Exh.E4 (Tab 83), [AMSys Program, 2nd

14   page].) The document additionally notes use of RQ and that “measurements are made for two 3-minute

15   intervals.” This is consistent with Dr. Aoki’s testimony that as of that time, he was experimenting with

16   use of RQ and had not reduced it to the formulation that was ultimately patented and was still

17   investigating the impact of his treatment on diabetic complications outside of glucose control.

18          In sum, none of the “prior art” documents relied upon negate Aoki’s testimony that prior to1999

19   when he first applied for the RQ patents, he was performing his treatment using RQ to treat diabetic

20   complications on an experimental basis and had not yet reduced to practice the steps and for the

21   complications that were ultimately patented. He also wasn’t charging for treatment of complications.

22                  3.      Defendants Failed To Establish Patent Invalidity Based On Anticipation
23           “To show that a patent claim is invalid as anticipated, the accused infringer must show by clear

24   and convincing evidence that a single prior art reference discloses each and every element of a claimed

25   invention. Silicon Graphics, Inc. v. ATI Technologies, 607 F.3d 784, 796 (Fed. Cir. 2010). A prior art

26   reference does not invalidate a patent if it merely “suggests” the claimed subject matter. AstraZeneca

27   LP v. Apotex, Inc., 633 F.3d 1042, 1056 (Fed. Cir. 2010). To prove anticipation, the alleged infringer

28   must show that one skilled in the art would reasonably understand or infer that every claim element is
                                                    -71-
                                       PLAINTIFFS’ [PROPOSED] CONCLUSIONS OF FACT AND LAW
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1    disclosed in the prior art reference. Id. Anticipation must be shown by clear and convincing evidence.

2    Uniloc USA, INC. v. Microsoft Corp., 632 F.3d 1292, 1321 (Fed. Cir. 2011). The Federal Circuit has

3    expressly ruled that because of the presumption of a patent’s validity, a patent holder need not provide

4    any evidence of validity, the burden is wholly upon the challenger to prove invalidity:
            a jury or a court may reach a conclusion that a patent remains valid solely on the failure
5           of the patent challenger's evidence to convincingly establish the contrary. A patent being
            presumed valid at birth, §282, a patentee need submit no evidence in support of a
6           conclusion of validity by a court or a jury.
7    Orthokinetics, Inc. v. Safety Travel Chairs, Inc. 806 F.2d 1565, 1570 (Fed. Cir. 1986) (emphasis in

8    original). The Court finds that Defendants provided no evidence, let alone clear and convincing

9    evidence that would invalidate the patents based on anticipation.

10                  4.      Defendants Failed To Establish Patent Invalidity Based On Obviousness
11          “A patent for a claimed invention may not be obtained . . . if the differences between the

12   claimed invention and the prior art are such that the claimed invention as a whole would have been

13   obvious before the effective filing date of the claimed invention to a person having ordinary skill in the

14   art to which the claimed invention pertains.” 35 U.S.C. §103. “Obviousness is a question of law based

15   on underlying facts, as set forth in Graham v. John Deere Co. of Kan. City, 383 U.S. 1, 17 (1966). The

16   Graham factors are (i) the scope and content of the prior art, (ii) the differences between the prior art

17   and the claimed invention, (iii) the level of ordinary skill in the field of the invention, and (iv) any

18   relevant objective considerations of nonobviousness. See id. at 17–18.” Mobilemedia Ideas LLC v.

19   Apple Inc., 780 F.3d 1159, 1167 (Fed. Cir. 2015). Obviousness is assessed at the time of the invention

20   and should be evaluated on a claim-by-claim basis. KSR International Co. v. Teleflex, 550 U.S. 398,

21   421 (2001) (assessed at time of invention); Aventis Pharma Deutchsland GmbH v. Lupin Ltd., 499 F.3d

22   1293, 1303 (Fed. Cir. 2007) (claim-by-claim basis). The ultimate determination of obviousness is a

23   question of law. Mobilemedia Ideas LLC v. Apple Inc., 780 F.3d 1159, 1167 (Fed. Cir. 2015). The

24   Fed. Cir. has expressly ruled that given the validity presumption under 35 U.S.C. §282, a patent holder

25   need not provide any evidence of validity, the burden is wholly upon the challenger to prove invalidity:
            a jury or a court may reach a conclusion that a patent remains valid solely on the failure
26          of the patent challenger's evidence to convincingly establish the contrary. A patent being
            presumed valid at birth, §282, a patentee need submit no evidence in support of a
27          conclusion of validity by a court or a jury.

28   Orthokinetics, Inc. v. Safety Travel Chairs, Inc. 806 F.2d 1565, 1570 (Fed. Cir. 1986) (emphasis in
                                                     -72-
                                        PLAINTIFFS’ [PROPOSED] CONCLUSIONS OF FACT AND LAW
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1    original). The Court finds that Defendants provided no evidence, let alone clear and convincing

2    evidence, that would invalidate the patents based on obviousness. Moreover, Dr. Aoki testified that

3    early on his concept was so off-the-wall that NIH wouldn’t approve funding and he had to look

4    elsewhere to private entities like AHS. (P.105:12-15; P.106:12-15; P.120:5-22 [Aoki, Vol.1].)

5           L.      Defendants’ Affirmative Defenses
6                   1.      Defendants Failed To Establish Prior Commercial Use Under §273( b)
7           A person is entitled to a defense to patent infringement where the person would otherwise be

8    infringing if (1) the person commercially used the subject matter in the United States (2) at least one

9    year before the earlier of (A) the effective filing date of the claimed invention or (B) the date on which

10   the claimed invention was disclosed to the public in a manner that qualified for the exception from prior

11   art under §102(b). 35 U.S.C. §273(a). “A person asserting a defense under this section shall have the

12   burden of establishing the defense by clear and convincing evidence.” 35 U.S.C. §273(b). A person

13   may not assert a defense under this section if the subject matter on which the defense is based was

14   derived from the patentee or persons in privity with the patentee. U.S.C. §273(e)(2). A patent is not

15   rendered invalid because a defense is established under §273. 35 U.S.C. §273(g).

16          Defendants have failed to establish prior commercial use as a defense under 35 U.S.C. §273(a).

17   From 1986 to 2002, well before the first RQ patent was filed in 2000 (see P.Exh.5 [‘736 patent]), Mr.

18   Gilbert worked in tandem with Dr. Aoki as both his lawyer and business partner. (See supra, II.D and

19   G.) Mr. Gilbert did not part ways with Dr. Aoki until 2002 when he resigned from MI following the

20   fallout that led to the Nevada litigation. (See supra, II.E. and F.) Moreover, the confidentiality agreement

21   Mr. Gilbert drafted and voluntarily signed provided that “all inventions, improvements, modifications,

22   discoveries and developments which relate to the research, development or other activities of Dr. Aoki”

23   during the time Mr. Gilbert worked with Dr. Aoki would be assigned to Dr. Aoki. (P.Exh.245 [Confid.

24   Agreement].) To the extent Mr. Gilbert claimed he and those within his control were using MAT®, APT

25   or any similar method of pulsatile insulin prior to when the first RQ was provisionally applied for in

26   2000, such subject matter necessarily derives from Dr. Aoki’s work and therefore the defense does not

27   apply. In fact, Mr. Gilbert admitted he had been using Dr. Aoki’s technology since at least before 2003

28   or 2005. (P.Exh.93 [Gilbert Supplemental Decl.].)
                                                     -73-
                                        PLAINTIFFS’ [PROPOSED] CONCLUSIONS OF FACT AND LAW
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1            “If the defense under this section is pleaded by a person who is found to infringe the patent and

2    who subsequently fails to demonstrate a reasonable basis for asserting the defense, the court shall find

3    the case exceptional for the purpose of awarding attorney fees under section 285.” 35 U.S.C. §273(f).

4    Defendants’ assertion of this defense is unreasonable given Mr. Gilbert’s long assoc. with Dr. Aoki as a

5    lawyer and business partner until 2002 and admissions by Mr. Gilbert that he had been using Dr. Aoki’s

6    MAT® therapy since before 2003 or 2005. (See supra, II.I.1.) Any commercial use by Mr. Gilbert of

7    the therapy necessarily derived from or is MAT®. In fact, Mr. Gilbert now claims that it was only in

8    2002 (after the filing of the RQ patents) that he invented APT (see supra, II.J.), which is not credible

9    given his earlier admissions, but which certainly negate Mr. Gilbert’s prior commercial use defense.

10                   2.      The Statute of Limitations Does Not Bar Plaintiffs’ Claims
11           The Court has previously addressed the applicable statute of limitations period with respect to

12   Plaintiffs’ causes of action: (1) breach of fiduciary duty/confidential relationship–one year or three year

13   depending on the gravamen of the complaint; (2) copyright infringement–three years; (3) false and

14   misleading advertising and unfair competition in violation of the Lanham Act, 15 U.S.C. §1125(a)-three

15   years; (4) false and misleading advertising under California B&P Code §17500–three or four-years; and

16   (5) unfair competition under California B&P Code §17220–four years. (ECF 175, pp. 14-18.)

17           The acts that give rise to the claims in this dispute, largely the opening of CAT / APT clinics and

18   the course of conduct that necessarily stems from that endeavor, i.e. false representations, unfair business

19   practices, et al . . were not discovered until 2009, two years prior to the filing of this lawsuit and therefore

20   well within all the applicable statute of limitations. Dr. Aoki testified that he learned of the first wave of

21   Cellular Activation Therapy clinics (the precursor to APT) in 2009. All the other previous clinics had

22   ceased to east. (P.1512:6-15 [Aoki, Vol.9].) The acts of copyright infringement continued thereafter,

23   even after this lawsuit was filed as Mr. Gilbert and his entities continued to open more clinics. There is

24   evidence for example that Dr. Aoki’s slides were used in the 2015 Trina Health Presentation that was

25   presented to the Alabama investors (P.Exh.112), the 2017 APT presentation (P.Exh.12), the 2017 video

26   promoting APT at the New York clinic (P.Exh.201), as well as in connection with Mr. Gilbert’s 2017

27   Presentation to CMS (D.Exh.T4-Tab 98, Bates D4448). (See supra, II.K. and Appendix B, copyright

28   infringement chart with reference to Bates numbers.) Each infringing act starts a new limitations period
                                                      -74-
                                         PLAINTIFFS’ [PROPOSED] CONCLUSIONS OF FACT AND LAW
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1    under the separate accrual doctrine applicable to copyright causes of action. Petrella v. Metro-Goldwyn-

2    Mayer, Inc., 572 U.S. 661, 671 (2014) (citations omitted).

3           With respect to breach of fiduciary duty / confidential relationship, a theory of continuous

4    accrual applies under California law. Separate, recurring breaches of fiduciary duty provide a basis for

5    the application of the theory of continuous accrual, where each violation triggers its own statute of

6    limitations. Yamauchi v. Cotterman, 84 F.Supp.3d 993, 1014 (N.D. 2015) (citing Aryeh v. Canon Bus.

7    Solutions, Inc., 55 Cal.4th 1185, 1198, 1199 (2013)). Whether the Court applies a one-year or longer

8    statute of limitations period, the evidence establishes that Mr. Gilbert’s continuing course of conduct

9    using Dr Aoki’s MAT® therapy and claiming it as his own, soliciting investors to open clinics with Dr.

10   Aoki’s therapy among other misconduct, continued well after this case was filed such that each new

11   breach re-sets the SOL under the continuous accrual doctrine. (See supra, II.H., I., K., L., M., N.)

12                     3.       The Physicians’ Immunity Doctrine Does Not Apply

13          Defendants have failed to establish that the physicians’ immunity doctrine under 35 U.S.C.

14   §287(c)(1), which precludes a patent from interfering with a doctor or clinician providing “medical

15   activity” applies. Dr. Aoki’s patented methods for treating diabetes and diabetes-related complications

16   do not constitute medical activity as defined by the physicians’ immunity defense and is specifically

17   described in the legislative history as exempt from assertion of the defense. See Journal of the Patent

18   and Trademark Office Society, Vol. 78 (1996), p.789-801, Appendix B (emphasis added). The

19   legislative history is directly on point because it specifically exempts from the definition of “medical

20   activity” Dr. Aoki’s treatment which involves the novel use of a drug (i.e. insulin) in treating diabetes

21   by administering insulin at a specified dose over a specified period of time. 29

22   IV.    CONCLUSION
23          Plaintiffs have proved entitlement to damages amounting to at least $25,170,500 under the

24   claims discussed above (including for trebled damages). (See supra, IV.B, E., F., G., H., I., J.)

25   Plaintiffs have also demonstrated entitlement to statutory copyright damages of $30K and $150K for

26   willful violation, totaling $180K. Plaintiffs are entitled to attorneys’ fees, costs and injunctive relief.

27
            29
28               See Plaintiffs’ trial brief at ECF 359, p.13-15 for a more extensive discussion of the Physicians’ Immunity.

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                                              PLAINTIFFS’ [PROPOSED] CONCLUSIONS OF FACT AND LAW
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1       Respectfully submitted,

2       Dated: August 5, 2019                DTN LAW GROUP
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                                  PLAINTIFFS’ [PROPOSED] CONCLUSIONS OF FACT AND LAW
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1                             APPENDIX A – Chart Of Infringing Evidence
2
            RQ Patent Claims               Infringing Evidence Found In         Infringing Evidence
3                                           Arizona Manual (P.Exh.203)           Found In Florida
                                                                                Protocol (P.Exh.228)
4
     Step 1. Determining Respiratory      Page 75 of Manual:                  “Metabolic measurement:
5    Quotient and Measuring It at         “Necessary Equipment- VacuMed       at beginning and end of
6    Intervals                            Metabolic Measurement Cart.”        treatment session for a
     All of the patents at issue use RQ   (P.Exh.203, Bates P3384.)           total of 2 measurements.”
7    for purposes of determining                                              (P.Exh.228, Bates P5-
     biological functioning other than    Use of the VacuMed metabolic 5771.)
8    glucose stability.     (P. 305:1-5   measurement         cart     which
     [Aoki, Vol.2].)                      specifically measures both CO2 In          connection     with
9                                         production and O2 consumption administering the APT or
10   All of the RQ patents reference      calculates the respiratory quotient APS protocol at the Trina
     measuring a baseline RQ at one       (“RQ”) on a breath-by-breath basis. Health of Miami clinic,
11   hour, two hour, three hour, and as   (P. 299:7-24; P.304:12-25 [Aoki, Ms. Pereyra used a
     often as needed after each           Vol.2].)                            VacuMed machine.        A
12   treatment. (P. 306, 1-7 [Aoki,                                           patient would breathe into
     Vol.2].)                             The report that is generated by the the mouthpiece.       The
13                                        VacuMed metabolic measurement machine gave readings of
14                                        device only outputs the CO2 inhaled oxygen to exhaled
                                          production and O2 consumption carbon dioxide to give a
15                                        and outputs it as the “RER” which specific       number     to
                                          is essentially RQ. (P. 305, 11-18 demonstrate if the patient
16                                        [Aoki, Vol.2].)                     was processing carbs or
                                                                              processing other forms of
17
                                          Page 76 of Manual:                  energy.      (P.1004:6-24;
18                                        “The Metabolic Measurement Cart P.1005:24-25            [Nurse
                                          is provided by VacuMed, and is Pereyra, Vol.6].) During
19                                        used to determine the volume of the                  metabolic
                                          Carbon Dioxide (VCO2, produced measurement,                the
20                                        by     the    patient    to  verify respiratory quotient would
                                          improvement, and the volume of the be given.       (P.1005:3-7
21
                                          Oxygen consumed (VO2) each [Nurse Pereyra, Vol.6].)
22                                        minute.”        (P.Exh.203, Bates
                                          P3385.)
23
                                          If you measure those two items, you
24                                        have measured RQ and the
25                                        VacuMed machine automatically
                                          prints out RQ. (P. 314:20-24 [Aoki,
26                                        Vol.2].)

27                                        The VacuMed cart cannot be set to
                                          measure only CO2 volumes.
28
                                                 -77-
                                    PLAINTIFFS’ [PROPOSED] CONCLUSIONS OF FACT AND LAW
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                                (P.319:22-4 [Aoki, Vol.2].)
1
                                Page 76 of Manual:
2
                                “After a treatment, this value [RQ]
3                               provides information on how well
                                the patient is overcoming metabolic
4                               diseases.”       (P.Exh.203, Bates
                                P3385.)
5
6                               Measuring respiratory quotient
                                does provide such information;
7                               measurement of CO2 alone will not.
                                (P.317:5-9 [Aoki, Vol.2].)
8
                                The statement regarding use of the
9                               RQ in determining how well the
10                              patient is “overcoming metabolic
                                diseases” applies both to diabetes
11                              and other complications such as eye
                                disease, kidney disease, wound
12                              healing, et al . . (P.317:10-17;
                                P.318:1-6 [Aoki, Vol.2].)
13
14                              VCO2 is just the volume of carbon
                                dioxide produced. It does not tell
15                              you if the treatment is working. (P.
                                319:7-8 [Aoki, Vol.2].)
16
                                Page 77 of Manual:
17                              “Before the initial treatment, (or
18                              when a patient has been absent for
                                6+ weeks) the patient’s resting
19                              metabolism before and in some
                                cases, after a glucose load, should
20                              be obtained in the strictest manner
                                possible.”      (P.Exh.203, Bates
21
                                P3386.)
22
                                This refers to talking about the
23                              ability of a patient’s body,
                                presumably the liver, to take that
24                              glucose and oxidize it or burn it like
                                gasoline in a car engine, which is
25
                                akin to RQ measurement. (P.324:5-
26                              19 [Aoki, Vol.2].)        To assess
                                carbohydrate metabolism in the
27                              way that is attempted here, RQ must
                                be measured.          (P.325:23-25;
28
                                          -78-
                             PLAINTIFFS’ [PROPOSED] CONCLUSIONS OF FACT AND LAW
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                                     P.326:1 [Aoki, Vol.2].)
1
                                     Page 78 of Manual:
2
                                     “The    Pre-Treatment     Baseline
3                                    number will be the lowest levels of
                                     VO2 and VCO2 during the first or
4                                    in some cases second treatment
                                     days.” (P.Exh.203, Bates P3387.)
5
6                                    CO2 and VO2 are elements of RQ.
                                     (P.327:23-25 [Aoki, Vol.2].)
7
                                     Page 84 of Manual:
8                                    “In order to determine the length of
                                     time that the treatment is causing
9                                    the patient to continue metabolizing
10                                   carbohydrates at a rate which will
                                     avoid complications and allow
11                                   tissues to heal, the Metabolic
                                     Measurement (MM) is performed
12                                   just prior or during the first minutes
                                     of treatment, then after the first hour
13                                   of treatment, then after all
14                                   treatments (usually 3 treatments
                                     total).” (P.Exh.203, Bates P3393.)
15
                                     The clinic is performing MM (or
16                                   RQ) after the first hour, two hours,
                                     and then three hours after treatment.
17                                   Similarly,     Aoki’s       treatment
18                                   measure at baseline, one hour, two
                                     hours, and then three hours.
19                                   (P.332:8-20 [Aoki, Vol.2].)

20   Step 2. IV access                   Page 112 of Manual:         “Access: Obtain 24 gauge
     IV access means putting a needle or                             peripheral IV with good
21
     catheter into a hand, forearm vein. Discusses use of IV access. blood            return.”
22   (P.306:23-25 [Aoki, Vol.2].)        (P.Exh.203, Bates P3421.)   (P.Exh.228, Bates P5-
                                                                     5771.)
23
                                                                               The protocol discusses IV
24                                                                             access. (P.353:7-8 [Aoki,
25                                                                             Vol.2].)

26                                                                             “A pediatric sized IV
                                                                               would be started into a
27                                                                             peripheral IV on the
                                                                               patient.” (P.1000:14-16
28
                                              -79-
                                 PLAINTIFFS’ [PROPOSED] CONCLUSIONS OF FACT AND LAW
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                                                                                [Nurse Pereyra, Vol.6].)
1
2    Step 3. Pump or syringe               Page 75 of Manual: It mentions “Refill and Maintenance
     Insulin is infused using a pump.      use of a syringe. (P. 314, 5-8 [Aoki, of pump: Bionica portable
3    The Bionica pump is a typical         Vol.2].)                              infusion pump inspected
     pump but other pumps can be used.                                           for proper function and
4    (P.307:19-24     [Aoki,   Vol.2].)    P.87 of Manual: Mentions use of battery                  level.”
     Insulin pulses can also be            Bionica pump.                         (P.Exh.228, Bates P5-
5    administered using a syringe.                                               5771.)
6    (P.307:25;     P.308:1-3   [Aoki,     There’s a whole section on the use
     Vol.2].)                              of the Bionica pump in the manual. The protocol reports using
7                                          (P.334:15 [Aoki, Vol.2].)             a Bionica infusion pump.
                                                                                 (P.353:23 [Aoki, Vol.2].)
8
     Step 4. Initial infusion of saline    Page 44 of Manual:          “Prepped with patient
9    and then insulin pulses, typically    “It has been found that mostdetails and primed with
10   every 6 minutes                       patients should have 6 minute
                                                                       Humalog           100U/mL
     What is infused via the needle or     intervals between pulses, with a
                                                                       insulin as indicated below.
11   catheter   is    initially  saline.   total of 10 pulses.” (P.Exh.203,
                                                                       . . Medication: 0.5mL or
     (P.307:15-16 [Aoki, Vol.2].)          Bates P3353.)               1mL Humalog U100
12                                                                     insulin mixed with 0.9%
     Insulin is infused in pulses every Page 89 of Manual:             sodium chloride [i.e.
13
     six minutes with a total of ten “Interval should remain at six saline] to equal 10mL total
14   pulses over a one-hour period. minutes.”        (P.Exh.203, Bates volume in BD syringe.”
     (P.308: 4-12 [Aoki, Vol.2].)       P3398.)                        (P.Exh.228, P5-5771.)
15
     Several of the RQ patents mentions These are the intervals that are        “Pump intervals set every
16   use of other intervals and other claimed on the RQ patents.                6 minutes for a total
     intervals between pulses can be (P.338:6-13 [Aoki, Vol.2].)                number of 10 pulses per
17
     used, but six minutes is the typical                                       cycle.” (P.Exh.228, Bates
18   interval.    (P.309:17-20 [Aoki,                                           P5-5771.)
     Vol.2].)
19                                                                              This is precisely what the
                                                                                RQ patents recommend
20                                                                              and outline and claim. (P.
21                                                                              353:25; P.354:1-2 [Aoki,
                                                                                Vol.2].)
22
                                                                                “There was a mixture of
23                                                                              Humalog insulin with
                                                                                normal saline that would
24                                                                              be mixed into a syringe,
25                                                                              which      was       then
                                                                                programmed into the
26                                                                              pump.”     (P.1000:16-18
                                                                                [Nurse Pereyra, Vol.6].)
27
                                                                                “And once the pump was
28
                                                  -80-
                                     PLAINTIFFS’ [PROPOSED] CONCLUSIONS OF FACT AND LAW
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                                                                                  started, it would go for 10
1                                                                                 pulses each hour, so every
                                                                                  6 minutes they would
2
                                                                                  receive a burst or a dose of
3                                                                                 the medication as the
                                                                                  pump       was    running.”
4                                                                                 (P.1003:7-9          [Nurse
                                                                                  Pereyra, Vol.6].)
5
6
     Step 5.        Administration of Page 77 of Manual:                          “Diet:     NPO during
7    glucose or oral carbohydrates        “Before the initial treatment, (or      treatment session with
                                          when a patient has been absent for      exception of oral dextrose
8    Oral glucose is administered to 6+ weeks) the patient’s resting              drinks provided by staff.”
     raise the concentration of glucose metabolism before and in some             (P.Exh.228, Bates P5-
9    in the portal vein so that the liver cases, after a glucose load, should     5771.)
10   cell will receive a high glucose be obtained in the strictest manner
     level together with a high insulin possible.” (P.Exh.203, Bates 3386)        “Because it was an insulin
11   level simultaneously. (P.309:21-25                                           infusion, we would want
     [Aoki, Vol.2].)                      This refers to the patient eating or    to keep their blood glucose
12                                        swallowing a high carbohydrate          levels higher than the
     The RQ patents specifies a range of glucose containing meal as               norm because the insulin
13   glucose that’s determined on an discussed in the RQ patents.                 infusion will bring down
14   individual basis ranging from 40 to (P.324:20-25;      P.325:1     [Aoki,    their glucose level. So for
     100 grams of glucose per Vol.2].)                                            safety reasons we had a
15   treatment.     (P.310:6-15 [Aoki,                                            goal of 150 to 250
     Vol.2]).                             Page 79 of Manual:                      milligrams per deciliter for
16                                        “Try to arrive at clinic with Blood     the treatment session.”
                                          Glucose of 150-200 mg/dl.”              (P.1003:15-19        [Nurse
17
                                                                                  Pereyra, Vol.6].)
18                                        When patients come to the clinic for
                                          receiving treatment, their blood
19                                        sugar should be between 150 to 200
                                          milligrams per deciliter. (P.329:11-
20                                        13; P. 330:7-9 [Aoki, Vol.2].)
21
                                          Page 79 of Manual:
22                                        Mentions giving the patient “75
                                          grams of glucose (dextrose).”
23                                        (P.Exh.203, Bates P3388.)
24                                        Page 99 of Manual:
25                                        “The goal during all treatments is to
                                          maintain blood glucose in the 130 to
26                                        250 mg/dl treatment range AND
                                          ingest a TOTAL Glucose for each
27                                        one-hour treatment, optimally
                                          between 70 and 100 grams
28
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                                     PLAINTIFFS’ [PROPOSED] CONCLUSIONS OF FACT AND LAW
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                                           (equaling 200 grams to 300 grams
1                                          for    all   treatment    hours).”
                                           (P.Exh.203, Bates P3408.)
2
3                                          This goes to the glucose loads on
                                           the patented claims. (P.344:6-13
4                                          [Aoki, Vol.2].)
5    Step 6. Amount of insulin per Page 88 of Manual:                                “Prepped with patient
6    pulse                                “Doses are for each individual             details and primed with
                                          Burst of insulin in range of 10 to 70      Humalog           100U/mL
7    The amount of insulin per pulse mU/kg.”              (P.Exh.203, Bates          insulin as indicated below.
     ranges usually from a minimum of P3397.)                                        . . Medication: 0.5mL or
8    10 milliunits per kilogram body                                                 1mL Humalog U100
     weight, mU/kg.         (P.308:13-17 This relates to dosage of insulin for       insulin mixed with 0.9%
9    [Aoki, Vol.2].)                      the pump. (P.337:12-23 [Aoki,              sodium chloride [i.e.
10                                        Vol.2].)                                   saline] to equal 10mL total
     There are different dosages for                                                 volume in BD syringe.”
11   Type 1 and Type 2 diabetic                                                      (P.Exh.228, Bates P5-
     patients. Some Type 2s are very                                                 5771.)
12   insulin sensitive and so they will
     get 10 milliunits, perhaps even less
13   per kilogram body weight. Some
14   Type 1s are very insulin resistant
     and may require much higher
15   doses, like 70 milliunits per
     kilogram body weight. (P.308:18-
16   25 [Aoki, Vol.2].)
17
     The range of dosage can go as high
18   as 200 milliunits per kilogram body
     weight. (P.309:5-7 [Aoki, Vol.2].)
19
     Step. 7. Rest Period                  Page 4 of Manual:                         “Activity: Resting in chair
20   After each treatment cycle of ten     “How long does the treatment last?        with 5-15 minutes of
21   pulses, the high insulin levels       Typically in a clinic visit the patient   ambulation hourly x3.”
     engendered by the pulsing             receives three-one hour sessions          (P.Exh.228, Bates P5-
22   sequence is returned to baseline.     with a break between sessions. The        5771.)
     Waiting 30 minutes or so between      typical time of the break is 40-60
23   treatments will allow the free        minutes.”     (P.Exh.203,        Bates
     insulin concentration to approach     P3313.)
24   close to baseline.      (P.311:2-6
25   [Aoki, Vol.2].)                       Page 97 of Manual:
                                           Glucose Changes According to
26                                         Metabolic Measurement, ¶2:
                                           “After the first treatment session,
27                                         which lasts 60 minutes, evaluate the
                                           response by performing a second
28
                                                   -82-
                                      PLAINTIFFS’ [PROPOSED] CONCLUSIONS OF FACT AND LAW
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                                           Metabolic Measurement. Let the
1                                          patient rest for 15 to 60 minutes
                                           before continuing the second
2
                                           session, repeating all the previous
3                                          steps.” (P.Exh.203, Bates P3406.)

4                                          This rest period is indicated in the
                                           claims. (P.342:13-25; P.343:1-7
5                                          [Aoki, Vol.2].)
6
     Step 8. Three Cycles                  Page 4 of Manual:                         “Pump to run a total of 3
7    A typical treatment day consists of   “How long does the treatment last?        cycles        throughout
     three ten-pulse cycles per day. (P.   Typically in a clinic visit the patient   treatment.” (P.Exh.228,
8    312:1-6 [Aoki, Vol.2].)               receives three-one hour sessions          Bates P5-5771.)
                                           with a break between sessions. The
9                                          typical time of the break is 40-60        “We would inspect the
10                                         minutes.”     (P.Exh.203,        Bates    pump, itself, to make sure
                                           P3313.)                                   that it had a full battery so
11                                                                                   that it would run, you
                                           Page 44 of Manual:                        know, throughout the
12                                         “It has been found that most              entire three-hour sessions
                                           patients should have 6 minute             and not have any issue.”
13                                         intervals between pulses, with a          (P.1002:21-24         [Nurse
14                                         total of 10 pulses.” (P.Exh.203,          Pereyra, Vol.6].)
                                           Bates 3353)
15                                                                                   “And once the pump was
                                                                                     started, it would go for 10
16                                                                                   pulses each hour, so every
                                                                                     6 minutes they would
17
                                                                                     receive a burst or a dose of
18                                                                                   the medication as the
                                                                                     pump       was    running.”
19                                                                                   (P.1003:7-9          [Nurse
                                                                                     Pereyra, Vol.6].)
20
21   Step 9. Once a week or more           Page 84 of Manual:
     than once a week.                     “Treatments are initially given for
22   Typically patients get one            two    successive     (or    nearly
     treatment day per week or it can be   successive) days . . . thereafter
23   more frequently than one treatment    treatment takes place once a week
     day per week, i.e. three times a      for at least 8 to 12 weeks.”
24   week or even more. (P.312:11-14       (P.Exh.203, Bates P3393.)
25   [Aoki, Vol.2].)
                                           “[T]reatment must be shortened to
26                                         10 or even 7 days.” (P.Exh.203,
                                           Bates P3393.)
27
                                           The recommendation for all the RQ
28
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                                     PLAINTIFFS’ [PROPOSED] CONCLUSIONS OF FACT AND LAW
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                                         treatment is once a week or more
1                                        frequently as needed. (P.336:7-14
                                         [Aoki, Vol.2].)
2
3    The RQ patents treat various        Page 4-5 of Manual:                       “The conditions for which
     tissues    and     complications.   “What does it do for these                the ARNP may initiate
4    (P.1450:16-21 [Aoki, Vol.9];        complications of diabetes?” The           treatment include, but are
     P.Exhs.2-7 [RQ patents].)           manual states the treatment               not limited to diabetes.”
5                                        addresses neuropathy, wounds,             (P.Exh.228, Bates P5-
6                                        kidney disease, retinopathy, and          5771.)
                                         heart disease. (P.Exh.203, Bates
7                                        P3314-3315.)                              During her job interview
                                                                                   in 2014, Mr. Gilbert told
8                                        Page 84 of Manual:                        Natalie Pereyra, the nurse
                                         “In order to determine the length of      at the Trina Health Miami
9                                        time that the treatment is causing        clinic, a licensed Trina
10                                       the patient to continue metabolizing      Health clinic, that her job
                                         carbohydrates at a rate which will        would               involve
11                                       avoid complications and allow             administering a treatment
                                         tissues to heal, the Metabolic            for patients who suffered
12                                       Measurement (MM) is performed             from               diabetes
                                         just prior or during the first minutes    complications.          (P.
13                                       of treatment, then after the first hour   1006:2-10         [Pereyra,
14                                       of treatment, then after all              Vol.6];      P.1877:20-25;
                                         treatments (usually 3 treatments          P.1878:1-5         [Gilbert,
15                                       total).” (P.Exh.203, Bates P3393.)        Vol.11].)

16                                       The reference to “complications” of
                                         diabetes includes the targets of the
17
                                         various RQ patents. (P.331:20-25
18                                       [Aoki, Vol.2].)

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1
                         APPENDIX B – Chart Of Copyrighted Slides That Were Copied
2
3       Title of slide found in Aoki   Infringing use identified by exhibit number and internal Bates
           MAT® presentation                                       number
4
                  (Exh.10A)
5     Free     insulin    peak   chart 201730 CMS Presentation (D.Exh.T4-Tab 98, Bates D4448).
      (P.Exh.10A, Bates P6-5840)
6                                      2015 Trina Health Presentation (P.Exh.112, Bates P4525.)
7                                              2017 Dr. G. Ford Gilbert On Diabetes at the Relief Centers of South
8                                              Bronx (P.Exh.201, Video Link)

9                                              2017 APT Presentation (P.Exh.12, Bates P2683; P.1457:16-20
                                               [Aoki, Vol.9].)
10
      Slide of Photo of Interior 2015 Trina Health Presentation (P.Exh.112, Bates P4530.)
11    Laboratory (P.Exh.10A, Bates
12    P6-5795.)                    2017 APT Presentation (P.Exh.12, Bates P2683; P.1457:16-20
                                   [Aoki, Vol.9].)
13
      Fuel Oxidation – Oral 100g 2015 Trina Health Presentation (P.Exh.112, Bates P4533.)
14    Glucose Test Chart (P. Exh.10A,
      Bates P6-5802.)                 2015 Trina Health 360 Transforming Metaboism2 Video
15
                                      (P.Exh.195, Video Link)
16
                                               2017 APT Presentation (P.Exh.12, Bates P2683; P.1457:16-20
17                                             [Aoki, Vol.9].)
18    Fuel Oxidation – Lunch Test 2015 Trina Health Presentation (P.Exh.112, Bates P4534.)
19    Meal Study (P.Exh.10A, Bates
      P6-5804.)                    2015 Trina Health 360 Transforming Metabolism2 Video
20                                 (P.Exh.195, Video Link)

21                                             2017 APT Presentation (P.Exh.12, Bates P2683; P.1457:16-20
                                               [Aoki, Vol.9].)
22
23    Fuel Oxidation – Exercise 2015 Trina Health Presentation (P.Exh.112, Bates P4536.)
      (P.Exh.10A, Bates P6-5811)
24                               2015 Trina Health 360 Transforming Metabolism2 Video
                                 (P.Exh.195, Video Link)
25
                                               2017 APT Presentation (P.Exh.12, Bates P2683; P.1457:16-20
26
27           30
               The free insulin chart is the last page of Defendants’ Exhibit T4 (Tab 98) and confusingly has both bates
28   numbers 4448 and 4449. This presentation is dated October 1, 2017 per Defendants’ exhibit list.

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                                   [Aoki, Vol.9].)
1
2    Photo of Exercise Bike 2015 Trina Health Presentation (P.Exh.112, Bates P4535.)
     (P.Exh.10A, Bates P6-5808)
3                               2015 Trina Health 360 Transforming Metabolism2 Video
                                (P.Exh.195, Video Link)
4
     Results – Glycemic Control 1 2015 Trina Health Presentation (P.Exh.112, Bates P4580.)
5    (P.Exh.10A, Bates P6-5821.)
6                                 2017 APT Presentation (P.Exh.12, Bates P2683; P.1457:16-20
                                  [Aoki, Vol.9].)
7
     Photos of feet of Dr. Aoki’s 2015 Trina Health Presentation (P.Exh.112, Bates P4551-4554.)
8    patient treated with MAT®
     (P.Exh.10A, Bates P6-5835 to 2015 Trina Health 360 Wounds Healed (P.Exh.194, Video Link)
9
     5838.)
10                                2017 APT Presentation (P.Exh.12, Bates P2683; P.1457:16-20
                                  [Aoki, Vol.9].)
11   Hypertension Graph – Group B 2015 Trina Health Presentation (P.Exh.112, Bates P4577.)
     control phase and Group B
12   treatment phase. (P.Exh.10A, 2017 APT Presentation (P.Exh.12, Bates P2683; P.1457:16-20
     Bates 6-5823.)               [Aoki, Vol.9].)
13
14   Creatinine Clearance Chart 2015 Trina Health Presentation (P.Exh.112, Bates P4575.)
     (“Start Treatment”) (P.Exh.10A,
15   Bates 6-5825.)                  2017 APT Presentation (P.Exh.12, Bates P2683; P.1457:16-20
                                     [Aoki, Vol.9].)
16
17   Treatment     of      Diabetic 2015 Trina Health Presentation (P.Exh.112, Bates P4571.)
     Nephropathy, Aoki et al. 175 –
18   Table 1 (P.Exh.10A, Bates P6- 2017 APT Presentation (P.Exh.12, Bates P2683; P.1457:16-20
     5827.)                         [Aoki, Vol.9].)
19
     Treatment     of      Diabetic 2015 Trina Health Presentation (P.Exh.112, Bates P4572.)
20
     Nephropathy, Aoki et al. 175 –
21   Table 2 (P.Exh.10A, Bates P6- 2017 APT Presentation (P.Exh.12, Bates P2683; P.1457:16-20
     5828.)                         [Aoki, Vol.9].)
22
     Table 1. Main Characteristics of 2015 Trina Health Presentation (P.Exh.112, Bates P4573.)
23   IDDM patients. (P.Exh.10A,
24   Bates P6-5830.)                  2017 APT Presentation (P.Exh.12, Bates P2683; P.1457:16-20
                                      [Aoki, Vol.9].)
25
     Table with footer tagline, 2015 Trina Health Presentation (P.Exh.112, Bates P4574.)
26   “Adapted from DAILEY G et al.
     Diabetes 1995. (P.Exh.10A, 2017 APT Presentation (P.Exh.12, Bates P2683; P.1457:16-20
27   Bates P6-5831.)               [Aoki, Vol.9].)
28
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1
                                   APPENDIX C – License Agreements
2
      Exh. No.      License Agreement                               Financial Terms
3
     P.Exh.94    7-17-13 Dallas Ft. Worth      @ p.6, ¶5(a), Bates D97: “Founders are obligated to pay
4    (D92-       Metroplex         Exclusive   herewith a one-time Twenty Thousand Dollars ($20,000) per
     113)        License          Agreement    chair license fee ‘Chair Fee’ for the first six (6) Chairs of
5                Between Health Assurance      each Clinic to be opened in the EMA sites as agreed by the
                 of North Texas, Advanced      parties.”
6                Metabolism            Care
7                Associates, and Trina         @ p.7-8, ¶5(h), Bates D98-99: “$500 oversight fee.”
                 Health, LLC With consent
8                of Bionica, Inc.              @ p.10, ¶12, Bates D101: “Royalty . . . shall initially be
                 (Texas)                       (7%) of Net Revenue and reduced to (5%) only after Trina
9                                              has retired the royalty stream payable to Connecticut
                                               Innovations (State of Connecticut) pursuant to the
10                                             Development Agreement. That agreement is fully paid after
11                                             three million dollars is paid thereunder.”

12                                             @ p.14, ¶23, Bates D105: $10K training fee.

13                                             Terms Requiring Purchase of Bionica Pump:
                                               @ p.2, Whereas clause, discussing concurrent with execution
14                                             of agreement, the parties shall enter into a Manufacturing and
15                                             Supply Agreement with Bionica, Inc. whereby licensee shall
                                               purchase Bionica pump for administration of APT and APS.
16
                                               @ p.3, ¶ 1(e), defining Bionica pump as pump used for APS.
17
                                               @p.3, ¶ 1(g), defining clinic to mean a specified number of
18
                                               chairs per clinic and one pump shall be used for each chair.
19
     P.Exh.95    12-31-13 License          @p.6, ¶6.b, Bates P2948: License fee of $20,000 per chair
20   (P2943-     Agreement between
     2961)       Diabetic Innovations, LLC @p.13, ¶20, Bates P2955: $10K training fee
21               and Trina Health, LLC
22                                         @p.10, ¶11, Bates P2952: Royalty Fee of 5% and Cooperation
                 (Arizona)                 Fee of 13% of Gross Revenues
23
                                               Terms Requiring Purchase of Bionica Pump:
24                                             @ p.2, Whereas clause, discussing concurrent with execution
                                               of agreement, the parties shall enter into a Manufacturing and
25                                             Supply Agreement with Bionica, Inc. whereby licensee shall
26                                             purchase Bionica pump (as well as metabolic measurement
                                               equipment and insulin) for administration of APT and APS.
27
                                               @ p.3, ¶ 1(g), defining Bionica pump as pump used for APS.
28
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                                           @p.3, ¶ 1(h), defining clinic to mean a specified number of
1                                          chairs per clinic and one pump shall be used for each chair.
2
     P.Exh.98   4-09-14          License @ p.6, ¶6.b, Bates D185: “$20K per chair fee for each Clinic
3    (D180-     Agreement between Smart . . . “
     198)       Medical, LLC and Trina
4               Health, LLC with consent @ p. 8, ¶6.j, Bates D187: $500 oversight fee.
                of Bionica, Inc.
5                                        @ p. 8, ¶6.k, Bates D187: $10K training fee
6
                                           @ p. 11, ¶12, Bates D190: royalty fee of 5% of gross
7                                          revenue (as adjusted) and a cooperation fee of 13% of gross
                                           revenue (as adjusted)
8
                                           Terms Requiring Purchase of Bionica Pump:
9                                          @ p.1, Whereas clause, discussing concurrent with execution
10                                         of agreement, the parties shall enter into a Manufacturing and
                                           Supply Agreement with Bionica, Inc. whereby licensee shall
11                                         purchase Bionica pump (as well as metabolic measurement
                                           equipment and insulin) for administration of APT and APS.
12
                                           @ p.2, ¶ 1(e), defining Bionica pump as pump used for APS.
13
14                                         @p.2, ¶ 1(f), defining clinic to mean a specified number of
                                           chairs per clinic and one pump shall be used for each chair.
15
     P.Exh.99   8-25-14 License            @ p.6, ¶6.a, Bates D124: $120K up front per chair fee
16   (D119-     Agreement between          license fee for a six chair clinic.
     138)       Pacrim US, LLC dba CP
17
                Homes and Trina Health,    @ p.8, ¶6.k, Bates D126: $500 oversight fee
18              LLC with the consent of
                Bionica, Inc.              @ p.8, ¶6.l, Bates D126: $10K training fee
19              (Fairhope, Alabama)
                                           @ p.11, ¶12, Bates D129: royalty fee of 7% of gross revenue
20                                         and cooperation fee of 13% of gross revenue.
21
                                           Terms Requiring Purchase of Bionica Pump:
22                                         @ p.2, Whereas clause, discussing concurrent with execution
                                           of agreement, the parties shall enter into a Manufacturing and
23                                         Supply Agreement with Bionica, Inc. whereby licensee shall
                                           purchase Bionica pump (as well as metabolic measurement
24                                         equipment and insulin) for administration of APT and APS.
25
                                           @ p.3, ¶ 1(f), defining Bionica pump as pump used for APS.
26
                                           @ p.3, ¶ 1(g), defining clinic to mean a specified number of
27                                         chairs per clinic and one pump shall be used for each chair.
28
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     P.Exh.104 3-04-15 License            @ p. 7, ¶6.a, Bates D319: $20K per chair license fee
1    (D313-    Agreement between Trina
     322)      Health of Kansas, LLC      @ p. 9, ¶6.q, Bates D321: $10K training fee
2
               and Trina Health, LLC
3              With Consent of Bionica,   @ p. 11, ¶12, Bates D323: royalty fee of 5% of gross
               Inc.                       revenue and a cooperation fee of 13% of gross revenue.
4              (Kansas)
                                          Terms Requiring Purchase of Bionica Pump:
5                                         @ p.1, Whereas clause, discussing concurrent with execution
6                                         of agreement, the parties shall enter into a Manufacturing and
                                          Supply Agreement with Bionica, Inc. whereby licensee shall
7                                         purchase Bionica pump (as well as metabolic measurement
                                          equipment and insulin) for administration of APT and APS.
8
                                          @ p.2, ¶ 1(f), defining Bionica pump as pump used for APS.
9
10                                        @ p.2, ¶ 1(g), defining clinic to mean a specified number of
                                          chairs per clinic and one pump shall be used for each chair.
11
     P.Exh.105 2-10-16 License            @ p.8, ¶8.c, Bates D79: $22,500 per chair
12   (D72-91) Agreement between
               Animo Health, Inc. and     @ p.10, ¶8.m, Bates D81: $10K training fee
13             Trina Health, LLC with
14             consent of Bionica, Inc.   @ p.18, ¶34.g, Bates D89: billing services is 5% of amount
                                          collected
15
                                          Terms Requiring Purchase of Bionica Pump:
16                                        @ p.1, Whereas clause, discussing concurrent with execution
                                          of agreement, the parties shall enter into a Manufacturing and
17
                                          Supply Agreement with Bionica, Inc. whereby licensee shall
18                                        purchase Bionica pump (as well as metabolic measurement
                                          equipment and insulin) for administration of APT and APS.
19
                                          @ p.2, ¶ 1(e), defining Bionica pump as pump used for APS.
20
                                          @ p.2, ¶ 1(f), defining clinic to mean a specified number of
21
                                          chairs per clinic and one pump shall be used for each chair.
22
     P.Exh.108 7-06-16 License            @ p. 7, ¶6.a, Bates D270: $100K per clinic fee for each
23   (D264-    Agreement between          clinic opened by NEWCO Clinics.
     285)      Healthy Foods, Inc.
24             (“NEWCO”) and Trina        @ p. 7, ¶6.b, Bates D270: $20K per chair license fee.
25             Health, LLC with consent
               of Bionica, Inc.           @ p.9, ¶6.q, Bates D272: $10K training fee
26
                                          Terms Requiring Purchase of Bionica Pump:
27                                        @ p.1, Whereas clause, discussing concurrent with execution
                                          of agreement, the parties shall enter into a Manufacturing and
28
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                                    Supply Agreement with Bionica, Inc. whereby licensee shall
1                                   purchase Bionica pump (as well as metabolic measurement
                                    equipment and insulin) for administration of APT and APS.
2
3                                   @ p.2, ¶ 1(e), defining Bionica pump as pump used for APS.

4                                   @ p.2, ¶ 1(f), defining clinic to mean a specified number of
                                    chairs per clinic and one pump shall be used for each chair.
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1                                             APPENDIX D1
2             Claim By-Claim Analysis Of 6,967,191 Patent (System- Eye and Nerve Disease)
                    Claim                                   Infringing Evidence
3
4    (1) A system for treating eye and        See supra II.H.1 and Appendix A, chart of infringing
     nerve disease associated with            evidence discussing various tissues and complications
5    a diminution in glucose oxidation in     (last row after step 9).
     patients through
6    an intravenous site administering        See also supra II.L.1 citing P.Exh.112 [2015 Trina
     a pulse of insulin to a patient          Prospectus, Bates P4596] which states APT “is the only
7    comprising:                              clinically proven safe and effective way to treat all of the
8                                             complications of diabetes;” see also P.Exh.112 at Bates
                                              4609; P.Exh.11 [CAT Presentation, Bates P1013,
9                                             1017]).

10   a) determining a respiratory quotient    See supra II.H.1 and Appendix A, chart of infringing
     of the patient                           evidence discussing use of RQ at step 1.
11
12                                            See also supra II.H.2, 3, 4 and 5 discussing evidence of
                                              use of RQ.
13
     b) having the patient consume a          See supra II.H.1 and Appendix A, chart of infringing
14   liquid or food containing glucose        evidence discussing administration of oral glucose at step
                                              5.
15
16   c) administering intravenously the       See supra II.H.1 and Appendix A, chart of infringing
     pulse of insulin                         evidence discussing IV access at step 2, use of
17                                            pump/syringe at step 3 and insulin pulses at 6 minute
                                              intervals at step 4.
18
19   at a regular interval of time            See supra II.H.1 and Appendix A, chart of infringing
                                              evidence discussing insulin pulses at 6 minute intervals
20                                            at step 4.

21   until the respiratory quotient is 0.90   Ms. Shaffer testified that patients at the Trina clinics held
     or greater                               a competition to see who could get to an RQ goal of over
22                                            .90, i.e. 100 or 1. (P.2609:23-25; P2610:1-2 [Shaffer,
23                                            Vol.16].)

24   (2) the intravenous site further        See supra II.H.1 and Appendix A, chart of infringing
     comprises a needle or catheter located evidence discussing IV access and pump/syringe at steps
25   in the patient's body, hand or forearm. 2 and 3.
26
     (3) the liquid or food contains 60 to  See supra II.H.1 and Appendix A, chart of infringing
27   100 grams of glucose                   evidence discussing administration of oral glucose at step
                                            5. Specifically, page 79 of the manual mentions giving
28                                          the patient 75 grams of glucose (dextrose).
                                                   -91-
                                     PLAINTIFFS’ [PROPOSED] CONCLUSIONS OF FACT AND LAW
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1    (4) the administered by the pulse of      See supra II.H.1 and Appendix A, chart of infringing
2    insulin is an intravenous infusion        evidence discussing use of pump at step 3.
     device
3
     (5) the interval of time is about six     See supra II.H.1 and Appendix A, chart of infringing
4    minutes                                   evidence discussing insulin pulses at 6 minute intervals
                                               at step 4.
5    (6) the pulse of insulin is tailored to   See supra II.H.1 and Appendix A, chart of infringing
6    achieve increased retinal and glucose     evidence discussing various tissues and complications
     oxidation by enhanced pyruvate            including retinopathy (last row after step 9).
7    dehydrogenase complex activity
                                               See also supra II.L.1 citing P.Exh.112 [2015 Trina
8                                              Prospectus, Bates P4596] which states APT “is the only
                                               clinically proven safe and effective way to treat all of the
9
                                               complications of diabetes;” see also P.Exh.112 at Bates
10                                             4609; P.Exh.11 [CAT Presentation, Bates P1013,
                                               1017]).
11
                                               See supra II.L.1 citing P.Exh.112 [2015 Trina
12                                             Prospectus, Bates P4606] stating APT “mimics normal
                                               stimulation of the liver and produces the necessary
13
                                               enzymes to cause all the cells of the body to become
14                                             more metabolically normal;” see also P.Exh.112, Bates
                                               P4531.
15
                                               See also supra II.K. citing MAT® slides used in APT
16                                             presentations pertaining to fuel oxidation, i.e. P.Exh.112
                                               [2015 Trina Presentations, Bates 4533], P.Exh.195 [Trina
17
                                               Health Transforming Metabolism2 Video], P.Exh.12
18                                             [2017 APT Presentation, Bates 2683; P.1457:16-20
                                               [Aoki, Vol.9].)
19
     (7) the intravenous site is converted     See supra II.H.1, chart of infringing evidence discussing
20   to a heparin or saline lock during the    IV access at step 2, use of a pump or syringe at step 3
21   rest period                               and rest period at step 7.

22                                             See also supra II.A.7 (citing P.Exh.103 [APT Article,
                                               Bates P1105], P.Exh.112 [Trina Prospectus, Bates
23                                             P4597]), discussing activities patients can do during rest
                                               period. This leads to the inference that during rest
24                                             periods, patients are disconnected from the pump and the
25                                             IV "stoppered" (essentially converted to a saline lock) or
                                               else blood would come out of the catheter.
26
27

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                                                  -92-
                                     PLAINTIFFS’ [PROPOSED] CONCLUSIONS OF FACT AND LAW
                                                              Case No.: 2:11-cv-02797-TLN-CKD
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                                               APPENDIX D2
1
        Claim By-Claim Analysis Of 6,579,531 Patent (Method - Heart And Cardiovascular Disease)
2
                     Claim                                      Infringing Evidence
3    1) A method for treating heart          See supra II.H.1 and Appendix A, chart of infringing
4    disease and cardiovascular disease      evidence discussing various tissues and complications
     in diabetic and non-diabetic patients   (last row after step 9).
5    by improving the dietary fuel
     capabilities and correct an             See also supra II.L.1 citing P.Exh.112 [2015 Trina
6    overutilization of free fatty acids     Prospectus, Bates P4596] which states APT “is the
     comprising the steps of:                only clinically proven safe and effective way to treat
7                                            all of the complications of diabetes;” see also
8                                            P.Exh.112 at Bates 4609; P.Exh.11 [CAT
                                             Presentation, Bates P1013, 1017]).
9
                                             See also page 5 of Arizona manual discussing “Heart
10                                           Disease.” (P.Exh.203.)
11                                           See also page 83 of Arizona manual, Verification of
12                                           Metabolic Improvement by Treatment; 1st
                                             Paragraph ("...includes the verification of metabolic
13                                           improvement to achieve the two goals of increased
                                             ATP energy (cellular energy) and at the same time
14                                           increase carbohydrate metabolism which
                                             automatically reduces lipid (free fatty acid) and thus
15                                           metabolic inflammation.”) (P.Exh.203.)
16
     a) determining a steady baseline        See supra II.H.1 and Appendix A, chart of infringing
17   respiratory quotient of a patient       evidence discussing use of RQ at step 1.
18   and obtaining a subsequent              See supra II.H.1 and Appendix A, chart of infringing
     respiratory quotient every 30           evidence discussing use of RQ at step 1.
19
     minutes
20                                           See also P.3055:23-25; P.3056:1-4, 14-25, P.3058:23-
                                             24; P.3059:1-11 [Aoki, Vol.18, discussing multiple
21                                           RQs reflected on Shaffer’s treatment charts];
                                             P.Exh.244A [Shaffer Treatment Chart ] (reflecting
22                                           RQs of .70, .94 and .96).
23
                                             See also Arcangeli testimony supra II.H.2.b, testifying
24                                           Mr. Gilbert’s diabetes.net website reflected checking
                                             “blood sugar every thirty minutes . . . and measuring
25                                           RQs.”
26   the steady baseline respiratory         See supra II.H.1 and Appendix A, chart of infringing
27   quotient being two identical            evidence discussing use of RQ at step 1.
     consecutive respiratory quotients
28   less than 0.90 measured five            Ms. Shaffer testified that patients at the Trina clinics
                                                  -93-
                                     PLAINTIFFS’ [PROPOSED] CONCLUSIONS OF FACT AND LAW
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     minutes apart                           held a competition to see who could get to an RQ goal
1                                            of over .90, i.e. 100 or 1. (P.2609:23-25; P2610:1-2
                                             [Shaffer, Vol.16].)
2
3    b) have the patient consume a liquid    See supra II.H.1 and Appendix A, chart of infringing
     or food containing 60 to 100 grams      evidence discussing administration of oral glucose at
4    of glucose                              step 5.
5    c) administering a pulse of insulin     See supra II.H.1 and Appendix A, chart of infringing
6                                            evidence discussing pulses of insulin at step 6.

7    through an intravenous site             See supra II.H.1 and Appendix A, chart of infringing
                                             evidence discussing IV access and pump/syringe at
8                                            steps 2 and 3.
9
                                             See also page 2 of Arizona manual (What is Artificial
10                                           Pancreas Treatment (APT)? at last paragraph, line 2,
                                             "...programmed pump that sends pulses of insulin
11                                           intravenously..."); page 32 ("You now have a
                                             completed mixed insulin syringe and primed pump
12                                           ready for programming and attachment to patient's
                                             IV"); and page 90 (Step 8. Attach IV Set to Syringe).
13
                                             (P.Exh.203.)
14
     at a six minute interval of time        See supra II.H.1 and Appendix A, chart of infringing
15                                           evidence discussing insulin pulses at 6 minute
                                             intervals at step 4.
16
17   until the subsequent respiratory        See supra II.H.1, chart of infringing evidence and
     quotient shows an improvement           Appendix A discussing use of RQ at step 1.
18   over the steady baseline respiratory
     quotient                                Ms. Shaffer testified that patients at the Trina clinics
19                                           held a competition to see who could get to an RQ goal
                                             of over .90, i.e. 100 or 1. (P.2609:23-25; P2610:1-2
20                                           [Shaffer, Vol.16].)
21
     the pulse of insulin being 20 to 35     See page 87 of Arizona manual (“Bionica Pump,
22   milliunits of insulin per kilogram of   Programming and Use; #2, 3rd Paragraph states "Most
     body weight for a non-diabetic and a    patients treat at a range of 35 mU/kg or lower"); pages
23   Type I diabetic                         87-88, ¶3 DOSE, in Bursts of Insulin, (a) ("Doses are
                                             for EACH individual burst of insulin in range of 10 to
24
                                             70 mU/kg"); See also pages 71 to 73 (Types of
25                                           Diabetes and Patients). (P.Exh.203.)

26   the pulse of insulin being 70 to 200    See page 72 of Arizona manual, Type 2 DM Patients,
     milliunits of insulin per kilogram of   second ¶ ("Eventually their burst doses may need to be
27   body weight for a Type II diabetic      as high as 70 mU/kg or above".) (P.Exh.203.)
28
                                                     -94-
                                        PLAINTIFFS’ [PROPOSED] CONCLUSIONS OF FACT AND LAW
                                                                 Case No.: 2:11-cv-02797-TLN-CKD
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     the improvement over the steady           See supra II.H.1, chart of infringing evidence
1    baseline respiratory quotient being a     discussing use of RQ at step 1.
     respiratory quotient of 0.90 or
2
     greater                                   Ms. Shaffer testified that patients at the Trina clinics
3                                              held a competition to see who could get to an RQ goal
                                               of over .90, i.e. 100 or 1. (P.2609:23-25; P2610:1-2
4                                              [Shaffer, Vol.16].)
5    the subsequent respiratory quotient       See supra II.H.1, and Appendix A, chart of infringing
6    improvement over the steady               evidence discussing use of RQ at step 1.
     baseline respiratory quotient being a
7    measurement of increased glucose          Ms. Shaffer testified that patients at the Trina clinics
     utilization by a diseased                 held a competition to see who could get to an RQ goal
8    myocardium                                of over .90, i.e. 100 or 1. (P.2609:23-25; P2610:1-2
                                               [Shaffer, Vol.16].)
9
10                                             See also page 5 of Arizona manual mentioning Heart
                                               Disease. (P.Exh.203.)
11
     d) allowing the patient to rest one       See supra II.H.1 and Appendix A, chart of infringing
12   hour                                      evidence discussing rest period at step 7.
13
     e) repeating steps a-d at least three     See supra II.H.1 and Appendix A, chart of infringing
14   times.                                    evidence discussing three cycles of treatment at step 8.

15   2) the intravenous site further        See supra II.H.1 and Appendix A, chart of infringing
     comprises a needle or catheter         evidence discussing IV access and pump/syringe at
16   located in the patient's body, hand or step 2 and 3.
17   forearm.

18   3) the pulse of insulin is                See supra II.H.1 and Appendix A, chart of infringing
     administered by an intravenous            evidence discussing use of pump at step 3.
19   infusion device
20   4) the intravenous site is converted      See supra II.H.1 and Appendix A, chart of infringing
21   to a heparin or saline lock during        evidence discussing IV access at step 2, use of a pump
     step (d)                                  or syringe at step 3 and rest period at step 7.
22
                                               See also supra II.A.7 (citing P.Exh.103 [APT Article,
23                                             Bates P1105], P.Exh.112 [Trina Prospectus, Bates
                                               P4597]), discussing activities patients can do during
24
                                               rest period. This leads to the inference that during rest
25                                             periods, patients are disconnected from the pump and
                                               the IV "stoppered" (essentially converted to a saline
26                                             lock) or else blood would come out of the catheter.
27   5) said steps a-e are repeated at least   See supra II.H.1 and Appendix A, chart of infringing
28   once a week                               evidence discussing administration of treatment once a
                                                    -95-
                                       PLAINTIFFS’ [PROPOSED] CONCLUSIONS OF FACT AND LAW
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                                               week or more than once a week at step 9.
1
2    6) said steps a-e are repeated at least   See supra II.G.1 and Appendix A, chart of infringing
     three or more times a week                evidence discussing administration of treatment once a
3                                              week or more than once a week at step 9.

4                                              See also page 84 of Arizona manual ("There will be
                                               some interpretation required as a single session
5                                              showing a continued ability to maintain good
6                                              metabolism may not be enough, and no fewer than 3
                                               consecutive days of Metabolic ability are needed to
7                                              then transition into a 10 day or 2 week schedule.")
                                               (P.Exh.203.)
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                                       PLAINTIFFS’ [PROPOSED] CONCLUSIONS OF FACT AND LAW
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                                                APPENDIX E
1
                          Chart Of Defendants’ Admitted “Prior Art” Exhibits
2
     D.Exh. No.     Description of Defendants’ “Prior Art” Documents
3    B1 (Tab 2)     Insurance procedures checklist
4
     O1 (Tab15)     AMSys Hepatic Activation Medical Professional Information from 1991
5
     J2 (Tab 36)    Purchase Order Agreement between American Hospital Supply Corporation and UC
6                   Davis Billing
7
     N2 (Tab 40)    1993 Letter from Dr. Salzano to Dr. Aoki regarding improved retinopathy in a patient
8
     O2 (Tab 41)    1993 Letter from Dr. Cole to Dr. Aoki regarding improved retinopathy in a patient
9
     P2 (Tab 42)    1990 Letter from Dr. Bell to Dr. Aoki regarding improved retinopathy in a patient
10
                    under diabetic glucose control.
11
     Y3-1 (Tab      Abstract of Dr. Aoki’s article titled, “Chronic Intermittent Intravenous-Insulin
12   77)            Therapy and Type 1 Diabetes Mellitus”

13   E4 (Tab 83)    AMSys Hepatic Activation Program*
14
     F4 (Tab 84)    AMSys Business Plan
15
     K4 (Tab 89)    Effects Of Pivit On Diabetic Complications (this includes letters referenced above at
16                  N2, O2 and P2)
17
     Q 4 (Tab 95)   1996 UC Davis Article titled “New Treatment Lessens Diabetic Complications”
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                                     PLAINTIFFS’ [PROPOSED] CONCLUSIONS OF FACT AND LAW
                                                              Case No.: 2:11-cv-02797-TLN-CKD
